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                                     CONTRACTOR shall supply a copy of its planned audit schedule for
                                     SUBCONTRACTORS during the life of the CONTRACT. COMPANY shall have the
                                     option of placing a representative with the audit team to monitor audits.

                             2.11.17 Internal audit system

                                     CONTRACTOR shall establish and maintain an internal assessment system and
                                     perform periodic internal assessments of its QMS and management control systems
                                     to ensure the system is effectively implemented and detect any areas that need
                                     attention and enhancement.

                                     CONTRACTOR shall schedule and conduct internal assessments at least annually
                                     (i.e., within a twelve month period). These assessments shall be conducted by
                                     personnel independent of those who performed or directly supervised the activity
                                     being assessed.

                                     Audit reports and corrective actions arising from these internal audits shall be made
                                     available to COMPANY upon request, and CONTRACTOR shall advise progress
                                     against recommended actions.

                                     CONTRACTOR shall supply a copy of its planned internal audit schedule during the
                                     life of the CONTRACT. COMPANY shall have the option of placing a representative
                                     with the audit team to monitor audits.

                             2.11.18 Audit by COMPANY

                                     COMPANY reserves the right and will from time to time perform audits on
                                     CONTRACTOR against the WORK and CONTRACTOR's management systems and
                                     controls, as part of COMPANY's assurance system.

                                     CONTRACTOR shall allow COMPANY's representatives full access to the WORK in
                                     progress, personnel, records, and documentation for the purpose of conducting
                                     quality audits. This requirement also applies to SUBCONTRACTORS.

                                     "Ad hoc" quality audits may be undertaken by COMPANY on CONTRACTOR's
                                     quality systems, as and when deemed necessary by COMPANY, and may be carried
                                     out without any prior notice to CONTRACTOR.

                             2.11.19 Management System for inventory including spares, storage, and handling of
                                     equipment.

                                     CONTRACTOR shall establish and maintain an inventory stock and spares control
                                     system. The level of stock and spares shall reflect the operational needs and work
                                     activities of COMPANY. CONTRACTOR shall be responsible for ensuring that
                                     adequate stock and spares and including rental type equipment is available for
                                     COMPANY's use.

                                     CONTRACTOR shall be responsible for the storage and protection of all goods and
                                     materials supplied. Goods and materials shall be adequately protected against
                                     damage and deterioration. Protection methods shall include:

                                     (a)   Correct thread protectors for all threaded connections (compOSite plastiC
                                           breathable type for premium connections, steel type for API type connections).




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                                      (b)   All seal faces and areas shall be adequately protected commensurate with
                                            their service criticality; these materials shall be stored inside and away from
                                            corrosive environments and handled using non metallic lifting appliances.

                                      (c)   Elastomers shall be stored inside in an environmentally controlled atmosphere
                                            in closed packets (complete with cure date and expiration date details).

                                      (d)   Packer, seal elements, and other elastomeric materials shall be stored in an
                                            environmentally controlled facility, suitably protected against impact and
                                            corrosion damage.

                                      (e)   Shear pins shall be closely controlled to avoid the risk of improper use.
                                            Procedures shall be in place to ensure segregation of new and used shear
                                            stock and other consumable items.


                 3.0    TECHNICAL INTEGRITY FOR SERVICE AND INSTALLATION ACTIVITIES

                        3.1   CONTRACTOR's Kick Off I Start Up Activities shall occur prior to each job and shall, as a
                              minimum, include:

                              3.1.1   Review of requirements

                                      CONTRACTOR shall review CONTRACT associated with service and installation
                                      activities for stated Technical, Functional, Quality, and Integrity Assurance
                                      requirements and develop a job specific Quality Control Plan (QCP) for compliance.
                                      The QCP is to be a stand alone document (not inherent to the QMS).

                              3.1.2   Kick off meeting

                                      CONTRACTOR shall review the CONTRACT with COMPANY CAM and I or the
                                      Discipline Engineer responsible for the WORK and indentify all requirements
                                      specified in the CONTRACT. A documented Kick off Meeting, held prior to any work
                                      on a new CONTRACT will be the venue for the CONTRACT review. The CAM may
                                      request the presence of or designate this task to the appropriate COMPANY
                                      'Specialist' .

                              3.1.3   Finalized list of equipment and personnel

                                      CONTRACTOR shall:

                                      (a)   Finalize a list of required equipment and personnel based on the stated
                                            requirements as stipulated in the CONTRACT.

                                      (b)   Ensure that equipment and personnel meet the minimum requirements of the
                                            CONTRACT.

                                      (c)   Submit CVs of proposed alternate key personnel and obtain documented
                                            acceptance no less than 2 weeks prior to the KOM or performing any of the
                                            WORK, shall any of the finalized key personnel list differ from what was first
                                            accepted during the bidding exercise as per the Technical Specification
                                            submitted.

                                      (d)   Ensure that the handover process related to key personnel is documented,
                                            especially where in-country personnel take holiday and training leave.



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                              3.1.4   Pre-Job Preparation and SelVice Installation Procedures and Checklists

                                      CONTRACTOR shall maintain and implement Pre-Job Preparation and SelVice
                                      Installation Procedures and Checklists that address all aspects of CONTRACTOR's
                                      operations and activities in conjunction with:

                                      (a)   Receiving.

                                      (b)   Storing.

                                      (c)   Preparing.

                                      (d)   Shipping to the WORKSITE.

                                      (e)   Installing the required products.

                                      CONTRACTOR shall submit the Pre-Job Procedures and Checklists for COMPANY
                                      acceptance.


                        3.2   CONTRACTOR's pre-installation I selVice activities shall, as a minimum, include:

                              3.2.1   Receiving Inspection

                                      CONTRACTOR shall perform receiving inspection on all equipment, materials, and
                                      tools (selVice etc.) as they are received either at CONTRACTOR's "local" facility and
                                      / or at any other facility relative to receiving product from CONTRACTOR's affiliate
                                      facility J outside location.

                              3.2.2   Storage of equipment

                                      CONTRACTOR shall ensure that the equipment is suitably protected for storage until
                                      required for use. CONTRACTOR shall document the equipment as being stored and
                                      ready for use.      COMPANY will approve the storage documentation and will
                                      determine if a Third Party (TH Hill or other inspection selVice) is on hand to verify that
                                      the equipment (assembled or not) is stored appropriately.

                              3.2.3   Equipment readiness check

                                      CONTRACTOR shall perform equipment readiness checks to ensure J verify that
                                      equipment is in a working state and fit for purpose.

                              3.2.4   CONTRACTOR focal point

                                      CONTRACTOR shall nominate a focal person for COMPANY Discipline Engineer(s).
                                      The focal point shall be responsible for scheduling pre-job meetings and attending
                                      pre-job meetings as required by the Discipline Engineer(s).

                                      CONTRACTOR shall document these meetings and provide minutes as required.


                        3.3   CONTRACTOR's equipment preparation, inspection and mobilization activities shall, as a
                              minimum, include:




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                              3.3.1   Equipment preparation and inspection

                                      CONTRACTOR shall conduct an equipment preparation and inspection exercise to
                                      ensure the equipment and I or service tools meet all requirements and are fit for
                                      purpose.

                                      Equipment I service tool preparation (make-up) and inspections shall be conducted
                                      utilizing COMPANY accepted Pre-Job Preparation and Service Installation
                                      Procedures and Checklists, and shall be witnessed and endorsed (if required) by
                                      COMPANY Discipline Engineer(s) (or their delegated specialists).

                              3.3.2   Lifting equipment

                                      CONTRACTOR shall ensure that all lifting equipment (Le., equipment basket pad
                                      eyes, wire rope slings, and shackles, etc.) has 'valid certifications' in accordance with
                                      COMPANY Quality Specification requirements. All the certification documentation
                                      shall be included in the Pre-Job Equipment Data Book provided with the equipment
                                      and service tools going to COMPANY's supply base or WORKSITE.

                              3.3.3   Identification of non conforming equipment

                                      CONTRACTOR shall ensure that any equipment found to be non conforming during
                                      the exercise shall be handled in accordance with CONTRACTOR's non conformance
                                      system (Le., identified as non conforming, documented on an NCR, and segregated
                                      if practical, etc.). Depending on the nature of the non conformance, COMPANY may
                                      also document an NCR.

                              3.3.4   Preparation of Pre-Job Procedures and Checklists Data Book

                                      CONTRACTOR shall complete all checklists I procedures and prepare Pre-Job
                                      Procedures and Checklists Data Book for delivery to COMPANY to provide objective
                                      evidence that all pre-job maintenance and inspection activities have been completed.

                                      Copies of the Pre-Job Procedures and Checklists Data Book shall be available and I
                                      or provided to COMPANY personnel designated in the KOM.

                              3.3.5   Preservation of product conformity

                                      CONTRACTOR shall preserve the conformity of the product when:

                                      (a)   Preparing equipment to go to WORKSITE.

                                      (b)   Returning equipment as excess stock.

                                      (c)   During all phases of equipment handling, storage, repair, maintenance,
                                            mobilization, and shipment.

                                      This preservation shall include identification, handling, packaging, storage, and
                                      protection. Preservation shall also apply to the constituent parts of a product such as
                                      elastomers and other parts that may require special storage.


                        3.4   CONTRACTOR's Pre-job Activities - WORKSITEs - activities shall, as a minimum, include:

                              3.4.1   Receiving of equipment




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                                      CONTRACTOR shall establish detailed and rigorous procedures and I or checklists
                                      to be used for the on-site delivery of the WORK in order to verify that the specified
                                      requirements have been met.

                                      CONTRACTOR Field Service Engineer (FSE) shall receive the equipment at the
                                      WORKSITE and ensure that all required equipment is available, fit for purpose, and
                                      free of any shipping and lor handling damage.

                              3.4.2   Preservation of product conformity

                                      CONTRACTOR FSE shall preserve and protect the conformity of the equipment on
                                      location. The FSE shall prepare equipment received at the WORKSITE for
                                      temporary storage to preserve the conformity of the equipment until utilized or
                                      shipped back to CONTRACTOR.

                              3.4.3   Review of procedure at worksite

                                      CONTRACTOR FSE shall review (with COMPANY representative) COMPANY
                                      approved procedures relative to the equipment and service. Where the procedures
                                      impact other Third Parties (i.e.; Casing Crew) they shall be included in the review.
                                      During this review, the FSE and COMPANY representative will confirm that they are
                                      in possession of the most current approved service procedures.

                              3.4.4   Job quality assurance analysis (JQAA)

                                      CONTRACTOR FSE shall perform a JQAA, prior to the actual execution of the work
                                      activities, to ensure that all required QA I QC steps have been completed. This shall
                                      consist of a final review of all Quality documentation (primarily the documentation I
                                      checklists included in the "Pre-Job P&C Data Book"), to ensure that all equipment
                                      preparation and inspection checklists have been completed and signed off and all
                                      calibration records are available for each piece of measuring and test equipment (if
                                      applicable).


                        3.5   CONTRACTOR's service implementation and installation of equipment activities shall, as a
                              minimum, include:

                              3.5.1   Service job or installation

                                      CONTRACTOR FSE shall perform the service job or installation in accordance with
                                      the appropriate CONTRACTOR service and / or installation procedure(s) that were
                                      pre-approved by COMPANY Discipline Engineer(s).

                              3.5.2   Non conforming product or service

                                      CONTRACTOR shall utilize their in-house non conformance reporting system to
                                      address any non conforming product or service.

                                      Any incident arising from non conforming product or service shall require notification
                                      of COMPANY representative.


                        3.6   CONTRACTOR's post job activities shall, as a minimum, include:




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                             3.6.1   Assess service performance

                                     CONTRACTOR FSE shall present the appropriate documents to COMPANY
                                     representative in order to assess service performance. The FSE shall complete the
                                     job ticket and obtain COMPANY representative's acceptance signature.

                             3.6.2   Dispatch equipment and support personnel

                                     CONTRACTOR FSE shall dispatch equipment and support personnel back to
                                     CONTRACTOR's base. Shipping and handling (including packaging for shipment)
                                     shall be performed in accordance with CONTRACTOR's documented procedures.

                             3.6.3   Inspection, repair, and maintenance

                                     CONTRACTOR shall perform Inspection, Repair, and Maintenance (R&M) on
                                     returned equipment.

                                     CONTRACTOR shall develop, apply, and maintain comprehensive repair,
                                     maintenance, and calibration procedures on all rental and service equipment.

                             3.6.4   Repair and Maintenance Program

                                     CONTRACTOR's R&M program shall include the following minimum elements:

                                     (a)   The R&M and calibration procedures shall include R&M schedules for each of
                                           the tools I components and shall require a detailed R&M operation.

                                     (b)   The calibration procedures shall include calibration frequency I schedules for
                                           the re-calibration of all monitoring and measuring devices.

                                     (c)   All repair, maintenance, and calibration operations shall be documented to
                                           provide objective evidence of the R&M activities.

                                     (d)   Records of R&M activities shall be traceable to the equipment via unique
                                           equipment serial numbers.

                                     (e)   All CONTRACTOR's shop personnel performing R&M shall be trained,
                                           qualified, and competent in accordance with CONTRACTOR's training and
                                           competency system.




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                                                         Section 4 - Remuneration
                                                          A. Cementing Services



                                             General Terms and Conditions
                                                        A. Cementing Services

                 1.0    GENERAL

                        1.1   Remuneration detailed herein shall be all inclusive rates including, but not limited to, all
                              consumables, spares, and other extras such as any inspection or overhaul charges, all
                              maintenance and repair, hot shot, inspection, certification, and transportation for all
                              categories of equipment required, unless specifically noted otherwise, at the WORKSITE
                              during the various well sections, and is deemed to allow for all costs incurred by
                              CONTRACTOR in complying with all the terms and conditions of the CONTRACT, and shall
                              represent the total remuneration due to CONTRACTOR in full consideration of the
                              satisfactory performance of the WORK.


                        1.2   CONTRACTOR shall not be entitled to remuneration in respect of personnel or equipment
                              time incurred non-productively:

                              1.2.1   through shortages or delays in the supply by CONTRACTOR of personnel,
                                      equipment, information, or materials, provided that COMPANY shall have given to
                                      CONTRACTOR adequate notice of the need for such supply; and/or

                              1.2.2   due to a lack of planning on the part of CONTRACTOR provided adequate planning
                                      time and TECHNICAL INFORMATION were provided by COMPANY


                        1.3   No remuneration shall be made for WORK not performed in accordance with the
                              CONTRACT.


                        1.4   All equipment, materials, and/or services must be as specified in the CONTRACT, as
                              amended from time to time, prior to CONTRACTOR providing or using same. Failure to
                              include equipment, materials, or services will result in COMPANY not paying CONTRACTOR
                              for these items.


                        1.S   All rates and prices stated herein are in United States Dollars.


                        1.6   The rates and prices are exclusive of any incidence for Value Added Tax (VAn, Goods and
                              Services Tax or any other similar tax or duty applicable to the goods and services provided
                              by CONTRACTOR under the CONTRACT, and to the extent that similar taxes such as sales,
                              use or excise or business tax are implicit or specifically defined in Appendix 2 to Section 2 -
                              General Conditions of the Contract. The amount of Value Added Tax (VAn, Goods and
                              Services Tax or any other similar tax or duty and such other agreed taxes chargeable less
                              any reduction in taxes CONTRACTOR may benefit from shall be paid to CONTRACTOR by
                              COMPANY in addition to any other payments becoming due under the CONTRACT upon
                              production of a valid tax invoice.




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                                                         A. Cementing Services

                        1.7   CONTRACTOR shall advise COMPANY of availability of equipment and personnel upon
                              receipt of requirements from COMPANY.

                              1.7.1   In the event that CONTRACTOR has a concurrent alternative customer requirement
                                      for the equipment and lor personnel, CONTRACTOR shall advise COMPANY of said
                                      alternative requirements and COMPANY's options to ensure equipment and ! or
                                      personnel availability. In the event one of those options is for COMPANY to secure
                                      the equipment and J or personnel in advance, then COMPANY shall compensate
                                      CONTRACTOR at fifty percent (50%) of the applicable Standby Rate to secure the
                                      availability of the equipment and I or personnel. All such agreements shall be
                                      documented in the WORK ORDER or CHANGE ORDER.

                              1.7.2   Where the alternative customer is another COMPANY asset, then CONTRACTOR
                                      shall be responsible for keeping each of the assets informed of such requirements.
                                      COMPANY shall be informed by CONTRACTOR at all times of such exceptional
                                      circumstances. As regards any standby payments made in conjunction with Clause
                                      1.7.1 herein above, COMPANY shall only make one standby payment regardless of
                                      the number of COMPANY assets waiting to use the equipment. Unless so directed
                                      by COMPANY, said standby payment shall be charged to the first COMPANY asset
                                      ensuring equipment availability.


                 2.0    MOBILIZATION AND DEMOBILIZATION

                        2.1   Unless otherwise provided for herein, CONTRACTOR shall be responsible for the
                              mobilization and demobilization of its personnel, equipment, and material to and from the
                              WORKSITE, COMPANY deSignated heliport, or supply base.

                              Where changes to the Scope of Work or agreed delivery schedule by COMPANY are
                              sufficient to require CONTRACTOR to execute additional mobilizations for a job, the cost for
                              these additional mobilizations will be to COMPANY account.


                        2.2   CONTRACTOR shall be responsible for obtaining all necessary visas, customs clearances,
                              or other government authorizations required for moving its personnel and equipment into and
                              out of the country having jurisdiction over the operating area. In the event COMPANY is
                              specifically required herein to reimburse CONTRACTOR for customs duties or fees levied on
                              CONTRACTOR in relation to the import or export of CONTRACTOR's equipment and
                              material, CONTRACTOR shall follow COMPANY's instructions in respect thereof so as to
                              qualify for any available exemptions or reductions of such duties or fees.


                        2.3   If equipment or personnel are demobilized to a location closer than the originally intended
                              Point of Demobilization, in order to perform work for another company or for reasons of
                              CONTRACTOR's own convenience, any demobilization fee shall be reduced in an amount
                              commensurate with the resulting documented reduction in CONTRACTOR's demobilization
                              costs.


                        2.4   Applicable expenses for travel approved by COMPANY in advance of the travel will be
                              reimbursed - with no mark-up - according to the following:

                              2.4.1   For expenses incurred outside of the United States see current version (revised
                                      periodically) of US Department of State web-site at:
                                      http://aoprals.state.qov/content.asp?content id=184&menu id=81




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                              2.4.2   For expenses incurred within the United States see current version (revised
                                      periodically)  of   US      General    Services   Administration   web-site  at:
                                      http://www.gsa.gov/Portal/gsaiepicontentView.do?contentld= 17943&contentType=G
                                      SA_BASIC

                              2.4.3   Charges for the use of personal automobiles and light trucks shall be at the IRS
                                      mileage rate applicable at the time of service. CONTRACTOR shall employ best
                                      efforts to reduce aggregate transportation charges to COMPANY through the use of
                                      carpools, crew vans, and other related methods of transportation.

                              2.4.4   Airfare will be lowest discounted coach fare at the time of purchase with most direct
                                      routing.

                              2.4.5   Where agreed to in advance by COMPANY, COMPANY shall reimburse reasonable
                                      travel expenses for attendance of CONTRACTOR personnel at sundry meetings
                                      (e.g., Crew Engagement Meetings, etc.) requested by COMPANY. Day rates for all
                                      personnel attending sundry meetings shall be for no more than eight (8) hours at the
                                      applicable onshore rate.


                        2.5   COMPANY shall provide air transportation for medical evacuation of CONTRACTOR's
                              personnel from COMPANY's WORKSITES. The cost of air transportation shall be borne by
                              the parties in accordance with Section 2 - General Conditions of Contract, Clause 31.9.



                 3.0    CHARGE RATE

                        3.1   Unless otherwise specified in Section 4, Appendix 3 - Sub-Sector Terms and Conditions,
                              prices included in this CONTRACT together with any relevant discounts shall remain firm and
                              fixed for the first twelve (12) months from the EFFECTIVE DATE of the CONTRACT.

                              3.1.1   Price Adjustments - General Principles

                                      (a)   Unless elsewhere specified, the methodology agreed between PARTIES shall
                                            apply to all line items contained within the applicable Schedule of Rates and
                                            Charges. These price adjustments shall be based on objective criteria (e.g.,
                                            published indices or other available market information) and not subject to a
                                            form of negotiation process, except for unique circumstances when it is not
                                            possible to utilize an appropriate indexation tool or indexation methodology.

                                      (b)   Unless otherwise specified in Appendix 3 or otherwise agreed between the
                                            PARTIES, price adjustments will be calculated on an annual basis inclusive of
                                            any extension periods.

                                      (c)   Occasionally an index may be unavailable for a particular time period or
                                            sometimes an index is permanently discontinued. If this occurs, the next
                                            higher level data series or another index may be substituted, subject to mutual
                                            agreement by COMPANY and CONTRACTOR. If the title of an index changes
                                            or is recoded without changing the inputs, it is considered to be the same
                                            index.

                                      (d)   Indices are sometimes re-based. Price Adjustments will be calculated using
                                            indices expressed on the reference base period in effect when the Price




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                                            Adjustment is applied, i.e., the calculation of adjustments shall always use the
                                            latest version of the index.

                              3.1.2   Price Adjustment Process

                                      (a)   No later than three (3) months from the EFFECTIVE DATE ofthe CONTRACT,
                                            the PARTIES shall agree on an appropriate methodology for adjusting pricing
                                            for each subsequent twelve (12) month period of the CONTRACT.

                                      (b)   In order to develop this methodology, CONTRACTOR shall provide for
                                            COMPANY's approval a percentage breakdown of the cost drivers for each
                                            category of items so that appropriate indices may be selected and accurate
                                            composite calculations may be made.

                                      (c)   Unless agreed otherwise between the PARTIES, the Rates and Charges to be
                                            adjusted shall be subject to annual review and adjusted up or down
                                            commencing from the first Anniversary Date of the CONTRACT ("CONTRACT
                                            Anniversary Date") and annually thereafter on the CONTRACT Anniversary
                                            Date.

                                      (d)   No later than 45 days prior to the CONTRACT Anniversary Date,
                                            CONTRACTOR shall present a written recommendation to COMPANY
                                            detailing the Rates and Charges to be adjusted and full back-up documentation
                                            in support of any adjustments. Any approved adjustments shall be the subject
                                            of a CONTRACT amendment between the PARTIES.

                              3.1.3   The baseline month and year for indexation and pricing purposes shall be the
                                      EFFECTIVE DATE of the CONTRACT.


                        3.2   The descriptions attached to the respective items detailed in Section 4, Appendix 3 and/or
                              Appendix 4, are intended as brief descriptions sufficient for identification purposes only and
                              do not exhaustively detail every operation involved in carrying out the WORK.


                        3.3   Unless otherwise specified in Section 4, Appendix 3 and/or Appendix 4, charges for
                              equipment to be employed offshore shall begin the day equipment arrives at COMPANY
                              supply base or WORKSITE, whichever occurs first, and terminates upon arrival at
                              COMPANY supply base or CONTRACTOR base, whichever occurs first.


                        3.4   Unless otherwise specified in Section 4, Appendix 3 and/or Appendix 4, charges for
                              equipment to be employed onshore shall begin the day equipment arrives at WORKSITE and
                              terminates upon leaving WORKSITE.


                        3.5   CONTRACTOR shall prepare tools and equipment for back loading and complete a detailed
                              manifest. Where COMPANY provided transportation is used, should CONTRACTOR fail to
                              properly prepare equipment for shipment and cause delay, equipment shall be charged at
                              zero rates until such time as equipment has been back loaded on COMPANY provided
                              transportation.


                        3.6   For air or marine personnel transportation, unless otherwise specified in Section 4, Appendix
                              3 and/or Appendix 4, crew charges begin when crew reaches COMPANY's embarkation point




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                                                         Section 4 - Remuneration
                                                          A. Cementing Services

                               for transport to WORKSITE and ends when crew arrives back at COMPANY's
                               disembarkation point. There shall be no duplicate crew charges on crew change days.


                        3.7    Unless othelWise specified, equipment operating charges shall apply when equipment is on
                               the WORKSITE, fully functional and operational in accordance with Section 3, Scope of
                               Work, and being used in performance ofthe WORK.


                        3.8    All equipment rates per day refer to a day of twenty-four hours. For parts of a day, all such
                               day rates shall be prorated to the nearest hour. Monthly rates refer to a calendar month.
                               Parts of a month shall be prorated to the nearest day.


                        3.9    Unless othelWise specified herein, in the event of equipment failure, when equipment was
                               used within CONTRACTOR's specifications and control, the charges will cease immediately.
                               Charges will recommence when equipment is replaced or is deemed to have started working
                               to the satisfaction of COMPANY. This non-payment shall also apply to other equipment
                               CONTRACTOR may have in the same tool string and f or other related equipment and
                               personnel at the WORKSITE unless COMPANY continues to drill or circulate and the other
                               equipment continues to function. COMPANY shall not pay land transportation charges and
                               fees for replacement equipment due to CONTRACTOR failures deemed as operated within
                               CONTRACTOR specifications.         If CONTRACTOR utilizes COMPANY provided land
                               transportation, then CONTRACTOR shall reimburse COMPANY for all charges. No payment
                               will be made for any item of equipment which fails within twenty-four (24) hours of
                               commencement of operational use.


                        3.10 In the event CONTRACTOR upgrades the technical specification or specifications of the
                             equipment EMPLOYED during the CONTRACT period to include additional features,
                             capabilities, or functionalities, CONTRACTOR shall supply such upgraded tools or equipment
                             with originally requested features, capabilities, or functionalities at no additional cost to
                             COMPANY. Any additional features, capabilities, or functionalities so provided in new
                             equipment can be employed by COMPANY at the rates placed by amendment into the
                             applicable schedule of rates and charges.


                        3.11   In the event CONTRACTOR is unable to provide any part of the WORK for which
                               CONTRACTOR has agreed to provide and there exists agreed rates and / or charges in the
                               CONTRACT and has to source such WORK from a Third Party, CONTRACTOR shall invoice
                               COMPANY for such part of the WORK at the rates or charges contained herein or the Third
                               Party cost with no mark-up, whichever is the lesser.


                        3.12 NEW TECHNOLOGY - COMPANY is procuring services and associated equipment and
                             materials, which COMPANY expects to improve incrementally over the duration of the
                             CONTRACT. However, it is recognized that acquisitions and development of new technology
                             during the term of the CONTRACT may result in the development of products and services
                             not included in the CONTRACT. In such a situation, CONTRACTOR and COMPANY shall:

                               3.12.1   Discuss and agree upon any such inclusion which shall be considered on a case-by-
                                        case basis. Prior to acceptance of new technology, COMPANY requires business
                                        case justification by CONTRACTOR which shall consist of but is not limited to the
                                        following documentation to be provided by CONTRACTOR:




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                                                         Section 4 - Remuneration
                                                          A. Cementing Services

                                       (a) description of technological benefits and risks

                                       (b) delineation of commercial benefits accruing to COMPANY (including, where
                                           applicable, incremental NPV, savings in drilling unit time, increased production,
                                           or other measurable value generation)

                                       (c) new technology delivery plan

                              3.12.2 not seek adjustments to rates for:

                                      (a) revision of tool specifications

                                      (b) improved processes

                                      All adjustments shall be made in accordance with COMPANY's intemal procedure for
                                      addition of materials, equipment, or personnel charges to the Schedule of Rates and
                                      Charges. These discussions and agreements shall be held in advance of performing
                                      such services for COMPANY. When CONTRACTOR does not seek and obtain
                                      necessary approvals for inclusion of new or additional services, payments shall not
                                      be made by COMPANY to CONTRACTOR, nor shall COMPANY be responsible in
                                      any manner should the equipment be lost ordamaged.

                              3.12.3 Agree that CONTRACTOR shall charge COMPANY at the commercial rates of the
                                     previous generation of technology in the event of failure to deliver all of the benefits
                                     specified in the new technology business case.


                        3.13 Unless otherwise specified in Section 4, Appendix 3 and/or Appendix 4, should
                             CONTRACTOR's tool(s) and equipment become stuck in the hole, the operating rates shall
                             automatically terminate and standby rates commence unless the incident is caused by
                             CONTRACTOR negligence or if due to COMPANY failure or other CONTRACTORS
                             failure(s) to follow COMPANY established procedures and practices.                 If due to
                             CONTRACTOR negligence, the operating rate will terminate and a zero rate will be
                             applicable. The appropriate rates shall remain in effect until the tools are retrieved and
                             released to CONTRACTOR or when officially declared lost. Aggregate standby payment
                             shall not exceed the Lost-in-Hole value for said tool(s) and equipment. The tools are officially
                             declared lost when the decision is made to no longer attempt to recover the tools.


                        3.14 CONTRACTOR unit prices shall be all inclusive of consumption of that material. No
                             additional charges for packing (i.e., pallets, plastic wrap, drums, buckets, etc.) will be
                             accepted above the unit cost of the product.


                        3.15 Unless otherwise stated herein in Section 4, Appendix 3 and/or Appendix 4, there shall be no
                             additional charges for backup tools or equipment necessary to perform the WORK without
                             interruption.


                 4.0    THIRD PARTY SERVICES I MATERIALS

                        4.1   Where Third Party services or materials are required by COMPANY under this CONTRACT
                              and CONTRACTOR provides these services or materials, CONTRACTOR shall be
                              reimbursed at net documented cost. These services or materials may be direct-billed by




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                                                        Section 4 - Remuneration
                                                         A. Cementing Services

                              Third Party to COMPANY. No invoice processing or similar charge shall be payable by
                              COMPANY to CONTRACTOR.


                        4.2   COMPANY reserves the right to take advantage of commercial pricing from COMPANY
                              contracts with Third Party material providers in lieu of CONTRACTOR providing said
                              materials.


                        4.3   Unless otherwise provided in this CONTRACT, in the event that COMPANY's provision of
                              third party materials results in a major scope of work change for CONTRACTOR then the
                              Parties will mutually agree on any commercial revisions necessary.


                 5.0    PAYMENT AND INVOICING PROVISIONS

                        Payment and Invoicing procedures are as per Appendix 1, hereto.


                 6.0    LOST-IN-HOLE CHARGES

                        Lost-in-Hole Charges are as per Appendix 2, hereto.


                 7.0    SUB-SECTOR TERMS AND CONDITIONS I SCHEDULE OF RATES AND CHARGES

                        7.1   Sub-Sector Terms and Conditions are found as Appendix 3 attached hereto.


                        7.2   Schedule of Rates and Charges are found as Appendix 4 attached hereto.




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                                                         Section 4 - Remuneration
                                                            B. Fluids Services



                                                            B. Fluids Services


                 1.0    GENERAL

                        1.1   Remuneration detailed herein shall be all inclusive rates including, but not limited to, all
                              consumables, spares, and other extras such as any inspection or overhaul charges, all
                              maintenance and repair, hot shot, inspection, certification, and transportation for all
                              categories of equipment required, unless specifically noted otherwise, at the WORKSITE
                              during the various well sections, and is deemed to allow for all costs incurred by
                              CONTRACTOR in complying with all the terms and conditions of the CONTRACT, and shall
                              represent the total remuneration due to CONTRACTOR in full consideration of the
                              satisfactory performance of the WORK.


                        1.2   CONTRACTOR shall not be entitled to remuneration in respect of personnel or equipment
                              time incurred non-productively:

                              1.2.1   through shortages or delays in the supply by CONTRACTOR of personnel,
                                      equipment, information, or materials, provided that COMPANY shall have given to
                                      CONTRACTOR adequate notice of the need for such supply; and I or

                              1.2.2   due to a lack of planning on the part of CONTRACTOR provided adequate planning
                                      time and TECHNICAL INFORMATION were provided by COMPANY


                        1.3   No remuneration shall be made for WORK not performed in accordance with the
                              CONTRACT.


                        1.4   All equipment, materials, and I or services must be as specified in the CONTRACT, as
                              amended from time to time, prior to CONTRACTOR providing or using same. Failure to
                              include equipment, materials, or services will result in COMPANY not paying CONTRACTOR
                              for these items.


                        1.5   All rates and prices stated herein are in United States Dollars.


                        1.6   The rates and prices are exclusive of any incidence for Value Added Tax (VAn, Goods and
                              Services Tax or any other similar tax or duty applicable to the goods and services provided
                              by CONTRACTOR under the CONTRACT, and to the extent that similar taxes such as sales,
                              use or excise or business tax are implicit or specifically defined in Appendix 2 to Section 2 -
                              General Conditions of the Contract. The amount of Value Added Tax (VAn, Goods and
                              Services Tax or any other similar tax or duty and such other agreed taxes chargeable less
                              any reduction in taxes CONTRACTOR may benefit from shall be paid to CONTRACTOR by
                              COMPANY in addition to any other payments becoming due under the CONTRACT upon
                              production of a valid tax invoice.


                        1.7   CONTRACTOR shall advise COMPANY of availability of equipment and personnel upon
                              receipt of requirements from COMPANY.




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                                                           B. Fluids Services

                              1.7.1   In the event that CONTRACTOR has a concurrent alternative customer requirement
                                      for the equipment and lor personnel, CONTRACTOR shall advise COMPANY of said
                                      alternative requirements and COMPANY's options to ensure equipment and! or
                                      personnel availability. In the event one of those options is for COMPANY to secure
                                      the equipment and I or personnel in advance, then COMPANY shall compensate
                                      CONTRACTOR at fifty percent (50%) of the applicable Standby Rate to secure the
                                      availability of the equipment and I or personnel. All such agreements shall be
                                      documented in the WORK ORDER or CHANGE ORDER.

                              1.7.2   Where the alternative customer is another COMPANY asset, then CONTRACTOR
                                      shall be responsible for keeping each of the assets informed of such requirements.
                                      COMPANY shall be informed by CONTRACTOR at all times of such exceptional
                                      circumstances. As regards any standby payments made in conjunction with Clause
                                      1.7.1 herein above, COMPANY shall only make one standby payment regardless of
                                      the number of COMPANY assets waiting to use the equipment. Unless so directed
                                      by COMPANY, said standby payment shall be charged to the first COMPANY asset
                                      ensuring equipment availability.


                 2.0    MOBILIZATION AND DEMOBILIZATION

                        2.1   Unless otherwise provided for herein, CONTRACTOR shall be responsible for the
                              mobilization and demobilization of its personnel, equipment, and material to and from the
                              WORKSITE, COMPANY designated heliport, or supply base.

                              Where changes to the Scope of Work or agreed delivery schedule by COMPANY are
                              sufficient to require CONTRACTOR to execute additional mobilizations for a job, the cost for
                              these additional mobilizations will be to COMPANY account


                        2.2   CONTRACTOR shall be responsible for obtaining all necessary visas, customs clearances,
                              or other government authorizations required for moving its personnel and equipment into and
                              out of the country having jurisdiction over the operating area. In the event COMPANY is
                              specifically required herein to reimburse CONTRACTOR for customs duties or fees levied on
                              CONTRACTOR in relation to the import or export of CONTRACTOR's equipment and
                              material, CONTRACTOR shall follow COMPANY's instructions in respect thereof so as to
                              qualify for any available exemptions or reductions of such duties or fees.


                        2.3   If equipment or personnel are demobilized to a location closer than the originally intended
                              Point of Demobilization, in order to perform work for another company or for reasons of
                              CONTRACTOR's own convenience, any demobilization fee shall be reduced in an amount
                              commensurate with the resulting documented reduction in CONTRACTOR's demobilization
                              costs.


                        2.4   Applicable expenses for travel approved by COMPANY in advance of the travel will be
                              reimbursed, with no mark-up, according to the following:

                              2.4.1   For expenses incurred outside of the United States see current version (revised
                                      periodically) of US Department of State web-site at:

                                      htto:/Ia oorals .state .gov/content.aso?content id=184&menu id=81




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                                                           B. Fluids Services

                              2.4.2   For expenses incurred within the United States see current version (revised
                                      periodically) of US General Services Administration web-site at:

                                      http://www.gsa.gov/Portal/gsa/ep/contentView.do?contentld= 17943&contentType=GSA BAS IC

                              2.4.3   Charges for the use of personal automobiles and light trucks shall be at the IRS
                                      mileage rate applicable at the time of service. CONTRACTOR shall employ best
                                      efforts to reduce aggregate transportation charges to COMPANY through the use of
                                      carpools, crew vans, and other related methods of transportation.

                              2.4.4   Airfare will be lowest discounted coach fare at the time of purchase with most direct
                                      routing.

                              2.4.5   Where agreed to in advance by COMPANY, COMPANY shall reimburse reasonable
                                      travel expenses for attendance of CONTRACTOR personnel at sundry meetings
                                      (e.g., Crew Engagement Meetings, etc.) requested by COMPANY. Day rates for all
                                      personnel attending sundry meetings shall be for no more than eight (8) hours at the
                                      applicable onshore rate.


                        2.5   COMPANY shall provide air transportation for medical evacuation of CONTRACTOR's
                              personnel from COMPANY's WORKSITES. The cost of air transportation shall be borne by
                              the parties in accordance with Section 2 - General Conditions of Contract, Clause 31.9.


                        2.6   If CONTRACTOR uses third-parties for transportation, CONTRACTOR shall make
                              reasonable efforts to use COMPANY's preferred trucking companies. COMPANY shall not
                              assume any liability due to delay, lost or damaged cargo, or any other loss as a result of
                              CONTRACTOR's use of COMPANY's preferred trucking companies.


                 3.0    CHARGE RATE

                        3.1   Unless otherwise specified in Section 4, Appendix 3 - Sub-Sector Tenms and Conditions,
                              prices included in this CONTRACT together with any relevant discounts shall remain firm and
                              fixed for the first twelve (12) months from the EFFECTIVE DATE of the CONTRACT.

                              3.1.1   Price Adjustments - General Principles

                                      (a)   Unless elsewhere specified, the methodology agreed between PARTIES shall
                                            apply to all line items contained within the applicable Schedule of Rates and
                                            Charges. These price adjustments shall be based on objective criteria (e.g.,
                                            published indices or other available market information) and not subject to a
                                            form of negotiation process, except for unique circumstances when it is not
                                            possible to utilize an appropriate indexation tool or indexation methodology.

                                      (b)   Unless otherwise specified in Appendix 3 or otherwise agreed between the
                                            PARTIES, price adjustments will be calculated on an annual basis inclusive of
                                            any extension periods.

                                      (c)   Occasionally an index may be unavailable for a particular time period or
                                            sometimes an index is permanently discontinued. If this occurs, the next
                                            higher level data series or another index may be substituted, subject to mutual
                                            agreement by COMPANY and CONTRACTOR. If the title of an index changes




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                                                           B. Fluids Services

                                            or is recoded without changing the inputs, it is considered to be the same
                                            index.

                                      (d)   Indices are sometimes re-based. Price Adjustments will be calculated using
                                            indices expressed on the reference base period in effect when the Price
                                            Adjustment is applied, i.e., the calculation of adjustments shall always use the
                                            latest version of the index.

                              3.1.2   Price Adjustment Process

                                      (a)   No later than three (3) months from the EFFECTIVE DATE of the CONTRACT,
                                            the PARTIES shall agree on an appropriate methodology for adjusting pricing
                                            for each subsequent twelve (12) month period of the CONTRACT.

                                      (b)   In order to develop this methodology, CONTRACTOR shall provide for
                                            COMPANY's approval a percentage breakdown of the cost drivers for each
                                            category of items so that appropriate indices may be selected and accurate
                                            composite calculations may be made.

                                      (c)   Unless agreed otherwise between the PARTIES, the Rates and Charges to be
                                            adjusted shall be subject to annual review and adjusted up or down
                                            commencing from the first Anniversary Date of the CONTRACT ("CONTRACT
                                            Anniversary Date") and annually thereafter on the CONTRACT Anniversary
                                            Date.

                                      (d)   No later than 45 days prior to the CONTRACT Anniversary Date,
                                            CONTRACTOR shall present a written recommendation to COMPANY
                                            detailing the Rates and Charges to be adjusted and full back-up documentation
                                            in support of any adjustments. Any approved adjustments shall be the subject
                                            of a CONTRACT amendment between the PARTIES.

                              3.1.3   The baseline month and year for indexation and pricing purposes shall be the
                                      EFFECTIVE DATE of the CONTRACT.


                        3.2   The descriptions attached to the respective items detailed in Section 4, Appendix 3 and/or
                              Appendix 4, are intended as brief descriptions sufficient for identification purposes only and
                              do not exhaustively detail every operation involved in carrying out the WORK.


                        3.3   Unless otherwise specified in Section 4, Appendix 3 and/or Appendix 4, charges for
                              equipment to be employed onshore shall begin the day eqUipment arrives at WORKSITE and
                              terminates upon leaving WORKSITE.


                        3.4   CONTRACTOR shall prepare tools and equipment for back loading and complete a detailed
                              manifest. Where COMPANY provided transportation is used, should CONTRACTOR fail to
                              properly prepare equipment for shipment and cause delay, equipment shall be charged at
                              zero rates until such time as equipment has been back loaded on COMPANY provided
                              transportation.


                        3.5   For air or marine personnel transportation, unless otherwise specified in Section 4, Appendix
                              3 and/or Appendix 4, crew charges begin when crew reaches COMPANY's embarkation point




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                                                         Section 4 - Remuneration
                                                            B. Fluids Services

                               for transport to WORKSITE and ends when crew arrives back at COMPANY's
                               disembarkation point. There shall be no duplicate crew charges on crew change days.


                        3.6    Unless othelWise specified, equipment operating charges shall apply when equipment is on
                               the WORKSITE, fully functional and operational in accordance with Section 3, Scope of
                               Work, and being used in performance ofthe WORK.


                        3.7    All equipment rates per day refer to a day of twenty-four hours. For parts of a day, all such
                               day rates shall be prorated to the nearest hour. Monthly rates refer to a calendar month.
                               Parts of a month shall be prorated to the nearest day.


                        3.8    Unless othelWise specified herein, in the event of equipment failure, when equipment was
                               used within CONTRACTOR's specifications and control, the charges will cease immediately.
                               Charges will recommence when equipment is replaced or is deemed to have started working
                               to the satisfaction of COMPANY. This non-payment shall also apply to other equipment
                               CONTRACTOR may have in the same tool string and f or other related equipment and
                               personnel at the WORKSITE unless COMPANY continues to drill or circulate and the other
                               equipment continues to function. COMPANY shall not pay land transportation charges and
                               fees for replacement equipment due to CONTRACTOR failures deemed as operated within
                               CONTRACTOR specifications.         If CONTRACTOR utilizes COMPANY provided land
                               transportation, then CONTRACTOR shall reimburse COMPANY for all charges. No payment
                               will be made for any item of equipment which fails within twenty-four (24) hours of
                               commencement of operational use.


                        3.9    In the event CONTRACTOR upgrades the technical specification or specifications of the
                               equipment EMPLOYED during the CONTRACT period to include additional features,
                               capabilities, or functionalities, CONTRACTOR shall supply such upgraded tools or equipment
                               with originally requested features, capabilities, or functionalities at no additional cost to
                               COMPANY. Any additional features, capabilities, or functionalities so provided in new
                               equipment can be employed by COMPANY at the rates placed by amendment into the
                               applicable schedule of rates and charges.


                        3.10 In the event CONTRACTOR is unable to provide any part of the WORK for which
                             CONTRACTOR has agreed to provide and there exists agreed rates and / or charges in the
                             CONTRACT and has to source such WORK from a Third Party, CONTRACTOR shall invoice
                             COMPANY for such part of the WORK at the rates or charges contained herein or the Third
                             Party cost with no mark-up, whichever is the lesser.


                        3.11   NEW TECHNOLOGY - COMPANY is procuring services and associated equipment and
                               materials, which COMPANY expects to improve incrementally over the duration of the
                               CONTRACT. However, it is recognized that acquisitions and development of new technology
                               during the term of the CONTRACT may result in the development of products and services
                               not included in the CONTRACT. In such a Situation, CONTRACTOR and COMPANY shall:

                               3.11.1    Discuss and agree upon any such inclusion which shall be considered on a case-by-
                                        case basis. Prior to acceptance of new technology, COMPANY requires business
                                        case justification by CONTRACTOR which shall consist of but is not limited to the
                                        following documentation to be provided by CONTRACTOR:




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                                                          Section 4 - Remuneration
                                                             B. Fluids Services

                                       (a) description of technological benefits and risks

                                       (b) delineation of commercial benefits accruing to COMPANY (including, where
                                           applicable, incremental NPV, savings in drilling unit time, increased production,
                                           or other measurable value generation)

                                       (c) new technology delivery plan

                              3.11.2   not seek adjustments to rates for:

                                       (a) revision of tool specifications

                                       (b) improved processes

                                       All adjustments shall be made in accordance with COMPANY's intemal procedure for
                                       addition of materials, equipment, or personnel charges to the Schedule of Rates and
                                       Charges. These discussions and agreements shall be held in advance of performing
                                       such services for COMPANY. When CONTRACTOR does not seek and obtain
                                       necessary approvals for inclusion of new or additional services, payments shall not
                                       be made by COMPANY to CONTRACTOR, nor shall COMPANY be responsible in
                                       any manner should the equipment be lost ordamaged.

                              3.11.3   Agree that CONTRACTOR shall charge COMPANY at the commercial rates of the
                                       previous generation of technology in the event of failure to deliver all of the benefits
                                       specified in the new technology business case.


                        3.12 Unless otherwise specified in Section 4, Appendix 3 and/or Appendix 4, should
                             CONTRACTOR's tool(s) and equipment become stuck in the hole, the operating rates shall
                             automatically terminate and standby rates commence unless the incident is caused by
                             CONTRACTOR negligence or if due to COMPANY failure or other CONTRACTORS
                             failure(s) to follow COMPANY established procedures and practices.                 If due to
                             CONTRACTOR negligence, the operating rate will terminate and a zero rate will be
                             applicable. The appropriate rates shall remain in effect until the tools are retrieved and
                             released to CONTRACTOR or when officially declared lost. Aggregate standby payment
                             shall not exceed the Lost-in-Hole value for said tool(s) and equipment. The tools are officially
                             declared lost when the decision is made to no longer attempt to recover the tools.


                        3.13 CONTRACTOR unit prices shall be all inclusive of consumption of that material. No
                             additional charges for packing (i.e., pallets, plastic wrap, drums, buckets, etc.) will be
                             accepted above the unit cost of the product.


                        3.14 Unless otherwise stated herein in Section 4, Appendix 3 and/or Appendix 4, there shall be no
                             additional charges for backup tools or equipment necessary to perform the WORK without
                             interruption.


                 4.0    THIRD PARTY SERVICES I MATERIALS

                        4.1   Where Third Party services or materials are required by COMPANY under this CONTRACT
                              and CONTRACTOR provides these services or materials, CONTRACTOR shall be
                              reimbursed at net documented cost. These services or materials may be direct-billed by




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                                                        Section 4 - Remuneration
                                                           B. Fluids Services

                              Third Party to COMPANY. No invoice processing or similar charge shall be payable by
                              COMPANY to CONTRACTOR.


                        4.2   COMPANY reserves the right to take advantage of commercial pricing from COMPANY
                              contracts with Third Party material providers in lieu of CONTRACTOR providing said
                              materials.


                        4.3   Unless otherwise provided in this CONTRACT, in the event that COMPANY's provision of
                              third party materials results in a major scope of work change for CONTRACTOR then the
                              Parties will mutually agree on any commercial revisions necessary.


                 5.0    PAYMENT AND INVOICING PROVISIONS

                        Payment and Invoicing procedures are as per Appendix 1, hereto.


                 6.0    LOST-IN-HOLE CHARGES

                        Lost-in-Hole Charges are as per Appendix 2, hereto.


                 7.0    SUB-SECTOR TERMS AND CONDITIONS I SCHEDULE OF RATES AND CHARGES

                        7.1   Sub-Sector Terms and Conditions are found as Appendix 3 attached hereto.


                        7.2   Schedule of Rates and Charges are found as Appendix 4 attached hereto.




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                                                         Section 4 - Remuneration
                                                            C. Well Placement



                                                            C. Well Placement


                 1.0    GENERAL

                        1.1   Remuneration detailed herein shall be all inclusive rates including, but not limited to, all
                              consumables, spares, and other extras such as any inspection or overhaul charges, all
                              maintenance and repair, hot shot, inspection, certification, and transportation for all
                              categories of equipment required, unless specifically noted otherwise, at the WORKSITE
                              during the various well sections, and is deemed to allow for all costs incurred by
                              CONTRACTOR in complying with all the terms and conditions of the CONTRACT, and shall
                              represent the total remuneration due to CONTRACTOR in full consideration of the
                              satisfactory performance of the WORK.


                        1.2   CONTRACTOR shall not be entitled to remuneration in respect of personnel or equipment
                              time incurred non-productively:

                              1.2.1   Through shortages or delays in the supply by CONTRACTOR of personnel,
                                      equipment, information, or materials, provided that COMPANY shall have given to
                                      CONTRACTOR adequate notice of the need for such supply; and/or

                              1.2.2   Due to a lack of planning on the part of CONTRACTOR provided adequate planning
                                      time and TECHNICAL INFORMATION were provided by COMPANY


                        1.3   No remuneration shall be made for WORK not performed in accordance with the
                              CONTRACT.


                        1.4   All equipment, materials, and/or services must be as specified in the CONTRACT, as
                              amended from time to time, prior to CONTRACTOR providing or using same. Failure to
                              include equipment, materials, or services will result in COMPANY not paying CONTRACTOR
                              for these items.


                        1.5   All rates and prices stated herein are in United States Dollars.


                        1.6   The rates and prices are exclusive of any incidence for Value Added Tax (VAn, Goods and
                              Services Tax or any other similar tax or duty applicable to the goods and services provided
                              by CONTRACTOR under the CONTRACT, and to the extent that similar taxes such as sales,
                              use or excise or business tax are implicit or specifically defined in Appendix 2 to Section 2 -
                              General Conditions of the Contract. The amount of Value Added Tax (VAn, Goods and
                              Services Tax or any other similar tax or duty and such other agreed taxes chargeable less
                              any reduction in taxes CONTRACTOR may benefit from shall be paid to CONTRACTOR by
                              COMPANY in addition to any other payments becoming due under the CONTRACT upon
                              production of a valid tax invoice.


                        1.7   CONTRACTOR shall advise COMPANY of availability of equipment and personnel upon
                              receipt of requirements from COMPANY.




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                              1.7.1   In the event that CONTRACTOR has a concurrent alternative customer requirement
                                      for the equipment and lor personnel, CONTRACTOR shall advise COMPANY of said
                                      alternative requirements and COMPANY's options to ensure equipment and ! or
                                      personnel availability. In the event one of those options is for COMPANY to secure
                                      the equipment and I or personnel in advance, then COMPANY shall compensate
                                      CONTRACTOR at fifty percent (50%) of the applicable Standby Rate to secure the
                                      availability of the equipment and I or personnel. All such agreements shall be
                                      documented in the WORK ORDER or CHANGE ORDER.

                              1.7.2   Where the alternative customer is another COMPANY asset, then CONTRACTOR
                                      shall be responsible for keeping each of the assets informed of such requirements.
                                      COMPANY shall be informed by CONTRACTOR at all times of such exceptional
                                      circumstances. As regards any standby payments made in conjunction with Clause
                                      1.7.1 herein above, COMPANY shall only make one standby payment regardless of
                                      the number of COMPANY assets waiting to use the equipment. Unless so directed
                                      by COMPANY, said standby payment shall be charged to the first COMPANY asset
                                      ensuring equipment availability.


                 2.0    MOBILIZATION AND DEMOBILIZATION

                        Terms and Conditions applicable to Mobilization and Demobilization are found in Section 4,
                        Appendix 3, Part C, Clause 2.


                 3.0    CHARGE RATE

                        3.1   Unless otherwise specified in Section 4, Appendix 3 - Sub-Sector Terms and Conditions,
                              prices included in this CONTRACT together with any relevant discounts shall remain firm and
                              fixed for the first twelve (12) months from the EFFECTIVE DATE of the CONTRACT.

                              3.1.1   Price Adjustments - General Principles

                                      (a)   Unless elsewhere specified, the methodology agreed between PARTIES shall
                                            apply to all line items contained within the applicable Schedule of Rates and
                                            Charges. These price adjustments shall be based on objective criteria (e.g.,
                                            published indices or other available market information) and not subject to a
                                            form of negotiation process, except for unique circumstances when it is not
                                            possible to utilize an appropriate indexation tool or indexation methodology.

                                      (b)   Unless otherwise specified in Appendix 3 or otherwise agreed between the
                                            PARTIES, price adjustments will be calculated on an annual basis inclusive of
                                            any extension periods.

                                      (c)   Occasionally an index may be unavailable for a particular time period or
                                            sometimes an index is permanently discontinued. If this occurs, the next
                                            higher level data series or another index may be substituted, subject to mutual
                                            agreement by COMPANY and CONTRACTOR. If the title of an index changes
                                            or is recoded without changing the inputs, it is considered to be the same
                                            index.

                                      (d)   Indices are sometimes re-based. Price Adjustments will be calculated using
                                            indices expressed on the reference base period in effect when the Price
                                            Adjustment is applied, i.e., the calculation of adjustments shall always use the
                                            latest version of the index.




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                              3.1 .2   Price Adjustment Process

                                       (a)   No later than three (3) months from the EFFECTIVE DATE of the CONTRACT,
                                             the PARTIES shall agree on an appropriate methodology for adjusting pricing
                                             for each subsequent twelve (12) month period of the CONTRACT.

                                       (b)   In order to develop this methodology, CONTRACTOR shall provide for
                                             COMPANY's approval a percentage breakdown of the cost drivers for each
                                             category of items so that appropriate indices may be selected and accurate
                                             composite calculations may be made.

                                       (c)   Unless agreed otherwise between the PARTIES, the Rates and Charges to be
                                             adjusted shall be subject to annual review and adjusted up or down
                                             commencing from the first Anniversary Date of the CONTRACT ("CONTRACT
                                             Anniversary Date") and annually thereafter on the CONTRACT Anniversary
                                             Date.

                                       (d)   No later than 45 days prior to the CONTRACT Anniversary Date,
                                             CONTRACTOR shall present a written recommendation to COMPANY
                                             detailing the Rates and Charges to be adjusted and full back-up documentation
                                             in support of any adjustments. Any approved adjustments shall be the subject
                                             of a CONTRACT amendment between the PARTIES.

                              3.1.3    The baseline month and year for indexation and pricing purposes shall be the
                                       EFFECTIVE DATE of the CONTRACT.


                        3.2   The descriptions attached to the respective items detailed in Section 4, Appendix 3 and/or
                              Appendix 4, are intended as brief descriptions sufficient for identification purposes only and
                              do not exhaustively detail every operation involved in carrying out the WORK.


                        3.3   Unless otherwise specified in Section 4, Appendix 3 and/or Appendix 4, charges for
                              equipment to be employed offshore shall begin the day equipment arrives at COMPANY
                              supply base or WORKSITE, whichever occurs first, and terminates upon arrival at
                              COMPANY supply base or CONTRACTOR base, whichever occurs first.


                        3.4   Unless otherwise specified in Section 4, Appendix 3 and/or Appendix 4, charges for
                              equipment to be employed onshore shall begin the day equipment arrives at WORKSITE and
                              terminates upon leaving WORKSITE.


                        3.5   CONTRACTOR shall prepare tools and equipment for back loading and complete a detailed
                              manifest. Where COMPANY provided transportation is used, should CONTRACTOR fail to
                              properly prepare equipment for shipment and cause delay, equipment shall be charged at
                              Zero Rates until such time as equipment has been back loaded on COMPANY provided
                              transportation.


                        3.6   For air or marine personnel transportation, unless otherwise specified in Section 4, Appendix
                              3 and/or Appendix 4, crew charges begin when crew reaches COMPANY's embarkation point
                              for transport to WORKSITE and ends when crew arrives back at COMPANY's
                              disembarkation point. There shall be no duplicate crew charges on crew change days.




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                        3.7    For the avoidance of doubt, this Clause is superseded by Section 4, Appendix 3, Part C,
                               Clause 3.2.3.

                               Unless othelWise specified in Section 4, Appendix 3 and/or Appendix 4, equipment operating
                               charges shall apply when equipment is on the WORKSITE, fully functional and operational in
                               accordance with Section 3, Scope of Work, and being used in performance of the WORK.


                        3.8    All equipment rates day refer to a day of twenty-four hours. For parts of a day, all such day
                               rates shall be prorated to the nearest hour for each well. Monthly rates refer to a calendar
                               month. Parts of a month shall be prorated to the nearest day.


                        3.9    For the avoidance of doubt, this Clause is superseded by Section 4, Appendix 3, Part C,
                               Clause 3.3.

                               Unless othelWise specified in Section 4, Appendix 3 and/or Appendix 4, in the event of
                               equipment failure, when equipment was used within CONTRACTOR's specifications and
                               control, the charges will cease immediately. Charges will recommence when equipment is
                               replaced or is deemed to have started working to the satisfaction of COMPANY. This non-
                               payment shall also apply to other equipment CONTRACTOR may have in the same tool
                               string and / or other related equipment and personnel at the WORK SITE unless COMPANY
                               continues to drill or circulate and the other equipment continues to function. COMPANY shall
                               not pay land transportation charges and fees for replacement equipment due to
                               CONTRACTOR failures deemed as operated within CONTRACTOR specifications.                  If
                               CONTRACTOR utilizes COMPANY provided land transportation, then CONTRACTOR shall
                               reimburse COMPANY for all charges. No payment will be made for any item of equipment
                               which fails within twenty-four (24) hours of commencement of operational use.


                        3.10 In the event CONTRACTOR upgrades the technical specification or specifications of the
                             equipment EMPLOYED during the CONTRACT period to include additional features,
                             capabilities, or functionalities, CONTRACTOR shall supply such upgraded tools or equipment
                             with originally requested features, capabilities, or functionalities at no additional cost to
                             COMPANY. Any additional features, capabilities, or functionalities so provided in new
                             equipment can be employed by COMPANY at the rates placed by amendment into the
                             applicable schedule of rates and charges.


                        3.11   For the avoidance of doubt, this Clause is superseded by Section 4, Appendix 3, Part C,
                               Clause 3.1.24.

                               In the event CONTRACTOR is unable to provide any part of the WORK for which
                               CONTRACTOR has agreed to provide and there exists agreed rates and I or charges in the
                               CONTRACT and has to source such WORK from a Third Party, CONTRACTOR shall invoice
                               COMPANY for such part of the WORK at the rates or charges contained herein or the Third
                               Party cost with no mark-up, whichever is the lesser.


                        3.12 NEW TECHNOLOGY - COMPANY is procuring services and associated equipment and
                             materials, which COMPANY expects to improve incrementally over the duration of the
                             CONTRACT. However, it is recognized that acquisitions and development of new technology
                             during the term of the CONTRACT may result in the development of products and services
                             not included in the CONTRACT. In such a situation, CONTRACTOR and COMPANY shall:




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                             3.12.1    Discuss and agree upon any such inclusion which shall be considered on a case-by-
                                      case basis. Prior to acceptance of new technology, COMPANY requires business
                                      case justification by CONTRACTOR which shall consist of but is not limited to the
                                      following documentation to be provided by CONTRACTOR:

                                      (a) Description of technological benefits and risks.

                                      (b) Delineation of commercial benefits accruing to COMPANY (including, where
                                          applicable, incremental NPV, savings in drilling unit time, increased production,
                                          or other measurable value generation).

                                      (c) New technology delivery plan.

                             3.12.2   Not seek adjustments to rates for:

                                      (a) Revision of tool specifications.

                                      (b) Improved processes.

                                      All adjustments shall be made in accordance with COMPANY's internal procedure for
                                      addition of materials, equipment, or personnel charges to the Schedule of Rates and
                                      Charges. These discussions and agreements shall be held in advance of performing
                                      such services for COMPANY. \MIen CONTRACTOR does not seek and obtain
                                      necessary approvals for inclusion of new or additional services, payments shall not
                                      be made by COMPANY to CONTRACTOR, nor shall COMPANY be responsible in
                                      any manner should the equipment be lost ordamaged.

                             3.12.3   Agree that CONTRACTOR shall charge COMPANY at the commercial rates of the
                                      previous generation of technology in the event of failure to deliver all of the benefits
                                      specified in the new technology business case.


                        3.13 For the avoidance of doubt, this Clause is superseded by Section 4, Appendix 3, Part C,
                             Clause 3.4.

                             Unless otherwise specified in Section 4, Appendix 3 and/or Appendix 4, should
                             CONTRACTOR's tool(s) and equipment become stuck in the hole, the Operating Rates shall
                             automatically terminate and Standby Rates commence unless the incident is caused by
                             CONTRACTOR negligence. If due to CONTRACTOR negligence, the Operating Rate will
                             terminate and a Zero Rate will be applicable. The appropriate rates shall remain in effect
                             until the tools are retrieved and released to CONTRACTOR or when officially declared lost.
                             Aggregate standby payment shall not exceed the Lost-in-Hole value for said tool(s) and
                             equipment. The tools are officially declared lost when the decision is made to no longer
                             attempt to recover the tools.


                        3.14 CONTRACTOR unit prices shall be all inclusive of consumption of that material. No
                             additional charges for packing (i.e., pallets, plastiC wrap, drums, buckets, etc.) will be
                             accepted above the unit cost of the product.


                        3.15 For the avoidance of doubt, this Clause is superseded by Section 4, Appendix 3, Part C,
                             Clause 3.2.4.




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                              Unless otherwise stated herein in Section 4, Appendix 3 and/or Appendix 4, there shall be no
                              additional charges for backup tools or equipment necessary to perform the WORK without
                              interruption.


                 4.0    THIRD PARTY SERVICES I MATERIALS

                        4.1   Where Third Party services or materials are required by COMPANY under this CONTRACT
                              and CONTRACTOR provides these services or materials, CONTRACTOR shall be
                              reimbursed at net documented cost. These services or materials may be direct-billed by
                              Third Party to COMPANY. No invoice processing or similar charge shall be payable by
                              COMPANY to CONTRACTOR.


                        4.2   COMPANY reserves the right to take advantage of commercial pricing from COMPANY
                              contracts with Third Party material providers in lieu of CONTRACTOR providing said
                              materials.


                        4.3   Unless otherwise provided in this CONTRACT, in the event that COMPANY's provision of
                              third party materials results in a major scope of work change for CONTRACTOR then the
                              Parties will mutually agree on any commercial revisions necessary.


                 5.0    PAYMENT AND INVOICING PROVISIONS

                        Payment and Invoicing procedures are as per Appendix 1, hereto.


                 6.0    LOST-IN-HOLE CHARGES

                        Lost-in-Hole Charges are as per Appendix 2, hereto.


                 7.0    SUB-SECTOR TERMS AND CONDITIONS I SCHEDULE OF RATES AND CHARGES

                        7.1   Sub-Sector Terms and Conditions are found as Appendix 3 attached hereto.


                        7.2   Schedule of Rates and Charges are found as Appendix 4 attached hereto.




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                 1.0    GENERAL

                        1.1   Remuneration detailed herein shall be all inclusive rates including, but not limited to, all
                              consumables, spares, and other extras such as any inspection or overhaul charges, all
                              maintenance and repair, hot shot, inspection, certification, and transportation for all
                              categories of equipment required, unless specifically noted otherwise, at the WORKSITE
                              during the various well sections, and is deemed to allow for all costs incurred by
                              CONTRACTOR in complying with all the terms and conditions of the CONTRACT, and shall
                              represent the total remuneration due to CONTRACTOR in full consideration of the
                              satisfactory performance of the WORK.


                        1.2   CONTRACTOR shall not be entitled to remuneration in respect of personnel or equipment
                              time incurred non-productively:

                              1.2.1   through shortages or delays in the supply by CONTRACTOR of personnel,
                                      equipment, information, or materials, provided that COMPANY shall have given to
                                      CONTRACTOR adequate notice of the need for such supply; and I or

                              1.2.2   due to a lack of planning on the part of CONTRACTOR provided adequate planning
                                      time and technical information were provided by COMPANY


                        1.3   No remuneration shall be made for WORK not performed in accordance with the
                              CONTRACT. There shall be no surcharges of any manner.


                        1.4   COMPANY shall place CONTRACTOR on Zero Rate at any time during the CONTRACT
                              period if CONTRACTOR fails to meet the full obligations and requirements of the
                              CONTRACT in whole or in part. CONTRACTOR shall remain on Zero Rate until corrective
                              action is taken and accepted by COMPANY. Zero rate applies to all CONTRACTOR charges
                              without exception, and includes but is not limited to the base service charge unit rate and the
                              individual tool/equipment unit rates in the CONTRACT schedule of rates and charges.


                        1.5   All equipment, materials, and/or services must be as specified in the CONTRACT, as
                              amended from time to time, prior to CONTRACTOR providing or using same. Failure to
                              include equipment, materials, or services will result in COMPANY not paying CONTRACTOR
                              for these items.


                        1.6   All rates and prices stated herein are in United States Dollars.


                        1.7   The rates and prices are exclusive of any incidence for Value Added Tax (VAn, Goods and
                              Services Tax or any other similar tax or duty applicable to the goods and services provided
                              by CONTRACTOR under the CONTRACT, and to the extent that similar taxes such as sales,
                              use or excise or business tax are implicit or specifically defined in Appendix 2 to Section 2 -
                              General Conditions of the Contract. The amount of Value Added Tax (VAn, Goods and
                              Services Tax or any other similar tax or duty and such other agreed taxes chargeable less
                              any reduction in taxes CONTRACTOR may benefit from shall be paid to CONTRACTOR by




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                              COMPANY in addition to any other payments becoming due under the CONTRACT upon
                              production of a valid tax invoice.


                        1.8   CONTRACTOR shall advise COMPANY of availability of equipment and personnel upon
                              receipt of requirements from COMPANY.

                              1.8.1   In the event that CONTRACTOR has a concurrent alternative customer requirement
                                      for the equipment and lor personnel, CONTRACTOR shall advise COMPANY of said
                                      alternative requirements and COMPANY's options to ensure equipment and ! or
                                      personnel availability. In the event one of those options is for COMPANY to secure
                                      the equipment and I or personnel in advance, then COMPANY shall compensate
                                      CONTRACTOR at fifty percent (50%) of the applicable Standby Rate to secure the
                                      availability of the equipment and I or personnel. All such agreements shall be
                                      documented in the WORK ORDER or CHANGE ORDER.

                              1.8.2   Where the alternative customer is another COMPANY asset, then CONTRACTOR
                                      shall be responsible for keeping each of the assets informed of such requirements.
                                      COMPANY shall be informed by CONTRACTOR at all times of such exceptional
                                      circumstances. As regards any standby payments made in conjunction with Clause
                                      1.8.1 herein above, COMPANY shall only make one standby payment regardless of
                                      the number of COMPANY assets waiting to use the equipment. Unless so directed
                                      by COMPANY, said standby payment shall be charged to the first COMPANY asset
                                      ensuring equipment availability.


                 2.0 MOBILIZATION AND DEMOBILIZATION

                        2.1   Unless otherwise provided for herein, CONTRACTOR shall be responsible for the
                              mobilization and demobilization of its personnel, equipment, and material to and from the
                              WORKSITE, COMPANY designated heliport, or supply base.

                              Where changes to the Scope of Work or agreed delivery schedule by COMPANY are
                              sufficient to require CONTRACTOR to execute additional mobilizations for a job, the cost for
                              these additional mobilizations will be to COMPANY account.


                        2.2   CONTRACTOR shall be responsible for obtaining all necessary visas, customs clearances,
                              or other government authorizations required for moving its personnel and equipment into and
                              out of the country having jurisdiction over the operating area.


                        2.3   COMPANY shall provide air transportation for medical evacuation of CONTRACTOR's
                              personnel from COMPANY's WORKSITES. The cost of air transportation shall be borne by
                              the parties in accordance with Section 2 - General Conditions of Contract, Clause 31.9.


                        2.4   The point of mobilization for onshore operations will be COMPANY's WORKSITE unless
                              specifically stated prior to the operation.


                        2.5   All costs and charges relating to the mobilization of crew and equipment to the WORKSITE
                              shall be included in the Base Service Charge Unit Rates.




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                        2.6   For offshore operations the mobilization point will be COMPANY's shore base, or place of
                              Crew embarkation.


                        2.7   CONTRACTOR is responsible for ensuring that all equipment and services required for the
                              WORK are delivered by land or sea freight, as specified by the WORK, to meet the schedule
                              detailed in the CONTRACT. In the event that CONTRACTOR is required to air freight any
                              equipment in order to meet the agreed CONTRACT schedule, such additional air freight
                              costs shall be to CONTRACTOR's account.


                 3.0    CHARGE RATE

                        3.1   Unless otherwise specified in Section 4, Appendix 3 - Sub-Sector Terms and Conditions,
                              prices included in this CONTRACT together with any relevant discounts shall remain firm and
                              fixed for the first twelve (12) months from the EFFECTIVE DATE of the CONTRACT.

                              3.1.1   Price Adjustments - General Principles

                                      (a)   Unless elsewhere specified, the methodology agreed between PARTIES shall
                                            apply to all line items contained within the applicable Schedule of Rates and
                                            Charges. These price adjustments shall be based on objective criteria (e.g.,
                                            published indices or other available market information) and not subject to a
                                            form of negotiation process, except for unique circumstances when it is not
                                            possible to utilize an appropriate indexation tool or indexation methodology.

                                      (b)   Unless otherwise specified in Appendix 3 or otherwise agreed between the
                                            PARTIES, price adjustments will be calculated on an annual basis inclusive of
                                            any extension periods.

                                      (c)   Occasionally an index may be unavailable for a particular time period or
                                            sometimes an index is permanently discontinued. If this occurs, the next
                                            higher level data series or another index may be substituted, subject to mutual
                                            agreement by COMPANY and CONTRACTOR. If the title of an index changes
                                            or is recoded without changing the inputs, it is considered to be the same
                                            index.

                                      (d)   Indices are sometimes re-based. Price Adjustments will be calculated using
                                            indices expressed on the reference base period in effect when the Price
                                            Adjustment is applied, i.e., the calculation of adjustments shall always use the
                                            latest version of the index.

                              3.1.2   Price Adjustment Process

                                      (a)   No later than three (3) months from the EFFECTIVE DATE of the CONTRACT,
                                            the PARTIES shall agree on an appropriate methodology for adjusting pricing
                                            for each subsequent twelve (12) month period of the CONTRACT.

                                      (b)   In order to develop this methodology, CONTRACTOR shall provide for
                                            COMPANY's approval a percentage breakdown of the cost drivers for each
                                            category of items so that appropriate indices may be selected and accurate
                                            composite calculations may be made.

                                      (c)   Unless agreed otherwise between the PARTIES, the Rates and Charges to be
                                            adjusted shall be subject to annual review and adjusted up or down




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                                            commencing from the first Anniversary Date of the CONTRACT ("CONTRACT
                                            Anniversary Date") and annually thereafter on the CONTRACT Anniversary
                                            Date.

                                      (d)   No later than 45 days prior to the CONTRACT Anniversary Date,
                                            CONTRACTOR shall present a written recommendation to COMPANY
                                            detailing the Rates and Charges to be adjusted and full back-up documentation
                                            in support of any adjustments. Any approved adjustments shall be the subject
                                            of a CONTRACT amendment between the PARTIES.

                              3.1.3   The baseline month and year for indexation and pricing purposes shall be the
                                      EFFECTIVE DATE of the CONTRACT.


                        3.2   The descriptions attached to the respective items detailed in Section 4, Appendix 3 and/or
                              Appendix 4, are intended as brief descriptions sufficient for identification purposes only and
                              do not exhaustively detail every operation involved in carrying out the WORK.


                        3.3   Unless otherwise specified in Section 4, Appendix 3 and/or Appendix 4, charges for
                              equipment to be employed offshore shall begin the day equipment arrives at COMPANY
                              supply base, WORKSITE or COMPANY specified time whichever occurs later, and
                              terminates upon arrival at COMPANY supply base or CONTRACTOR base, whichever
                              occurs first.


                        3.4   Unless otherwise specified in Section 4, Appendix 3 and/or Appendix 4, charges for
                              equipment to be employed onshore shall begin the day equipment arrives at COMPANY
                              supply base, WORKSITE or COMPANY specified time whichever occurs later, and
                              terminates upon release from the WORKSITE.


                        3.5   CONTRACTOR shall prepare tools and equipment for back loading and complete a detailed
                              manifest. Where COMPANY provided transportation is used, should CONTRACTOR fail to
                              properly prepare equipment for shipment and cause delay, equipment shall be charged at
                              Zero Unit Rates, if applicable, until such time as equipment has been back loaded on
                              COMPANY provided transportation.


                        3.6   For air or marine personnel transportation, unless otherwise specified in Section 4, Appendix
                              3 and/or Appendix 4, crew charges begin when crew reaches COMPANY's embarkation point
                              for transport to WORKSITE, or COMPANY specified time whichever occurs later, and ends
                              when crew arrives back at COMPANY's disembarkation point. There shall be no duplicate
                              crew charges on crew change days.


                        3.7   Where appropriate all equipment Standby Rates per day refer to a day of twenty-four hours.
                              For parts of a day, all such day rates shall be prorated to the nearest hour. Monthly rates
                              refer to a calendar month. Parts of a month shall be prorated to the nearest day.


                        3.8   COMPANY shall not pay land transportation charges and fees for replacement equipment
                              due to CONTRACTOR failures deemed as operated within CONTRACTOR specifications. If
                              CONTRACTOR utilizes COMPANY provided land transportation, then CONTRACTOR shall
                              reimburse COMPANY for all charges.




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                        3.9    In the event CONTRACTOR upgrades the technical specification OR SPECIFICATIONS of
                               the equipment EMPLOYED during the CONTRACT period to include additional features,
                               capabilities, or functionalities, CONTRACTOR shall supply such upgraded tools or equipment
                               with originally requested features, capabilities, or functionalities at no additional cost to
                               COMPANY. Any additional features, capabilities, or functionalities so provided in new
                               equipment can be EMPLOYED by COMPANY at the rates placed by amendment into the
                               applicable schedule of rates and charges.


                        3.10 In the event CONTRACTOR is unable to provide any part of the WORK for which
                             CONTRACTOR has agreed to provide and there exists agreed rates and / or charges in the
                             CONTRACT and has to source such WORK from a Third Party, CONTRACTOR shall invoice
                             COMPANY for such part of the WORK at the rates or charges contained herein or the Third
                             Party cost with no mark-up, whichever is the lesser.


                        3.11   NEW TECHNOLOGY - COMPANY is procuring data, services and associated equipment
                               and materials, which COMPANY expects to improve incrementally over the duration of the
                               CONTRACT. However, it is recognized that acquisitions and development of new technology
                               during the term of the CONTRACT may result in the development of products and services
                               not included in the CONTRACT. In such a situation, CONTRACTOR and COMPANY shall:

                               3.11.1    discuss and agree upon any such inclusion which shall be considered on a case-by-
                                        case basis. Prior to acceptance of new technology, COMPANY requires business
                                        case justification by CONTRACTOR which shall consist of but is not limited to the
                                        following documentation to be provided by CONTRACTOR:

                                        (a) description of technological benefits and risks

                                        (b) delineation of commercial benefits accruing to COMPANY, including, where
                                            applicable, incremental NPV, savings in drilling unit time, increased production,
                                            or other measurable value generation.

                                        (c) new technology delivery plan

                               3.11.2   not seek adjustments to rates for:

                                        (a) revision of tool specifications

                                        (b) improved processes

                                        All adjustments shall be made in accordance with COMPANY's intemal procedure for
                                        addition of materials, equipment, or personnel charges to the Schedule of Rates and
                                        Charges. These discussions and agreements shall be held in advance of performing
                                        such services for COMPANY. When CONTRACTOR does not seek and obtain
                                        necessary approvals for inclusion of new or additional services, payments shall not
                                        be made by COMPANY to CONTRACTOR, nor shall COMPANY be responsible in
                                        any manner should the equipment be lost ordamaged.

                               3.11.3    agree that CONTRACTOR shall charge COMPANY at the U nit Rates of the previous
                                        generation of technology in the event of failure to deliver all of the benefits specified
                                        in the new technology business case.




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                                                          D. Wire line Services



                        3.12 CONTRACTOR Unit Rates shall be all inclusive of consumption of material. No additional
                             charges for packing (i.e., pallets, plastic wrap, drums, buckets, etc.) will be accepted above
                             the Unit Rate of the product.


                        3.13 Unless otherwise stated herein in Section 4, Appendix 3 and/or Appendix 4, there shall be no
                             additional charges for back-up tools or equipment necessary to perform the WORK without
                             interruption.


                 4.0    THIRD PARTY SERVICES I MATERIALS

                        4.1   Where Third Party services or materials are required by COMPANY under this CONTRACT
                              and CONTRACTOR provides these services or materials, CONTRACTOR shall be
                              reimbursed at net documented cost. These services or materials may be direct-billed by
                              Third Party to COMPANY. No invoice processing or similar charge shall be payable by
                              COMPANY to CONTRACTOR.


                        4.2   COMPANY reserves the right to take advantage of commercial pricing from COMPANY
                              contracts with Third Party material providers in lieu of CONTRACTOR providing said
                              materials.


                        4.3   Unless otherwise provided in this CONTRACT, in the event that COMPANY's provision of
                              third party materials results in a major scope of work change for CONTRACTOR then the
                              Parties will mutually agree on any commercial revisions necessary.


                 5.0    PAYMENT AND INVOICING PROVISIONS

                        Payment and Invoicing procedures are as per Appendix 1, hereto.


                 6.0    LOST-IN-HOLE CHARGES

                        Lost-in-Hole Charges are as per Appendix 2, hereto.


                 7.0    SUB-SECTOR TERMS AND CONDITIONS I SCHEDULE OF RATES AND CHARGES

                        7.1   Sub-Sector Terms and Conditions are found as Appendix 3 attached hereto.


                        7.2   Schedule of Rates and Charges are found as Appendix 4 attached hereto.




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                                                         Section 4 - Remuneration
                                                              E. Completions



                                                              E. Completions


                 1.0    GENERAL

                        1.1   Remuneration detailed herein shall be all inclusive rates including, but not limited to, all
                              consumables, spares, and other extras such as any inspection or overhaul charges, all
                              maintenance and repair, hot shot, inspection, certification, and transportation for all
                              categories of equipment required, unless specifically noted otherwise, at the WORKSITE
                              during the various well sections, and is deemed to allow for all costs incurred by
                              CONTRACTOR in complying with all the terms and conditions of the CONTRACT, and shall
                              represent the total remuneration due to CONTRACTOR in full consideration of the
                              satisfactory performance of the WORK.


                        1.2   CONTRACTOR shall not be entitled to remuneration in respect of personnel or equipment
                              time incurred non-productively:

                              1.2.1   through shortages or delays in the supply by CONTRACTOR of personnel,
                                      equipment, information, or materials, provided that COMPANY shall have given to
                                      CONTRACTOR adequate notice of the need for such supply; and I or

                              1.2.2   due to a lack of planning on the part of CONTRACTOR provided adequate planning
                                      time and TECHNICAL INFORMATION were provided by COMPANY


                        1.3   No remuneration shall be made for WORK not performed in accordance with the
                              CONTRACT.


                        1.4   All equipment, materials, and I or services must be as specified in the CONTRACT, as
                              amended from time to time, prior to CONTRACTOR providing or using same. Failure to
                              include equipment, materials, or services will result in COMPANY not paying CONTRACTOR
                              for these items.


                        1.5   All rates and prices stated herein are in United States Dollars.


                        1.6   The rates and prices are exclusive of any incidence for Value Added Tax (VAn, Goods and
                              Services Tax or any other similar tax or duty applicable to the goods and services provided
                              by CONTRACTOR under the CONTRACT, and to the extent that similar taxes such as sales,
                              use or excise or business tax are implicit or specifically defined in Appendix 2 to Section 2 -
                              General Conditions of the Contract. The amount of Value Added Tax (VAn, Goods and
                              Services Tax or any other similar tax or duty and such other agreed taxes chargeable less
                              any reduction in taxes CONTRACTOR may benefit from shall be paid to CONTRACTOR by
                              COMPANY in addition to any other payments becoming due under the CONTRACT upon
                              production of a valid tax invoice.


                        1.7   CONTRACTOR shall advise COMPANY of availability of equipment and personnel upon
                              receipt of requirements from COMPANY.




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                              1.7.1   In the event that CONTRACTOR has a concurrent alternative customer requirement
                                      for the equipment and lor personnel, CONTRACTOR shall advise COMPANY of said
                                      alternative requirements and COMPANY's options to ensure equipment and! or
                                      personnel availability. In the event one of those options is for COMPANY to secure
                                      the equipment and I or personnel in advance, then COMPANY shall compensate
                                      CONTRACTOR at fifty percent (50%) of the applicable Standby Rate to secure the
                                      availability of the equipment and I or personnel. All such agreements shall be
                                      documented in the WORK ORDER or CHANGE ORDER.

                              1.7.2   Where the alternative customer is another COMPANY asset, then CONTRACTOR
                                      shall be responsible for keeping each of the assets informed of such requirements.
                                      COMPANY shall be informed by CONTRACTOR at all times of such exceptional
                                      circumstances. As regards any standby payments made in conjunction with Clause
                                      1.7.1 herein above, COMPANY shall only make one standby payment regardless of
                                      the number of COMPANY assets waiting to use the equipment. Unless so directed
                                      by COMPANY, said standby payment shall be charged to the first COMPANY asset
                                      ensuring equipment availability.


                 2.0    MOBILIZATION AND DEMOBILIZATION

                        2.1   Unless otherwise provided for herein, CONTRACTOR shall be responsible for the
                              mobilization and demobilization of its personnel, equipment, and material to and from the
                              WORKSITE, COMPANY designated heliport, or supply base.

                              Where changes to the Scope of Work or agreed delivery schedule by COMPANY are
                              sufficient to require CONTRACTOR to execute additional mobilizations for a job, the cost for
                              these additional mobilizations will be to COMPANY account


                        2.2   CONTRACTOR shall be responsible for obtaining all necessary visas, customs clearances,
                              or other government authorizations required for moving its personnel and equipment into and
                              out of the country having jurisdiction over the operating area. In the event COMPANY is
                              specifically required herein to reimburse CONTRACTOR for customs duties or fees levied on
                              CONTRACTOR in relation to the import or export of CONTRACTOR's equipment and
                              material, CONTRACTOR shall follow COMPANY's instructions in respect thereof so as to
                              qualify for any available exemptions or reductions of such duties or fees.


                        2.3   If equipment or personnel are demobilized to a location closer than the originally intended
                              Point of Demobilization, in order to perform work for another company or for reasons of
                              CONTRACTOR's own convenience, any demobilization fee shall be reduced in an amount
                              commensurate with the resulting documented reduction in CONTRACTOR's demobilization
                              costs.


                        2.4   Applicable expenses for travel approved by COMPANY in advance of the travel will be
                              reimbursed, with no mark-up, according to the following:

                              2.4.1   For expenses incurred outside of the United States see current version (revised
                                      periodically) of US Department of State web-site at:

                                      htto:/Ia oorals .state .gov/content.aso?content id=184&menu id=81




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                               2.4.2   For expenses incurred within the United States see current version (revised
                                       periodically) of US General Services Administration web-site at:

                       hUp:llwww.gsa.gov/Portal/gsa/ep/contentView.do?contentld=17943&contentType=GSA BASIC

                               2.4.3   Charges for the use of personal automobiles and light trucks shall be at the IRS
                                       mileage rate applicable at the time of service. CONTRACTOR shall employ best
                                       efforts to reduce aggregate transportation charges to COMPANY through the use of
                                       carpools, crew vans, and other related methods of transportation.

                               2.4.4   Airfare will be lowest discounted coach fare at the time of purchase with most direct
                                       routing.

                               2.4.5   Where agreed to in advance by COMPANY, COMPANY shall reimburse reasonable
                                       travel expenses for attendance of CONTRACTOR personnel at sundry meetings
                                       (e.g., Crew Engagement Meetings, etc.) requested by COMPANY. Day rates for all
                                       personnel attending sundry meetings shall be for no more than eight (8) hours at the
                                       applicable onshore rate.


                        2.5    COMPANY shall provide air transportation for medical evacuation of CONTRACTOR's
                               personnel from COMPANY's WORKSITES. The cost of air transportation shall be borne by
                               the parties in accordance with Section 2 - General Conditions of Contract, Clause 31.9.


                        2.6    If CONTRACTOR uses Third-Parties for transportation, CONTRACTOR shall make
                               reasonable efforts to use COMPANY's preferred trucking companies. COMPANY shall not
                               assume any liability due to delay, lost or damaged cargo, or any other loss as a result of
                               CONTRACTOR's use of COMPANY's preferred trucking companies.


                 3.0    CHARGE RATE

                         3.1   Unless otherwise specified in Section 4, Appendix 3 - Sub-Sector Tenms and Conditions,
                               prices included in this CONTRACT together with any relevant discounts shall remain firm and
                               fixed for the first twelve (12) months from the EFFECTIVE DATE of the CONTRACT.

                               3.1.1   Price Adjustments - General Principles

                                       (a)   Unless elsewhere specified, the methodology agreed between PARTIES shall
                                             apply to all line items contained within the applicable Schedule of Rates and
                                             Charges. These price adjustments shall be based on objective criteria (e.g.,
                                             published indices or other available market information) and not subject to a
                                             form of negotiation process, except for unique circumstances when it is not
                                             possible to utilize an appropriate indexation tool or indexation methodology.

                                       (b)   Unless otherwise specified in Appendix 3 or otherwise agreed between the
                                             PARTIES, price adjustments will be calculated on an annual basis inclusive of
                                             any extension periods.

                                       (c)   Occasionally an index may be unavailable for a particular time period or
                                             sometimes an index is permanently discontinued. If this occurs, the next
                                             higher level data series or another index may be substituted, subject to mutual
                                             agreement by COMPANY and CONTRACTOR. If the title of an index changes




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                                            or is recoded without changing the inputs, it is considered to be the same
                                            index.

                                      (d)   Indices are sometimes re-based. Price Adjustments will be calculated using
                                            indices expressed on the reference base period in effect when the Price
                                            Adjustment is applied, i.e., the calculation of adjustments shall always use the
                                            latest version of the index.

                              3.1.2   Price Adjustment Process

                                      (a)   No later than three (3) months from the EFFECTIVE DATE of the CONTRACT,
                                            the PARTIES shall agree on an appropriate methodology for adjusting pricing
                                            for each subsequent twelve (12) month period of the CONTRACT.

                                      (b)   In order to develop this methodology, CONTRACTOR shall provide for
                                            COMPANY's approval a percentage breakdown of the cost drivers for each
                                            category of items so that appropriate indices may be selected and accurate
                                            composite calculations may be made.

                                      (c)   Unless agreed otherwise between the PARTIES, the Rates and Charges to be
                                            adjusted shall be subject to annual review and adjusted up or down
                                            commencing from the first Anniversary Date of the CONTRACT ("CONTRACT
                                            Anniversary Date") and annually thereafter on the CONTRACT Anniversary
                                            Date.

                                      (d)   No later than 45 days prior to the CONTRACT Anniversary Date,
                                            CONTRACTOR shall present a written recommendation to COMPANY
                                            detailing the Rates and Charges to be adjusted and full back-up documentation
                                            in support of any adjustments. Any approved adjustments shall be the subject
                                            of a CONTRACT amendment between the PARTIES.

                              3.1.3   The baseline month and year for indexation and pricing purposes shall be the
                                      EFFECTIVE DATE of the CONTRACT.


                        3.2   The descriptions attached to the respective items detailed in Section 4, Appendix 3 and/or
                              Appendix 4, are intended as brief descriptions sufficient for identification purposes only and
                              do not exhaustively detail every operation involved in carrying out the WORK.


                        3.3   Unless otherwise specified in Section 4, Appendix 3 and/or Appendix 4, charges for
                              equipment to be employed offshore shall begin the day equipment arrives at COMPANY
                              supply base or WORKSITE, whichever occurs first, and terminates upon arrival at
                              COMPANY supply base or CONTRACTOR base, whichever occurs first.


                        3.4   Unless otherwise specified in Section 4, Appendix 3 and/or Appendix 4, charges for
                              equipment to be employed onshore shall begin the day equipment arrives at WORKSITE and
                              terminates upon leaving WORKSITE.


                        3.5   CONTRACTOR shall prepare tools and equipment for back loading and complete a detailed
                              manifest. Where COMPANY provided transportation is used, should CONTRACTOR fail to
                              properly prepare equipment for shipment and cause delay, equipment shall be charged at




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                               zero rates until such time as equipment has been back loaded on COMPANY provided
                               transportation.


                        3.6    For air or marine personnel transportation, unless otherwise specified in Section 4, Appendix
                               3 and/or Appendix 4, crew charges begin when crew reaches COMPANY's embarkation point
                               for transport to WORKSITE and ends when crew arrives back at COMPANY's
                               disembarkation point. There shall be no duplicate crew charges on crew change days.


                        3.7    Unless otherwise specified, equipment operating charges shall apply when equipment is on
                               the WORKSITE, fully functional and operational in accordance with Section 3, Scope of
                               Work, and being used in performance of the WORK. The Standby Rate will apply if the
                               equipment is not mobilized to the WORKSITE from COMPANY embarkation point within 23
                               hours. The Standby Rate will apply if the WORK does not begin within 12 hours of
                               equipment arriving at the WORKSITE. Where backup equipment is required per COMPANY
                               WORK ORDER, charges will begin for this equipment on arrival at COMPANY's WORKSITE.
                               Equipment charges will cease when COMPANY notifies CONTRACTOR that equipment has
                               been returned to COMPANY's initial embarkation point.


                        3.8    All equipment rates per day refer to a day of twenty-four hours. For parts of a day, all such
                               day rates shall be prorated to the nearest hour. Monthly rates refer to a calendar month.
                               Parts of a month shall be prorated to the nearest day.


                        3.9    Unless otherwise specified herein, in the event of equipment failure, when equipment was
                               used within CONTRACTOR's specifications and control, the charges will cease immediately.
                               Charges will recommence when equipment is replaced or is deemed to have started working
                               to the satisfaction of COMPANY. This non-payment shall also apply to other equipment
                               CONTRACTOR may have in the same tool string and I or other related equipment and
                               personnel at the WORKSITE unless COMPANY continues to drill or circulate and the other
                               equipment continues to function. COMPANY shall not pay land transportation charges and
                               fees for replacement equipment due to CONTRACTOR failures deemed as operated within
                               CONTRACTOR specifications.         If CONTRACTOR utilizes COMPANY provided land
                               transportation, then CONTRACTOR shall reimburse COMPANY for all charges. No payment
                               will be made for any item of equipment which fails within twenty-four (24) hours of
                               commencement of operational use.


                        3.10 In the event CONTRACTOR upgrades the technical specification or specifications of the
                             eqUipment EMPLOYED during the CONTRACT period to include additional features,
                             capabilities, or functionalities, CONTRACTOR shall supply such upgraded tools or equipment
                             with originally requested features, capabilities, or functionalities at no additional cost to
                             COMPANY. Any additional features, capabilities, or functionalities so provided in new
                             equipment can be employed by COMPANY at the rates placed by amendment into the
                             applicable schedule of rates and charges.


                        3.11   In the event CONTRACTOR is unable to provide any part of the WORK for which
                               CONTRACTOR has agreed to provide and there exists agreed rates and I or charges in the
                               CONTRACT and has to source such WORK from a Third Party, CONTRACTOR shall invoice
                               COMPANY for such part of the WORK at the rates or charges contained herein or the Third
                               Party cost with no mark-up, whichever is the lesser.




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                        3.12 NEW TECHNOLOGY - COMPANY is procuring services and associated equipment and
                             materials, which COMPANY expects to improve incrementally over the duration of the
                             CONTRACT. However, it is recognized that acquisitions and development of new technology
                             during the term of the CONTRACT may result in the development of products and services
                             not included in the CONTRACT. In such a Situation, CONTRACTOR and COMPANY shall:

                              3.12.1    Discuss and agree upon any such inclusion which shall be considered on a case-by-
                                       case basis. Prior to acceptance of new technology, COMPANY requires business
                                       case justification by CONTRACTOR which shall consist of but is not limited to the
                                       following documentation to be provided by CONTRACTOR:

                                       (a) description of technological benefits and risks

                                       (b) delineation of commercial benefits accruing to COMPANY (including, where
                                           applicable, incremental NPV, savings in drilling unit time, increased production,
                                           or other measurable value generation)

                                       (c) new technology delivery plan

                              3.12.2   not seek adjustments to rates for:

                                       (a) revision of tool specifications

                                       (b) improved processes

                                       All adjustments shall be made in accordance with COMPANY's intemal procedure for
                                       addition of materials, equipment, or personnel charges to the Schedule of Rates and
                                       Charges. These discussions and agreements shall be held in advance of performing
                                       such services for COMPANY. When CONTRACTOR does not seek and obtain
                                       necessary approvals for inclusion of new or additional services, payments shall not
                                       be made by COMPANY to CONTRACTOR, nor shall COMPANY be responsible in
                                       any manner should the equipment be lost ordamaged.

                              3.12.3 Agree that CONTRACTOR shall charge COMPANY at the commercial rates of the
                                     previous generation of technology in the event of failure to deliver all of the benefits
                                     specified in the new technology business case.


                        3.13 Unless othelWise specified in Section 4, Appendix 3 and/or Appendix 4, should
                             CONTRACTOR's tool(s) and equipment become stuck in the hole, the operating rates shall
                             automatically terminate and standby rates commence unless the incident is caused by
                             CONTRACTOR negligence or if due to COMPANY failure or other CONTRACTORS
                             failure(s) to follow COMPANY established procedures and practices.                 If due to
                             CONTRACTOR negligence, the operating rate will terminate and a zero rate will be
                             applicable. The appropriate rates shall remain in effect until the tools are retrieved and
                             released to CONTRACTOR or when officially declared lost. Aggregate standby payment
                             shall not exceed the Lost-in-Hole value for said tool(s) and equipment. The tools are officially
                             declared lost when the decision is made to no longer attempt to recover the tools.


                        3.14 CONTRACTOR unit prices shall be all inclusive of consumption of that material. No
                             additional charges for packing (Le., pallets, plastic wrap, drums, buckets, etc.) will be
                             accepted above the unit cost of the product so long as the packaging requirements remain
                             consistent with current COMPANY requirements.




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                        3.15 Unless otherwise stated herein in Section 4, Appendix 3 and/or Appendix 4, there shall be no
                             additional charges for backup tools or equipment necessary to perform the WORK without
                             interruption.


                 4.0    THIRD PARTY SERVICES I MATERIALS

                        4.1   Where Third Party services or materials are required by COMPANY under this CONTRACT
                              and CONTRACTOR provides these services or materials, CONTRACTOR shall be
                              reimbursed at net documented cost. These services or materials may be direct-billed by
                              Third Party to COMPANY. No invoice processing or similar charge shall be payable by
                              COMPANY to CONTRACTOR.


                        4.2   COMPANY reserves the right to take advantage of commercial pricing from COMPANY
                              contracts with Third Party material providers in lieu of CONTRACTOR providing said
                              materials.


                        4.3   Unless otherwise provided in this CONTRACT, in the event that COMPANY's provision of
                              third party materials results in a major scope of work change for CONTRACTOR then the
                              Parties will mutually agree on any commercial revisions necessary.


                 5.0    PAYMENT AND INVOICING PROVISIONS

                        Payment and Invoicing procedures are as per Appendix 1, hereto.


                 6.0    LOST-IN-HOLE CHARGES

                        Lost-in-Hole Charges are as per Appendix 2, hereto.


                 7.0    SUB-SECTOR TERMS AND CONDITIONS I SCHEDULE OF RATES AND CHARGES

                        7.1   Sub-Sector Terms and Conditions are found as Appendix 3 attached hereto.


                        7.2   Schedule of Rates and Charges are found as Appendix 4 attached hereto.




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                                                       Section 4 - Remuneration
                                            Appendix 1 - Special Local Invoicing Procedures




                              Appendix 1 - Special Local Invoicing Procedures

                 1.0    SCHEDULE OF RATES AND CHARGES

                        1.1   In the first ten (10) calendar days of each month or upon completion of job, CONTRACTOR
                              shall submit to COMPANY an invoice for WORK performed in respect of services given
                              and/or materials supplied (if any) for which payment is due.


                        1.2   CONTRACTOR shall not be entitled to payment where it submits an invoice beyond ninety
                              (90) calendar days from the completion of a WORK ORDER, or submits incomplete
                              documentation with an invoice and does not rectify and resubmit the required documentation
                              within ninety (90) calendar days from being instructed to do so.


                        1.3   CONTRACTOR's invoices shall be sequentially numbered and shall be substantiated by the
                              following:

                              1.3.1   Reference to the approved WORK ORDER and CONTRACT

                              1.3.2   Approved daily job tickets detailing the status of each piece of equipment (employed,
                                      standby, not available I under repair); materials consumed by type; and number of
                                      personnel by position

                              1.3.3   Approved monthly summary / reconciliation of consumable materials - the Materials
                                      Inventory Balance (applicable solely to equipment and materials owned by
                                      COMPANY and held at CONTRACTOR's premises)

                              1.3.4   Reference to COMPANY Schedule(s) of Rates and Charges item number for each
                                      invoice line item, if mutually agreed by COMPANY and CONTRACTOR That is,
                                      CONTRACTOR will continue to work with COMPANY to define, develop, and
                                      implement a mutually beneficial automated procurement process.

                              1.3.5   Pay Key Number, if applicable

                              In event of disagreement, IADC drilling records and other applicable documents shall be
                              reviewed to reach mutual agreement.


                        1.4 Invoices shall be submitted as stated below:

                              BP Exploration and Production, Inc.
                              ATTN: Scanning Department S-646
                              PO Box 22024
                              Tulsa, Oklahoma 74121-2024
                              Pay Key Number or PO Number Per WORK ORDER




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                                                       Section 4 - Remuneration
                                            Appendix 1 - Special Local Invoicing Procedures


                 2.0    Payments by COMPANY

                        2.1   If approved by COMPANY, COMPANY shall pay correct invoices within thirty (30) days after
                              receipt at address specified in Clause 1.4 above.

                        2.2   Invoice disputes shall be handled in accordance with Section 2 - General Conditions of
                              Contract, Clause 14.7.

                        2.3   The bank account to which COMPANY shall make payment under the CONTRACT shall be
                              as follows

                              Beneficiary Name = Halliburton Energy Services, Inc.
                              Account Number =00032969
                                           =
                              SWIFT Code CITIUS33
                              Bank Routing Number = 021000089




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                                                        Section 4 - Remuneration
                                                     Appendix 2 - Lost-in-Hole Charges



                                         Appendix 2 - Losl-in-Hole Charges
                 1.     INITIAL REPLACEMENT COST BASIS

                        Equipment and tool replacement costs (LlHC) for equipment which may be lost or damaged beyond
                        economical repair shall be submitted by CONTRACTOR for reimbursement as described in the
                        following categories:

                        1.1    Actual replacement costs for equipment and, if required major subcomponents, at source, i.e.
                               Specific manufacturing / assembly point. For the avoidance of doubt, replacement cost is
                               defined as provable cash replacement cost with no profit. Provable cash replacement cost
                               shall be substantiated by original invoices or detailed cost accounting records,


                        1.2    Replacement cost for each source (if they differ) only if equipment is manufactured at multiple
                               sites,


                        1.3    Actual documented CONTRACTOR's shipping charges from source to CONTRACTOR's
                               base,


                        1 .4   Actual documented duties and associated taxes payable from the source to CONTRACTOR's
                               base from the closest equipment source to CONTRACTOR's base,


                        1.5    Actual documented costs antiCipated for the re-use of salvaged equipment such as splicing a
                               wireline cable or coiled tubing.


                        1.6    For the avoidance of doubt, item 1.1 and 1.2 above are directly applicable to equipment
                               associated with Open and Cased hole logging services. The CONTRACT and, where
                               appropriate, Section 4 - Remuneration, Appendix 4, Schedule of Rates and Charges will
                               govern the LHC for other services.


                 2.     NOTIFICATION OF LOST OR DAMAGED EQUIPMENT

                        If a tool is damaged beyond repair, lost, or lost in the hole, it will be documented on CONTRACTOR
                        job history and or field ticket approved by COMPANY representative. Such documentation shall
                        accompany any claim by CONTRACTOR. In the event that CONTRACTOR is providing equipment
                        only and there is not a CONTRACTOR representative at the WORKSITE when incident occurred,
                        CONTRACTOR documentation requirements will be mutually agreed between COMPANY and
                        CONTRACTOR.

                        CONTRACTOR shall document to COMPANY in writing within thirty (30) days or longer if mutually
                        agreed a detailed incident report which includes well name, tools and! or component part involved,
                        reference dates, when and where the loss and/or damaged occurred and any other information as
                        may be reasonably required by COMPANY




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                                                        Section 4 - Remuneration
                                                     Appendix 2 - Lost-in-Hole Charges


                 3.     INSPECTION REQUIREMENTS FOR DAMAGED TOOLS

                        In the event that a tool or component part thereof is damaged or damaged beyond economical
                        repair, CONTRACTOR upon request shall provide COMPANY with a damage inspection report
                        conducted by a mutually agreed third party or with CONTRACTOR's detailed report in the case of
                        CONTRACTOR proprietary tools. COMPANY reserves the right to carry out an independent
                        verification by a mutually agreed third party. The foregoing third party report shall be prepared at
                        COMPANY expense except in those cases where the report concludes that the damage in question
                        is attributable to defects in the tool or normal wear and tear. The scope of the work to be charged
                        to CONTRACTOR shall be limited to those activities directly associated with determination of root
                        cause or root causes of failure of CONTRACTOR equipment. COMPANY representative shall
                        signify on the said report, or otherwise in writing his agreement that the equipment is damaged or
                        damaged beyond economical repair.             Such report or COMPANY written agreement shall
                        accompany any claim by CONTRACTOR. COMPANY shall not unreasonably refuse or delay
                        CONTRACTOR'S request.

                        COMPANY may elect to waive third party inspection report requirement if:

                        3.1   third party inspection report charges will be excessive in comparison to loss or damage or,


                        3.2   COMPANY may advise CONTRACTOR that when damage or loss is known to be attributable
                              to conditions outside of CONTRACTOR's control and COMPANY does not require further
                              investigation or documentation.


                 4.     RE-IMBURSEMENT FOR LOST OR DAMAGED BEYOND REPAIR EQUIPMENT

                        For tools lost or damaged beyond repair, COMPANY shall be liable to reimburse CONTRACTOR:

                        4.1   Actual replacement costs for equipment and major subcomponents at source, i.e. Specific
                              manufacturing I assembly point from closest manufacturing f assembly point. For the
                              avoidance of doubt, replacement cost is defined as provable cash replacement cost with no
                              profit. Provable cash replacement cost shall be substantiated by original invoices or detailed
                              cost accounting records


                        4.2   Actual documented CONTRACTOR's shipping charges from source to CONTRACTOR's
                              base, not to exceed charges detailed in LlHC tables.


                        4.3   Actual duties and associated taxes payable from the source to CONTRACTOR's base from
                              the closest equipment source to CONTRACTOR's base, not to exceed charges detailed in
                              LlHC tables.


                        4.4   Actual costs for the re-use of salvaged equipment such as splicing a wireline cable or coiled
                              tubing.

                        4.5   For the avoidance of doubt, item 4.1 above is directly applicable to equipment associated
                              with Open and Cased hole logging services. The CONTRACT and, where appropriate,
                              Section 4 - Remuneration, Appendix 4, Schedule of Rates and Charges, will govern the LHC
                              for other services.




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                          In the event that a reference date cannot be documented, the replacement cost will be at the value
                          calculated from the minimum residual value percentage times the replacement cost.


                 5.       RESIDUAL! SALVAGE VALUE

                          When any equipment is damaged beyond economical repair, replacement cost will also be reduced
                          by any salvage value realized. In the event of loss in hole or damage beyond repair for electric
                          logging cable, slickline wire, and coiled tubing, the replacement footage shall be calculated from the
                          unit's available footage at commencement of WORK minus any footage removed for maintenance
                          during the WORK minus any footage available on the unit after loss. Replacement cost will then be
                          calculated as replacement footage divided by new spool footage times new spool cost plus the cost
                          of splicing the salvaged footage to enable its re-use. If remaining footage on the unit cannot be
                          utilized in other work, COMPANY and CONTRACTOR will mutually agree that the remaining
                          footage will be calculated as zero in replacement footage calculation.


                 6.       WELL TEST EQUIPMENT

                          Notwithstanding the provisions of Section 2, Clause 19.1(a), in the event that the WORK involves
                          well test services and CONTRACTOR can demonstrate that CONTRACTOR GROUP's surface well
                          test equipment has incurred abnormal damage (meaning damage which could not be reasonably
                          expected) which has resulted directly from corrosion, erosion or abrasion caused by the nature of
                          the well effluent, CONTRACTOR shall be reimbursed for the costs of repair of such damage except
                          to the extent that such damage is caused by the negligence or breach of duty (statutory or
                          otherwise) of CONTRACTOR GROUP and except to the extent of fair wear and tear.


                 7.       EQUIPMENT REPAIRS

                          When repair is possible, COMPANY shall reimburse CONTRACTOR either the foregoing
                          documented repair or replacement costs, whichever is less.    If requested by COMPANY,
                          CONTRACTOR will provide supporting detailed QAlQC documentation confirming re-build or if
                          applicable, third party refurbishment company documentation.  If requested by COMPANY,
                          CONTRACTOR will provide refurbishment! repair cost documentation segregated into labor (rate
                          and hours) and parts and said documentation will be treated confidential by COMPANY, in
                          accordance with Section 2, Clause 22.


                 8.       DEPRECIATION CALCUALTIONS

                          The following "straight line" depreciation schedule and associated definitions shall apply to
                          CONTRACTOR's equipment which has been damaged beyond economical repair or lost in hole as
                          per the following categories:


                                                             ..                                                                       ..

                                                 Reference ...                            Depreciation   Maximum            Minimum
               Cat~gory          OeseripUon                         Reference Date
                                                  Clause                                  R",t~jm(mth    RequCition       Residual Value
                                                                     .   ..                                           .      .             .

                      1           Dumb Iron         10 a)         Initial Purchase Date      1.50%         40.0%              60.0%


                      2            Tubulars         10 b)         Initial Purchase Date      1.50%         300%               700%




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                                                                   ..                                         ,                     ,             ..   '



                                                                                                                                         I
                                                       Reference                                 Depreciatioll        Maxiilll;l1~             Minimum
              !




                  Category           Description                           Reference Date
                                                        Clal.lse
                                                                   ..
                                                                            ..   ..    '   ..
                                                                                                 Rate.! month
                                                                                                     .        .....
                                                                                                                      Re!:luctlon
                                                                                                                       ••
                                                                                                                                    ...... ....
                                                                                                                                             Resl!:lual Value
                                                                                                                                               ....      ..       '




                                    Mechanical!
                        3                                10 cJ           Initial Purchase Date      1.25%                   40.0%                          60.0%
                                   Hydraulic Tools
                                                                         Initial Purchase Date
                                                                              (100%) or last
                        4          BOP Equipment         10 d)            refurbished with 3'd      1.25%               40.0%                              60.0%
                                                                           Party Certification
                                                                                  (80%)
                                     Surface Test
                        5                                10 e)           Initial Purchase Date      1.50%                   40.0%                          60.0%
                                      Equipment


                                   Wireline logging,
                        6                                10 f)           Initial Purchase Date           0%                 0.0%                           100.0%
                                         tools


                                     Directional                        Initial Purchase Date
                        7                                10 (f)                                     1.50%                   30%                             70%
                                    Drilling Tools                      or last Level 3 repair


                                       Hi tech!                         Initial Purchase Date
                        8                                10 g)                                      1.50%                   30%                             70%
                                   intelligent tools                    or last Level 3 repair




                   9.        EQUIPMENT RELATED DEFINITIONS

                             Downhole equipment used in the well shall be classified in categories for the purpose of
                             depreciation calculations. Where:

                             9.1      "Dumb iron" is defined as equipment with no or very few moving parts excluding parts
                                      which are historically replaced for wear and tear. Dumb iron shall include, but shall not
                                      necessarily be limited to equipment baskets, shipping containers, hand tools, power tools,
                                      tanks, retrievable bridge plugs, coring equipment, stabbing guides, junk baskets, chiksans,
                                      co-flexip hoses, slickline tools excluding flow control equipment, fishing tools, magnets,
                                      bails, elevators, slips, spiders, false rotaries, manual tongs, lift nubbins, clamps, casing
                                      scrapers, casing rollers, casing thread protectors, subs, nipples, crossovers, drifts,
                                      stabilizers, spools, single and double studded adapters, side door entry subs, hole openers,
                                      underreamer bodies, etc.


                             9.2      "Tubulars" is defined as drill pipe, spiral! heavy-weight drillpipe (HWDP) , drill collars, spiral
                                      drill collars, pony collars, monel drill collars, kellys, washpipe, and tubing.


                             9.3      "Mechanical tools" are defined as equipment with some moving parts, mechanical,
                                      hydraulic, etc, which are typically refurbished after runs in the hole. Mechanical I hydraulic
                                      tools shall include, but shall not be necessarily limited to, hydrauliC tongs, hydrauliC units,
                                      engines, running tools, test packers, perforation wash tools, filtration units, slip joints,
                                      drilling jars, fishing jars, test jars, bumper subs, shock subs, slickline flow control equipment
                                      including associated running I pulling tools, pumps, shakers, centrifuges, surface high
                                      pressure gauges I sensors, etc. Refurbishment for "mechanical tools" puts them in
                                      operational condition, but does not under any circumstance re-set reference date.




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                        9.4    "BOP Equipment" (BOPE) is defined as ram preventers, annular preventers, rotating
                               BOPE, high pressure (10,000 psi or greater) adjustable drilling chokes, drilling choke
                               manifolds and associated valves.


                        9.5    "Surface test equipment" is defined as separators, testing manifolds and associated valves,
                               surface test trees, flare booms, H2S scrubbers and other well test specific equipment.


                        9.6    "Standard logging / directional and other tools' are defined as equipment which are used in
                               base logging packages and standard directional programs and mutually agreed with
                               COMPANY. Standard logging / directional packages shall include, but shall not be
                               necessarily limited to, computer systems, sonic, resistivity, and conductivity sondes,
                               percussion core guns, cement bond log tools, cased hole logging tools, downhole
                               electronic pressure gauges, mills, PDM motors, turbines, thrusters, and subsea test trees.
                               Any other equipment classified as "Standard logging / directional and other tools" shall be
                               mutually agreed during LlHC negotiations.


                        9.7    "Hi tech I intelligent tools" are defined as instrumented downhole equipment which typically
                               undergoes thorough shop analysis and refurbishment after each run and shall be mutually
                               agreed with COMPANY. Hi Tech / Intelligent tools shall include MWD, LWD, wireline rotary
                               core tools, formation testing tools, specialty logging tools, 3D seismic tools, advanced
                               imaging tools, rotary steerable systems, and intelligent downhole testing tools. Any other
                               equipment classified as "Hi tech I intelligent tool" shall be mutually agreed during LlHC
                               neg otiations.


                        9.8    "Reference Date" shall mean the date depreciation commences. Where applicable, for a
                               reference date to be rolled forward from original purchase to a refurbishment,
                               CONTRACTOR if requested will provide detailed specific tool refurbishment and QA/QC
                               documentation and will ensure documentation is retained for audit in event of lost
                               equipment. If documentation is not available as stated or is deemed inadequate by
                               COMPANY, original purchase date or date of manufacture will be deemed the effective
                               Reference Date. Specifically for BOP equipment, the BOP Reference Date will be the
                               initial new equipment purchase date from original equipment manufacturer (OEM) where
                               100% of original purchase price will be used for calculations. I n the event that BOP is
                               refurbished and re-certified by a reputable third party, the Reference Date will be moved
                               forward to re-certification date, but value calculations will start at 80% of replacement cost.


                        9.9    "Initial Service I Purchase" is defined as the date of manufacture by CONTRACTOR or the
                               date of initial purchase of equipment. It is recognized that some equipment may have been
                               previously owned, so Reference Date goes back to origin.


                        9.10   "Refurbishment" shall be defined as the activity where CONTRACTOR tools have
                               undergone a complete overhaul at the component level. This refurbishment will have
                               materially extended the available service life of the tool. Normal maintenance on dumb iron
                               or mechanical tools which is required to put the equipment in operating condition does not
                               constitute refurbishment.


                        9.11   "Rental bits LlH price" will be the replacement price subject to initial condition and specific
                               wear and tear reductions as specifically set forth in the WORK ORDER.



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                                                       Section 4 - Remuneration
                                             Appendix 3 - Sub-Sector Terms and Conditions
                                                         A. Cementing Services



                              Appendix 3 - SUb-Sector Terms and Conditions
                                                        A. Cementing Services

                 1.0    GENERAL

                        1.1   Unless specifically stated otherwise, the rates included herein are fully inclusive and shall
                              constitute full and complete compensation to CONTRACTOR in executing any WORK
                              ORDER or CHANGE ORDER.


                        1.2   CONTRACTOR agrees to suspend rental and operating charges for all rental equipment and
                              personnel following a CONTRACTOR tool failure that disrupts operation for more than thirty
                              minutes.


                        1.3   In the event that through the fault of CONTRACTOR, CONTRACTOR has insufficient
                              personnel and/or equipment to commence, or complete any operation, a zero rate shall apply
                              for eq uipment and personnel for the period of delay.


                 2.0    FIXED RATE

                        2.1   Subject to Clause 3.0 below and Clause 3.0, Section 4 - General Terms and Conditions, the
                              rates and charges specified in Appendix 4 to Section 4 shall remain firm and fixed for twelve
                              (12) months from the EFFECTIVE DATE of the CONTRACT.


                        2.2   Subject to Clause 3.0 below and Clause 3.0, Section 4 - General Terms and Conditions,
                              should COMPANY exercise its option to extend the CONTRACT beyond the initial three (3)
                              year term, the PARTIES shall mutually agree rates and charges for the duration of the
                              Extension Period.


                 3.0    VARIABLE RATE

                        3.1   The initial Bulk Cement prices shall be fixed for a period of one (1) year from the EFFECTIVE
                              DATE, and shall be reviewed sixty (60) days prior to the end of the one year period (Review
                              Date). Prices will be determined by the incremental increase or decrease in relation to the
                              ratio of the Cementing PPI Index given by the United States Bureau of Labor Statistics for the
                              average of the three (3) months preceding the Review Date. This average of the three (3)
                              preceding months is referred to as the "PPI Index New." The NEW PRICE to be paid for Bulk
                              Cement for the next year is the INITIAL PRICE multiplied by the ratio of the PPI Index New to
                              the PPI Index in effect as of the date of CONTRACT execution, referred to as "PPI Index
                              Initial." The new pricing shall become effective on the anniversary of the EFFECTIVE DATE.
                              Bulk Cement prices will be reviewed and adjusted according to the following formula:

                              NEW PRICE    =INITIAL PRICE x (PPI Index New I PPI Index Initial)

                        3.2   With each subsequent year, the same review and recalculation of the Bulk Cement prices
                              shall be performed sixty (60) days prior to the EFFECTIVE DATE anniversary.




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                                                         A. Cementing Services



                 4.0    CONSUMABLES

                        4.1 Terms and Conditions related to Consumables

                              4.1.1    COMPANY reserves the right to purchase all consumable items under a Call-Off
                                       Purchase Order.

                              4.1.2    Unit Prices - COMPANY shall reimburse CONTRACTOR for the unit prices listed in
                                       Schedule of Rates and Charges- Consumables." The prices contained herein are
                                       inclusive of packaging, installation, and required back-up costs. Prices shall include
                                       transportation to the nearest service base for the particular region for which the price
                                       is being provided.

                                       (a) Offshore - All unit prices should be FOB COMPANY's designated supply base.

                              4.1 .3   Third Party Consumables - CONTRACTORs that desire to use a Third Party to
                                       provide consumables should advise COMPANY and identify their consumables
                                       supplier.

                              4.1.4    Consignment Basis - All consumable items, including but not limited to cement
                                       retainers, bridge plugs, and associated equipment, shall be provided on a
                                       consignment basis. No equipment shall be consigned to COMPANY for longer than
                                       45 days from date of arrival at WORKSITE. For equipment that is invoiced due to
                                       exceeding the 45 days and is subsequently returned to CONTRACTOR, no re-
                                       stocking or similar charges shall apply if goods are received in a condition that
                                       COMPANY is prepared to use on a future well. COMPANY shall be invoiced for
                                       items consumed within the operation.


                 5.0    CEMENT ADDITIVES

                        5.1 Terms and Conditions related to "Sub-Sector Terms and Conditions- Cement Additives"

                              5.1.1    COMPANY reserves the right to purchase all Cement Additives under a Call-Off
                                       Purchase Order.

                              5.1.2    Unit Prices - COMPANY shall reimburse CONTRACTOR for the unit prices listed in
                                       the "Sub-Sector Terms and Conditions- Cement Additives". The prices contained
                                       herein are inclusive of packaging.    Unit price should include the following
                                       transportation:

                                       (a) Offshore - All unit prices should be FOB COMPANY's designated supply base.

                              5.1.3    Disposal of Waste - \I\i11ere a product has been dry blended into a bulk product and
                                       the excess blend deemed to be unusable, disposal will be charged at documented
                                       costs and chemicals invoiced as if they had been used on the well.

                              5.1.4    Pricing for Non-Standard Blends - Materials may be duplicated in the bulk
                                       schedules; however, this is to enable preparation of special blends not covered
                                       within the bulk schedules. Non-standard blends will be agreed and approved by
                                       COMPANY.

                              5.1.5    Restocking - Where products are supplied to the rig, in liquid or solid form, and the
                                       sacks or drums are unopened, the product will be restocked with no associated




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                                      restocking charge. Opened and partially used sacks I drums will be invoiced as if
                                      material used during execution of the job.

                              5.1.6   Bulk Liquid Additives - Where the product has been supplied in bulk via tote tank
                                      and more than 10% of the tote tank volume remains it shall be QA/QC tested and
                                      restocked or held for supply for another COMPANY operation.

                              5.1.7   Consignment Basis - All additives shall be provided on a consignment basis. No
                                      additives shall be consigned to COMPANY for longer than 45 days from date of
                                      arrival at WORKSITE. For additives that are invoiced due to exceeding the 45 days
                                      and are subsequently returned to CONTRACTOR, no re-stocking or similar charges
                                      shall apply if goods are received in a condition that COMPANY is prepared to use on
                                      a future well. COMPANY shall be invoiced for items consumed within the operation.


                 6.0    BULKS

                        6.1 Terms and Conditions related to Bulks

                              6.1.1   Unit Prices - COMPANY shall reimburse CONTRACTOR for the unit prices listed in
                                      "Schedule of Rates and Charges - Bulks". The prices contained herein are inclusive
                                      of packaging. Pricing is to be based on the unit prescribed, sacks (94 Ib sacks) or
                                      short tons (2000 Ib) as detailed in each line item. For bulks provided in sacks the
                                      prices are to be inclusive of palletization, shrink wrapping, and banding. Unit price
                                      should include the following transportation:

                                      (a) Offshore - All unit prices should be FOB COMPANY's designated supply base.


                              6.1.2   Cement Specifications - Cement types are not required to carry the API Monogram;
                                      however, evidence of compliance with the relevant technical specifications must be
                                      available to COMPANY on request. Where cement has been supplied as complying
                                      with an ASTM specification, evidence of compliance will be made available to
                                      COMPANY on request.


                              6.1.3   Bulk Supplier - For each bulk item, CONTRACTOR will only change source with
                                      prior approval of COMPANY.


                              6.1.4   Restocking - All unused sacked material in reusable condition shall be returned to
                                      CONTRACTOR. No associated restocking charge shall be applied. Opened and
                                      partially used sacks I drums will be invoiced as if material was completely used
                                      during execution of the job.


                 7.0    RENTALS

                        7.1 Terms and Conditions related to "Schedule of Rates and Charges- Rentals"

                              7.1.1   Pricing Requirements - COMPANY shall reimburse CONTRACTOR for the unit
                                      rates listed in the "Schedule of Rates and Charges - Rentals," as per Scope for
                                      Work including all necessary pipe work / hoses I gauges I safety equipment for
                                      primary and remedial cementing.




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                             7.1.2    Cement Heads - Surface cement heads will include any manifolds and pipe work
                                      required to operate the system.

                             7.1.3    Sub-Sea Cement Plugs - There will be no charge for rental of plug containers for
                                      preloading of sub-sea cementing plugs.

                             7.1.4    Squeeze Packers - Where a squeeze packer is supplied, the rate (daily, for 6 hour
                                      minimum rental, or hourly) will include packer with circulating subs, storm valves,
                                      safety joints and surface control valves and recommended spare parts. Proposed
                                      rate shall be all inclusive and no additional charges are to be made.

                             7.1.5    Offshore Cementing - CONTRACTOR shall propose a single operating day rate for
                                      a complete system that includes one cementing supervisor and all necessary
                                      treating iron and valves, plug containers, etc. This rate shall apply regardless of
                                      whether the unit is pumping CONTRACTOR cement products or Third Party cement
                                      products. Day rate will include all pumping services, including but not limited to,
                                      cementing, BOP testing, miscellaneous pumping, circulation of well, any pressure,
                                      any rate, any depth, and any temperature,

                                     (a) New Installations - For new installations CONTRACTOR will review the technical
                                         requirements in Section 3 - Scope of Work and the relevant WORK ORDER,
                                         prepare a proposal, and obtain approval from COMPANY,

                                     (b) Pride PS-2 Cementing Unit - CONTRACTOR, at no cost or liability to COMPANY
                                         will ensure that the cementing unit for the new build Pride PS-2 ("Unit") will be
                                         delivered to Geoje Island, Korea - Samsung Heavy Industries Shipyard
                                         ("Shipyard"!, on or before August 12, 2009 ("Delivery Date"). COMPANY shall
                                         provide CONTRACTOR with all reasonable assistance with respect to the initial
                                         mobilization and installation of the Unit onboard the rig including provision of
                                         reasonable assistance at the Shipyard. Such assistance shall include access to
                                         craneage, labor, power, water, air, certified lifting facilities, etc. to aid in the
                                         installation of the unit. The operating day rate as specified in Section 4, Appendix
                                         4, Schedule of Rates and Charges, is for a complete system including the
                                         cementing supervisor,

                                         This operating day rate shall commence once the rig has been mobilized to the
                                         Gulf of Mexico and accepted by COMPANY, the Cementing Supervisor is
                                         aboard, and the unit is in all respects ready to commence operations. This unit
                                         must be manned with a qualified cement operator available on a 24-hour basis.
                                         This unit must include all necessary treating iron and valves, plug containers, etc.
                                         This per day basis must be all inclusive of all pumping services of any kind
                                         (cementing, BOP testing, miscellaneous pumping, circulation of well, any
                                         pressure, any rate, any depth, and any temperature). The cementing unit and
                                         iron must have a minimum, but not limited to 15K psi rating. Once operations
                                         commence, CONTRACTOR per day price will be acceptable only during times
                                         when CONTRACTOR personnel man the cement unit on the rig, Paid time for
                                         unit will commence when cement operator reaches COMPANY's dock and will
                                         cease when cement operator returns to COMPANY's dock.

                                     (c) Mobile Equipment - Mobile equipment rates shall be based on daily rental from
                                         point of receipt at COMPANY nominated supply base until it is returned to the
                                         same point.

                                     (d) Day Rate - For purposes of rental rates a day rate shall comprise a consecutive
                                         24 hour period unless specified otherwise in the CONTRACT.



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                 8.0    PERSONNEL

                        8.1 Terms and Conditions related to "Schedule of Rates and Charges - Personnel"

                              8.1.1   Personnel charges are as specified in "Schedule of Rates and Charges - Personnel

                              8.1.2   Onshore Personnel

                                      (a) Personnel onshore hourly rates start when the person departs from the
                                          nominated service center/overnight accommodation until they return to the same
                                          point or arrive at the overnight accommodation.

                                      (b) Onshore day rates will consist of any twelve hours within a 24 hour day.

                              8.1.3   Offshore Personnel - Offshore personnel day rate applies to personnel on location
                                      for a consecutive 24 hour period.


                 9.0    LOCATION INFORMATION

                        9.1 All unit prices and rates shall be FOB Fouchon, LA.             CONTRACTOR must include
                              transportation to Fouchon for all prices and rates.




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                                                          B. Fluids Services


                 1.0    GENERAL

                        1.1   CONTRACTOR's job tickets approved by COMPANY shall be used to define all events and
                              timing for the definition and application of the appropriate rates associated with this
                              CONTRACT In event of disagreement, IADC drilling records, where available, and other
                              applicable documents will be reviewed to reach mutual agreement.


                        1.2   COMPANY will reimburse CONTRACTOR for:

                                 •   Chemicals, fluids and equipment used in the performance of the WORK
                                 •   The following personnel: lead mud engineer, mud engineer, PFM compliance
                                     engineer, completion engineer, solids control equipment supervisor and operator if
                                     required by COMPANY
                                 •   Project Engineers at COMPANY office, if required.


                        1.3   In addition to Section 4, Clause 1.1 (not Clause 1.1 of this Appendix) and for the purpose of
                              clarification, CONTRACTOR's rates for reimbursement of the above chemicals, equipment
                              and personnel are deemed to be inclusive of the provision of the following:

                                 •   Project Coordinator
                                 •   Maintenance and repair personnel for CONTRACTOR's equipment
                                 •   Costs incurred with respect to testing of equipment, warehousing and transportation
                                     of chemicals.
                                 •   Electronic and hard copies of reports as detailed in Section 3
                                 •   Regulatory approval for importation of chemicals and equipment as required.
                                 •   Personnel training as required in Section 3


                        1.4   As regards charges associated with Section 3 (Scope of Work) Appendix 5, Clause 8.6, all
                              cost and charges of any kind shall be for CONTRACTOR's account.


                 2.0    CHARGE RATES

                        2.1   Further to Section 4, Clause 3.12.1, any introduction of new technology shall include a
                              specific definition of the "success criteria" to be agreed by COMPANY and CONTRACTOR
                              before the implementation of new technology.


                        2.2   The standby charge for equipment called out shall commence and apply from when the
                              equipment is delivered to COMPANY's supply base or WORKSITE, until the time of its
                              arrival back at COMPANY's supply base or WORKSITE (or other mutually agreed location)
                              except when the equipment operating charge shall apply.


                        2.3   Equipment operating charges shall apply when equipment is on the WORKSITE, is fully
                              functional, and is being used in performance of the WORK.




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                              Equipment and personnel standby charges shall be 50% of the operating rate as specified in
                              the Schedule of Rates and Charges.


                        2.4   The prices are to be inclusive of palletization, shrink wrapping, and banding. Any unused
                              chemicals may be returned to CONTRACTOR without any handling, re-stocking, or similar
                              charges if the chemicals are returned in a saleable condition.


                 3.0    ADDITIONAL REQUIREMENTS

                        3.1   Bulk Barite and bulk Bentonite transferred to COMPANY's provided transportation is to be
                              through certified calibrated tanks. The transfer tank should be set on weight scales with a
                              print out. The print out signed by COMPANY Representative will form the basis of invoicing.


                        3.2   CONTRACTOR shall have all tanks to I from which volumes are pumped from ! to
                              COMPANY's supply vessels, calibrated, and certified as such with charts available at
                              CONTRACTOR's WORKSITE.


                        3.3   Where CONTRACTOR supplies synthetic, diesel, or mineral low toxicity base oil to
                              COMPANY, CONTRACTOR will be expected to take back for credit any synthetic, diesel, or
                              low toxicity mineral base oil back-loaded from the rig or supply vessel provided that it was
                              supplied by CONTRACTOR.


                        3.4   Reconditioning of the mud at the WORKSITE is recommended where all products and
                              materials are available and COMPANY will be billed for such quantities to acquire the mud
                              specification.


                        3.5   The initial Diesel Base Oil and Diesel Base Mud prices shall be fixed for the first quarter from
                              the EFFECTIVE DATE, and shall be reviewed every quarter thereafter. Said review shall
                              commence thirty (30) days prior to the end of the then current quarter period (Review Date).
                              Prices will be determined by the incremental increase or decrease in relation to the ranges of
                              the West Texas Intermediate Crude Price Index (WTICPI) for the average of three (3) months
                              preceding the Review Date. This average of three (3) preceding months of the WTICPI rate
                              is then applied to the Table for Diesel Base Oil and Diesel Based Mud found in the Schedule
                              of Rates and Charges. The price of Diesel Base Oil and Diesel Base Mud on the
                              EFFECTIVE DATE of the CONTRACT shall be established based upon the closing WTICPI
                              on the EFFECTIVE DATE of the CONTRACT.


                        3.6   The initial Low Toxicity Mineral Oil and Low Toxicity Mineral Base Mud prices shall be fixed
                              for the first quarter from the EFFECTIVE DATE, and shall be reviewed every quarter
                              thereafter. Said review shall commence thirty (30) days prior to the end of the then current
                              quarter period (Review Date). Prices will be determined by the incremental increase or
                              decrease in relation to the ranges of the West Texas Intermediate Crude Price Index
                              (WTICPI) for the average of three (3) months preceding the Review Date. This average of
                              three (3) preceding months of the WTICPI rate is then applied to the Table for Diesel Base
                              Oil and Diesel Based Mud found in the Schedule of Rates and Charges. The price of Low
                              Toxicity Mineral Oil and Low Toxicity Mineral Base Mud on the EFFECTIVE DATE of the
                              CONTRACT shall be established based upon the closing WTICPI on the EFFECTIVE DATE
                              of the CONTRACT.



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                        3.7   The initial Synthetic Base Oil and Synthetic Base Mud prices shall be fixed for the first six (6)
                              months from the EFFECTIVE DATE, and shall be reviewed every six (6) months thereafter.
                              Said review shall commence thirty (30) days prior to the end of the then current period
                              (Review Date). Prices will be determined by the incremental increase or decrease in relation
                              to the ranges of the West Texas Intermediate Crude Price Index (WTICPI) for the average of
                              six (6) months preceding the Review Date. This average of six (6) preceding months of the
                              WTICPI rate is then applied to the Table for Diesel Base Oil and Diesel Based Mud found in
                              the Schedule of Rates and Charges. The price of Synthetic Base Oil and Synthetic Base Mud
                              on the EFFECTIVE DATE of the CONTRACT shall be established based upon the closing
                              WTICPI on the EFFECTIVE DATE of the CONTRACT.


                        3.8   The initial Bulk Barite 4.2 specific gravity prices, in cost per sack, and cost per ton, shall be
                              fixed for a period of one (1) year from the EFFECTIVE DATE, and shall be reviewed thirty
                              (30) days prior to the end of the one (1) year period (Review Date). Prices will be determined
                              by the incremental increase or decrease in relation to the ranges of the West Texas
                              Intermediate Crude Price Index (WTICPI) for the average of twelve (12) months preceding
                              the Review Date. This average of twelve (12) preceding months of the WTICPI rate is then
                              applied to the Table for Diesel Base Oil and Diesel Based Mud found in the Schedule of
                              Rates and Charges. The price of Bulk Barite on the EFFECTIVE DATE of the CONTRACT
                              shall be established based upon the closing WTICPI on the EFFECTIVE DATE of the
                              CONTRACT.


                        3.9   Bromides shall be provided on a unit rate basis that shall be all inclusive, including, but not
                              limited to, all management, administrative, direct and indirect manufacturing services, quality
                              control and assurance services, transportation, labor costs, taxes, government regulations,
                              and all consumables.

                              Bromide prices shall be fixed for a period of six months from the EFFECTIVE DATE, and
                              shall be reviewed 30 days prior to the end of the six (6) month period. Prices will be
                              determined by the incremental increase or decrease of the elements found in the Schedule of
                              Rates and Charges. The price of Bromides on the EFFECTIVE DATE of the CONTRACT
                              shall be those prices provided in the Schedule of Rates and Charges for said Bromides.
                              CONTRACTOR shall provide the percentage relationship of all elements contributing to the
                              cost structure of bromides.


                 4.0    REGIONAL SPECIFIC REQUIREMENTS

                        4.1   Gulf of Mexico Specific Remuneration Requirements

                                4.1.1   Drilling Fluids

                                        (a)    Reconditioning of returned synthetic invert emulsion mud may be required at
                                               CONTRACTOR's shore base. Where such reconditioning is carried out, it
                                               will only be completed after agreement by COMPANY. There will be no
                                               charge made for the reconditioning process including centrifugation and
                                               personnel requirements. The chemical cost shall be in accordance with the
                                               Schedule of Rates and Charges. Waste produced from the reconditioning
                                               will be disposed of by CONTRACTOR in accordance with all applicable
                                               regulations and good practice at no cost to COMPANY.




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                                       (b)     Where synthetic oil based mud is contaminated by well-bore hydrocarbons
                                               the maximum percentage contamination level will be one percent (1.0%) for
                                               Gulf of Mexico by volume.

                                       (c)     Contaminated fluid shall be credited as low toxicity mineral oil based mud.
                                               Contaminated fluid is determined by both COMPANY and CONTRACTOR as
                                               being fluid which cannot be reconditioned.

                                       (d)     Synthetic Based Mud ("SBM") supplied to COMPANY shall be invoiced as
                                               follows:

                                               (i)      SBM supplied to COMPANY at one price for all mud weights ranging
                                                        from 8.0 to 17.0 ppg, with ranges of the Synthetic Water Ratios (SWR)
                                                        from 70:30 to 90:10.

                                               (ii)     Invoices shall be prepared by interval, unless otherwise agreed in
                                                        writing by the PARTIES.


                                       (e)     Mud Loss Calculations - End of Well

                                               CONTRACTOR shall charge for total end of well down hole mud losses as a
                                               result of lost circulation. End of well down-hole mud loss calculations are
                                               performance based which include potential for bonus payments being made
                                               to CONTRACTOR for superior performance in minimizing down-hole mud
                                               losses.

                                               There is to be no bonus nor reduction in invoice should CONTRACTOR
                                               execute operations within the normal or expected range of mud losses.

                                               In the event there are losses which exceed normal or expected levels, there
                                               shall be a discount applied to the charges for the fluids lost in excess of the
                                               normal range.

                                               The following tables set forth the mechanism for the calculation of the
                                               charges to be paid CONTRACTOR in relation to mud losses for the first year
                                               of the CONTRACT and which shall be subject to reevaluation of the loss
                                               ranges and bonus J reduction on the anniversary of the CONTRACT.


                               SIDE TRACK WELL
                                  Losses   :::; 500 bbl           501 - 1,000 bbl      1,001 - 3,000 bbl      ~ 3,001 BBL


                                  Bonus or            $20,000      No bonus no          10% reduction        15% reduction
                                  Reduction            Bonus        reduction

                               DEVELOPMENT WELL
                                 Losses    :::; 1,000            1,001 - 2,000 BBL    2,001- 4,000 BBL        ;::: 4.001 BBL
                                                BBL
                                Bonus or  $30.000                  No bonus no          10% reduction        15% reduction
                                Reduction    Bonus                  reduction

                               EXPLORATION WELL
                              I  Losses       I : :;
                                            3,000               I 3,001 - 5,000 BBL I 5,001 - 7,000 BBL       ~ 7,001 BBL




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                                                   BBl
                                 Bonus or        $50,000        No bonus no           10% reduction          15% reduction
                                 Reduction        Bonus          reduction


                                 Using a Development Well as an example, the following cases would apply with the
                                 following assumptions:

                                              Assume:      Cost of SBM = $1 OO/bbl          Cost of base oil =$1/gal

                                              Case 1:    800 bbls lost down hole to the formation. A bonus of $30,000 will
                                                         be paid at the end of the well.

                                              Case 2:    1,500 bbls lost down hole to the formation, no bonus, no reduction
                                                         at the end of the well.

                                              Case 3:    4,000 bbls lost down hole to the formation, a reduction in the
                                                         invoice will be applied at the end of the well for $20,000.

                                              (2,000 bbls x -0.10 x 100) =-$20,000

                                              Case 4:    6,000 bbls lost down hole to the formation, a reduction in the
                                                         invoice will be applied at the end of the well for $50,000.

                                                  (2,000 bbls x -0.10 x 100) + (2,000 bbls x -0.15 x 100) = -$50,000

                                       (1)    All handling, mixing, rental, and consignment fees are included in the price.

                                       (g)    Drilling fluid returned to CONTRACTOR's base will be reconditioned back to
                                              the equivalent synthetic water ratio (SWR) specification. The only charge for
                                              this reconditioning will be the cost of the synthetic base fluid required to
                                              achieve the original volume. If drilling fluid returned contains more base oil
                                              than the original composition an equivalent credit will be issued by
                                              CONTRACTOR.

                                              Example:

                                              Assume       Cost of SBM = $100/bbl           Cost of base oil = $1.00/gal

                                              1000 bbl of SBM @ 10.6 ppg and 70/30 SWR was sent to rig. At the end of
                                              a given interval, 500 bbl @ 15.6 ppg and 75/25 SWR was returned to
                                              CONTRACTOR'S base

                                              Cost of Mud Consumed:        500 bbl x $1 OO/bbl   =$50,000
                                              Cost to Recondition Mud:

                                              500 bbls of original mud @ 10.6 ppg with 70/30 SWR contains 293 bbls base
                                              oil. 500 bbls of returned mud @ 15.6 ppg and 75/25 SWR contains 246 bbls
                                              base oil, therefore,

                                              293 - 246 = 47 bbl base oil is required to recondition back to the original
                                              formulation, therefore,

                                              Reconditioning Charge:



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                                              47 bbl base oil x 42 gal/bbl x $1.00/gal = $ 1,974

                                              TOTAL COST for interval = $50,000 + $1974 = $51,974

                                       (h)    Liquid Water Based Mud ("WBM") mixed in CONTRACTOR's plant shall be
                                              priced as the cost of the products used in the mix to meet COMPANY
                                              specifications plus a mixing charge of $5.00/bbl.

                                       (i)    COMPANY reserves the right to audit the laboratory analysis and retort
                                              measurements. After COMPANY approves audit results, COMPANY will
                                              sign off on the supporting documentation. If drilling fluid is returned as per
                                              Clause 4.2.1 (g) herein above, any associated charge for reconditioning shall
                                              be attached to a job ticket for payment.

                               4.1.2   Completion Fluids

                                       (a)    Unused base fluids that are transported in approved above deck tanks can
                                              be returned and no restocking charge will be assessed. Fluids included in
                                              this provision are: un-weighted hydrate inhibited systems, Calcium Chloride,
                                              Calcium Chloride/Calcium Bromide, and Zinc Bromide.

                                       (b)    CONTRACTOR will credit back from COMPANY, the net volume of fluid
                                              returned after any applicable reclamation procedures at the density of
                                              reclaimed fluid. There is a flat $5.00 per barrel reclamation charge for heavy
                                              brines and un-weighted hydrate inhibitor systems which includes products,
                                              cartridges, D.E. material, etc.

                               4.1.3   Waste Management

                                       CONTRACTOR will provide the daily operation cost as well as monthly operational
                                       cost for all the equipment required to comply with the oil on cuttings requirements
                                       for the area.




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                 1.0    GENERAL

                        1.1   Rates and charges contained herein shall be deemed to include but not be limited to the
                              following:

                              1.1.1   All of CONTRACTOR's overhead costs including corporate, departmental and yard
                                      overheads, finance charges on capital employed, office rents, rates, taxes, all
                                      royalties, licenses, fees, insurances, all travel, all power and lighting, telephone,
                                      facsimile, telex, office equipment and supplies, postage, courier services,
                                      reprographics, computer usage and associated consumables, maintenance and
                                      cleaning and all other overhead costs not specifically identified elsewhere;

                              1.1.2   The provision of all equipment required for the WORK;

                              1.1.3   The provision of all direct, indirect, productive and non-productive labor, supervision
                                      and management;

                              1.1.4   The procurement, expediting, purchase and documentation of all material necessary
                                      for the WORK other than COMPANY provided items;

                              1.1.5   All costs associated with taking delivery of COMPANY provided items;

                              1.1.6   Provision of all necessary support services and             facilities   for COMPANY
                                      representative and CONTRACTOR representatives;

                              1.1.7   The requirements of any Regulatory Body relevant to the WORK;

                              1.1.8   CONTRACTOR's profit.

                        1.2   CONTRACTOR's post-job tickets approved by COMPANY shall be used to establish all
                              events and timings for the definition and application of the appropriate rates associated with
                              this CONTRACT. In event of disagreement, IADC drilling records, where available, and other
                              applicable documents will be reviewed to reach mutual agreement.

                        1.3   The total amount payable for the WORK against the Schedule of Rates and Charges
                              constitutes the CONTRACT PRICE. No claim or submission for additional monies will be
                              accepted by COMPANY for failure to price an item identifiable from the Scope of Work or
                              other CONTRACT documents but not specifically identified herein, or for any item which
                              proves to be required for the safe and proper performance ofthe WORK.

                        1.4   Where any item is not included in the Schedule of Rates and Charges, then the cost of
                              providing or complying with such item shall be deemed to have been included within the rates
                              and charges entered elsewhere herein.

                        1.5   During the term of the CONTRACT new rates may be required for unforeseen items. Rates
                              for these unforeseen items, and even for rate amendments, shall be determined and agreed
                              on the same basis as existing rates, i.e., on a fully transparent basis. Any and all
                              amendments to the prices, terms or conditions contained in the CONTRACT or for any
                              additional services requested shall only made with the prior formal approval of COMPANY
                              REPRESENTATIVE as set out in Section 2. Any amendments or additions to prices shall not
                              be valid unless such approval has been obtained and duly executed.



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                        1.6   COMPANY may, at its sole discretion, elect to separately source Data Transmission
                              Services, Mud Logging and Surveying Services, at any time. Irrespective of COMPANY's
                              decision in this matter, none of the rights and obligations, rates and charges of the agreement
                              arising under the terms of the CONTRACT shall be affected.


                 2.0    MOBILIZATION AND DEMOBILIZATION

                        2.1   For the avoidance of doubt, this Clause 2 of Appendix 3 to Section 4 Remuneration replaces
                              Clause 2 of Section 4 in its entirety.


                        2.2   CONTRACTOR shall be responsible for the mobilization and demobilization of its personnel,
                              equipment, and material to, from, and within the WORKSITE or COMPANY designated
                              heliport or supply base and will be to CONTRACTOR's account. The pOints of mobilization
                              and demobilization for the Gulf of Mexico Strategic Performance Unit, hereinafter referred to
                              as SPU, is Fourchon, LA or Galveston, TX.


                        2.3   The following are exceptions to Clause 2.2:


                                      (a) CONTRACTOR shall be responsible for obtaining all the necessary visas,
                                          customs clearances, or other government authorizations required for moving its
                                          personnel and equipment into and out of the country having jurisdiction over the
                                          operating area. COMPANY will nonetheless give assistance to CONTRACTOR,
                                          if so requested, to the extent reasonably necessary with regard to the obtaining
                                          of visas, travel permits, import assistance, or other governmental authorizations
                                          required for moving its personnel and equipment into and out of the country
                                          having jurisdiction over the operating area.

                                      (b) If applicable, in the event the equipment or personnel are demobilized to a
                                          location closer than the originally intended Point of Demobilization in order to
                                          perform work for another company or for reasons of CONTRACTOR's own
                                          convenience, any demobilization fee will be reduced in an amount
                                          commensurate with the resulting reduction in CONTRACTOR's demobilization
                                          costs.

                                      (c) COMPANY shall not pay transportation charges and fees for replacement
                                          equipment due to those CONTRACTOR failures deemed as operated within
                                          CONTRACTOR specifications as documented in the Schedule of Rates and
                                          Charges or CONTRACTOR's published specifications, whichever is superior. If
                                          CONTRACTOR utilizes COMPANY provided transportation dedicated to the
                                          mobilization of the replacement equipment, then CONTRACTOR shall reimburse
                                          COMPANY for all charges and fees.

                                      (d) COMPANY shall provide air transportation for medical evacuation of
                                          CONTRACTOR's personnel from COMPANY's WORKSITES. The cost of air
                                          transportation shall be borne by the parties in accordance with Section 2 -
                                          General Conditions of Contract, Clause 31.9.




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                                        (e) Where changes to Scope of Work or agreed delivery schedule by COMPANY are
                                            sufficient to require CONTRACTOR to execute additional mobilizations for a job,
                                            the cost for these additional mobilizations will be to COMPANY account.


                 3.0    PROVISION OF EQUIPMENT - APPLICATION OF RATES: GENERAL

                        3.1   General

                              3.1.1     Rates and charges herein for WORK shall be deemed to be fully inclusive of, but not
                                        limited to, End of Well Oatasets, all usual pre and post run inspections, tool set-up
                                        and preparation, accessories, spare parts, consumables, batteries, service tools, all
                                        thread types, thread protectors (even if not returned or damaged), ring gauges, cargo
                                        baskets and associated slings, rig up/down, environmental compliance, DOT
                                        charges, maintenance and repair charges, redresses, saver subs, crossover to string
                                        connectors, rotor catchers, rebuilds, testing, transportation (except as provided for in
                                        Clause 2 of this Appendix 3), sleeve breakers, and backup tools and equipment, but
                                        shall exclude the provision of personnel where separately identified herein.
                                        CONTRACTOR shall also be responsible for costs for Naturally Occurring
                                        Radioactive Material (NORM) Testing and testing for Hot Spots on Non-magnetic drill
                                        collars.

                              3.1.2     CONTRACTOR equipment specifications as documented in the Sub-Sector Terms
                                        and Conditions take precedence over CONTRACTOR's published specifications
                                        unless published specifications are superior.

                              3.1.3     Appendix 6, Technical and Functional Specification to Section 3, Scope of Work
                                        defines the minimum requirements for each level of service identified in the Schedule
                                        of Rates and Charges.

                              3.1.4     The base Rates for Rotary Steerable Services exclude MWD.

                              3.1.5     The Rates for the transmission of high resolution (memory quality) data through wired
                                        pipe is included in the Operating Rate of the associated down-hole equipment. No
                                        additional Rates for data transmission shall apply unless the wired pipe
                                        communication fails and the backup MWD telemetry provides real time down-hole
                                        data transmission.

                              3.1.6     If CONTRACTOR has only one class of 3-D Rotary Steerable Systems, then the
                                        service shall be placed in the 'Standard RSS' category in the Schedule of Rates and
                                        Charges.

                              3.1.7     Add-on charges as specified in the Schedule of Rates and Charges are incremental
                                        to the base data or equipment charges for such category.

                              3.1.8     A "Bottom Hole Assembly" or "BHA" is defined as the string of tools and associated
                                        down-hole equipment necessary to perform the specified work. scope.

                              3.1.9     A "Service Package" is defined as a specific collection/bundle of services, tools,
                                        equipment, and products/data sets as identified in the Schedule of Rates and
                                        Charges. Service Package rates mayor may not be the sum of individual line item
                                        rates identified in the Schedule of Rates and Charges. It is at COMPANY's discretion
                                        to use either the Service Package rate or individual item rates.




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                             3.1.10 "Normal Drilling Operations" is defined as when the drill bit is back at the same True
                                    Vertical Depth or Measured Depth, whichever is the deepest, and the BHA is making
                                    forward progress.

                             3.1.11   CONTRACTOR shall provide guidance to COMPANY to ensure the most efficient
                                      use of BHAs and Service Packages.

                             3.1.12 If COMPANY chooses to utilize a Service Package and requires incremental services
                                    above the base Service Package Rate, the appropriate line item rate for the
                                    additional service applies.

                             3.1.13 CONTRACTOR is responsible for ensuring that all equipment and services required
                                    for the WORK is delivered by land or sea freight to meet the agreed schedule. In the
                                    event that CONTRACTOR requires to air freight any equipment in order to meet the
                                    agreed schedule, such additional air freight costs shall be to CONTRACTOR's
                                    account.

                             3.1.14 No footage, pumping/circulating, shock, special depth, high temperature equipment,
                                    high pressure equipment, high flow rate, LCM content or concentration, inclination,
                                    water depth, sand content, barite, hematite, ilmenite, batteries, special elastomers,
                                    rotors, retrieval devices, stators, re-line, corrosive fluids, memory, telemetry rate, or
                                    other service surcharges of any kind shall apply unless specifically quoted in the
                                    Schedule of Rates and Charges.

                             3.1.15 High Pressure equipment Operating Rates apply when COMPANY requests
                                    CONTRACTOR to provide its High Pressure equipment service regardless of
                                    operating conditions.    If Standard Flow equipment is utilized in high pressure
                                    operating conditions, outside of specifications, then Clauses 3.3 and 3.4 apply. The
                                    High Pressure Operating Rate does not apply to Standard Equipment.

                             3.1.16 High Temperature equipment Operating Rates apply when COMPANY requests
                                    CONTRACTOR to provide its High Temperature equipment service regardless of
                                    operating conditions. If Standard Flow equipment is utilized in high temperature
                                    operating conditions, outside of specifications, then Clauses 3.3 and 3.4 apply. The
                                    High Temperature Operating Rate does not apply to Standard Equipment.

                             3.1.17 High Pressure-High Temperature hereinafter referred to as HPHT, equipment
                                    Operating Rates apply when COMPANY requests CONTRACTOR to provide its
                                    HPHT equipment service regardless of operating conditions. If Standard Flow
                                    equipment is utilized in HPHT operating conditions, outside of specifications, then
                                    Clauses 3.3 and 3.4 apply. The HPHT Operating Rate does not apply to Standard
                                    Equipment.

                             3.1.18 No minimum job or cancellation charges or rates of any kind shall apply for
                                    personnel, equipment, or services.

                             3.1.19 COMPANY reserves the right to provide its own or third party tools and equipment
                                    and make them part of CONTRACTOR's BHA. No surcharges whatsoever are
                                    applicable.

                             3.1.20 All the rates contained herein are inclusive of all transmission systems and/or
                                    transmission protocols, and pulsing frequency. No additional charges shall apply for
                                    these items or services apply unless specifically quoted in the Schedule of Rates and
                                    Charges.




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                             3.1.21   All real time processing and interpretation services including multi axis directional
                                      corrections, all borehole corrected measurements, all caliper corrections,
                                      compressional and shear processing are included with the Rates. No additional
                                      charges shall apply for correcting or processing directional survey, gamma ray,
                                      resistivity, neutron porosity, bulk density, Pe, sonic or any other MWD/LWD data
                                      unless specifically quoted in the Schedule of Rates and Charges.

                             3.1.22 In the event where a CONTRACTOR's Representative is not present on
                                    COMPANY's WORKSITE and the equipment is returned in a used condition
                                    CONTRACTOR can request a review of COMPANY's drilling reports covering the
                                    rental period of the equipment to qualify how the equipment has been run.

                             3.1.23 COMPANY shall request and pay rates for services that meet the specific functional
                                    requirement as defined in the Basis of Design or WORK ORDER, and shall not pay
                                    for additional or optional tool functionality provided by CONTRACTOR's equipment,
                                    which have not been specifically requested or subsequently used by COMPANY. For
                                    example, if CONTRACTOR provides a rotary steerable tool which has directional
                                    control, gamma, resistivity, and vibration measurement capabilities, where only the
                                    rotary steerable directional control services are requested, the gamma, reSistivity and
                                    vibration shall not be charged for by CONTRACTOR. In the event of Lost-in-Hole or
                                    Damaged Beyond Repair, COMPANY's liability shall only be for the functionality
                                    requested for the run. If CONTRACTOR's tools have multi-functional capability it is
                                    incumbent upon CONTRACTOR to advise COMPANY of said capabilities and to
                                    optimize the use of tools to meet the minimum service requirement.

                             3.1.24 For the avoidance of doubt, this Clause replaces Clause 3.11 in Section 4
                                    Remuneration. In the event that CONTRACTOR is unable to provide any part of the
                                    WORK for which CONTRACTOR has agreed to provide and for which there are
                                    agreed rates and/or charges contained herein CONTRACTOR is requested to source
                                    such part of the WORK from a third party, and have that selection approved in writing
                                    by COMPANY prior to use. In this case CONTRACTOR shall source equipment and
                                    services preferentially from companies that COMPANY has contracts with, and
                                    CONTRACTOR shall invoice COMPANY for such part of the WORK either as per
                                    Clause 4.0 of Section 4 or per the Schedule of Rates and Charges, whichever is the
                                    lesser. COMPANY shall also have the option to hire such third party equipment or
                                    services directly if it so wishes.

                             3.1.25 If COMPANY requests specific equipment or specialty tools outside the specified
                                    Scope of Work, CONTRACTOR shall endeavor to provide said equipment. Such
                                    services that are not identified within the Sub-Sector Terms and Conditions but which
                                    CONTRACTOR may wish or is requested to supply for performance of the WORK
                                    shall be provided under the same terms and conditions as contained within the
                                    CONTRACT. A duly executed WORK ORDER or CONTRACT amendment per
                                    Clause 1.5 of this Appendix 3 applies in such an instance.

                             3.1.26 Surveying Services - Application of Rates

                                      (a)   Application of Rates shall be per Clause 3.2, 3.3, and 3.4.

                                      (b)   The rates charged for these services shall include the costs for providing all
                                            equipment to run surveying instruments and equipment in any hole size should
                                            this service be required unless specifically quoted in the Schedule of Rates and
                                            Charges. Provision of labor will be per Clause 4 of this Appendix 3.




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                                      (c)   IN runs and OUT runs may both be required depending on the service.
                                            However, the footage charges, where applicable, shall apply in only one
                                            direction for the interval being surveyed.

                                      (d)   The rates specified shall only be payable for the provision of a successful well-
                                            bore survey. A well-bore survey shall be considered successful when it
                                            complies with the acceptable QAlQC, validation and delivery requirements
                                            established in JORPS and COMPANY's Directional Survey Handbook
                                            Document Number: BPA-D-004.

                                      (e)   The prices for electronic multi-shot surveys, e.g., EMS/ESS or gyro surveys,
                                            are with instruments run in tandem and include all surface equipment needed
                                            for the operation and processing excluding the respective monel drill collars in
                                            which the survey is to be taken unless specifically quoted in the Schedule of
                                            Rates and Charges.

                        3.2   Treatment of Standby Rates, Operating Rates, and Backup Tools

                              3.2.1   For marine operations, with prior COMPANY agreement to delivery schedule, the
                                      Standby Rates for equipment called out shall commence from when the equipment is
                                      delivered and accepted at COMPANY's point of mobilizationfdemobilization until the
                                      time of its arrival back at COMPANY's point of mobilization/demobilization (or other
                                      mutually agreed location), except when the equipment Operating Rate or Zero Rate
                                      applies. Standby Rates shall only apply when equipment is fully functional and
                                      certified in accordance with Section 3, Scope of Work.

                              3.2.2   For land operations, with prior COMPANY agreement to delivery schedule, the
                                      Standby Rates for equipment called out shall commence and apply from when the
                                      equipment is delivered and accepted at COMPANY's WORKSITE until the time of its
                                      departure except when the equipment Operating Rate or Zero Rate applies. Standby
                                      Rates shall only apply when equipment is fully functional and certified in accordance
                                      with Section 3 Scope of Work.

                              3.2.3   For the avoidance of doubt, this Clause replaces Clause 3.7 in Section 4
                                      Remuneration. Equipment Operating Rates shall apply when equipment is on the
                                      WORKSITE, is fully functional and certified in accordance with Section 3 Scope of
                                      Work and is below the rotary table in performance of the WORK, except for when
                                      Standby Rate and Zero Rate applies.

                              3.2.4   For the avoidance of doubt, this Clause replaces Clause 3.15 in Section 4
                                      Remuneration. All backup tools and equipment requested by COMPANY shall be
                                      compensated for separately from the Operating Rate.

                              3.2.5   CONTRACTOR shall be responsible for and shall ensure that adequate fully
                                      functional equipment to successfully execute the WORK shall be available at the
                                      WORKSITE. Generally COMPANY shall not specify the exact quantity or types of
                                      equipment to be used by way of equipment lists. In the event that COMPANY directs
                                      CONTRACTOR to provide more equipment than CONTRACTOR believes is required
                                      to successfully execute the WORK then CONTRACTOR shall advise COMPANY in
                                      writing prior to shipment of such equipment to the WORKSITE, specifying the
                                      additional equipment requested and requesting payment for such equipment, which,
                                      if agreed by COMPANY, shall be in accordance with CONTRACTOR's prices as
                                      incorporated within the Schedule of Rates and Charges. In the event that payment
                                      for such additional equipment is not requested and agreed in advance by
                                      COMPANY, then no additional equipment charge shall be applicable.



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                              3.2.6    All backup equipment provided by CONTRACTOR shall be a fully functional backup.
                                       A "fully functional backup" means that the backup tools must be fully operable and
                                       capable of performing the same tasks as the primary equipment. COMPANY
                                       reserves the right to select backup equipment with different technical and functional
                                       specifications.

                              3.2.7    If CONTRACTOR is unable to provide backup equipment of identical or superior
                                       technical and functional specifications, then only 50% of the Standby Rate of the
                                       backup equipment provided shall apply. If CONTRACTOR is able to provide backup
                                       equipment of superior technical and functional specifications, then only the Standby
                                       Rate of the primary equipment shall apply.

                              3.2.8    In the event that requested equipment is not available as scheduled, COMPANY
                                       shall be notified in a timely manner and prior to equipment leaving CONTRACTOR's
                                       base, so that alternative provisions can be made.

                              3.2.9    For marine operations, In the event that individual tools from a Service Package
                                       remain at the WORKSITE at COMPANY's request, but the other items constituting
                                       that Service Package are demobilized, then COMPANY shall compensate
                                       CONTRACTOR the full Service Package Standby Rate for the demobilized
                                       equipment until the time of its arrival at COMPANY's point of demobilization. After
                                       which, those items from the Service Package remaining at the WORKSITE shall be
                                       reimbursed as individual components in accordance with the Schedule of Rates and
                                       Charges.

                              3.2.10 This Clause intentionally left blank.

                              3.2.11   It is possible that several Service Packages or equipment may be run within the
                                       same hole section. The Operating Rate applicable shall be for the Service Package
                                       run in the hole. If the equipment run has reduced functionality than the Service
                                       Package available at the WORKSITE, then the individual equipment Operating and
                                       Standby Rates shall apply, unless this equipment cannot be run due to malfunction
                                       and/or failure, in which case a Zero Rate shall apply to the unused portion of the
                                       Service Package per Clause 3.3 and 3.4 of this Appendix 3.


                        3.3   Service Non-Compliance

                              3.3.1    For the avoidance of doubt, Clause 3.3 of this Appendix 3 to Section 4
                                       Remuneration replaces Clause 3.9 of Section 4 in its entirety.

                              3.3.2    CONTRACTOR shall suspend all rates and charges for all items below the rotary
                                       table, backup equipment, and surface equipment utilized in the operation following a
                                       CONTRACTOR equipment failure as per the conditions and circumstances as
                                       described in this Clause 3.3.

                              3.3.3    In the event of equipment failure, provided the equipment is used within
                                       CONTRACTOR's specifications or COMPANY was not given adequate notification
                                       that the equipment was being operated outside of specification, the following applies.

                                       (a)   If the failure necessitates a trip, all Operating Rates and Standby Rates for
                                             backup equipment will cease immediately and go to Zero Rate. A Zero Rate
                                             will apply until either the equipment is replaced or the equipment is deemed to
                                             have started working to the satisfaction of COMPANY while still in the hole and



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                                           Normal Drilling Operations have resumed, less time for rig repairs or other time
                                           as decided by COMPANY.

                                     (b)   Should COMPANY wish to conduct rig repairs or other items causing delay in
                                           tripping back into the hole, following a trip for failure attributable to
                                           CONTRACTOR, COMPANY shall pay the Standby Rate for the remaining fully
                                           functional components for the time of the delay.

                                     (c)   If COMPANY decides to drill ahead or circulate, then COMPANY shall pay
                                           CONTRACTOR for that part of the BHA or Service Package that is fully
                                           functional, i.e., Zero Rate shall be applicable for the components that have
                                           failed. The Operating Rate shall be reduced by the amount listed in Sub-
                                           Sector Terms and Conditions for the failed component(s).

                                     (d)   In the case of a real time failure of an MWD/LWD sensor, where the memory
                                           data is subsequently recovered at surface, payment shall be made for fit for
                                           purpose memory data, which is of comparable/superior quality to the real time
                                           data.

                             3.3.4   CONTRACTOR shall thoroughly investigate the service non-compliance and follow
                                     up as per Appendix 2, Lost-in-Hole Charges.

                             3.3.5   CONTRACTOR shall be responsible for charges associated with relogging due to
                                     missing or poor quality data from any tool malfunction unless failure was due to
                                     causes outside CONTRACTOR control. Charges for re-Iogging shall be limited to the
                                     full acquisition cost specified in CONTRACTOR's applicable Schedule of Rates and
                                     Charges for obtaining solely the information from the failed sensor for the interval of
                                     data missed or for the interval of poor quality data. Re-Iogging operations will be on
                                     either electric line or LWD and will be to CONTRACTOR's account. Where re-
                                     logging operations are conducted by Third Party electric line, tool pusher services
                                     shall not be for CONTRACTOR's account. Determination of the concession and all
                                     matters with regard to service non-compliance will be at the sole and final judgment
                                     of COMPANY

                             3.3.6   No charge, including Standby, shall be assessed for any item of equipment which
                                     fails surface functional tests and/or shallow hole tests or within twenty-four (24) hours
                                     of commencement of operations below the rotary table.

                             3.3.7   In the event of a sidetrack directly caused by the tool failure, the Zero Rate will apply
                                     until such time as Normal Drilling Operations has resumed. Inadvertent sidetracks
                                     due to poor subsurface conditions and not due to CONTRACTOR's negligence or
                                     CONTRACTOR tool failure will be excluded from this clause. Provided any of the
                                     aforementioned conditions exist then, charges may resume upon commencement of
                                     initiating drilling of the planned sidetrack.

                             3.3.8   CONTRACTOR is responsible for monitoring down-hole conditions to ensure
                                     equipment is not operated outside of CONTRACTOR's specifications.            If
                                     CONTRACTOR determines that equipment is operating outside of specifications,
                                     CONTRACTOR must notify COMPANY and take corrective action immediately, in
                                     concert with other Third Party Contractors. If CONTRACTOR equipment is damaged
                                     and it is determined that the equipment was operated outside of CONTRACTOR
                                     specifications, then COMPANY will reimburse CONTRACTOR for repair and
                                     maintenance charges provided that COMPANY:

                                     (a)   Was given adequate notification;



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                                       (b)   Was given a minimum of thirty (30) minutes from the time of notification to
                                             resolve the situation;

                                       (c)   Chooses to proceed against CONTRACTOR recommendations. Otherwise,
                                             CONTRACTOR will assume responsibility for all repair and maintenance
                                             charges that occur due to drilling at parameters acceptable to the on-site
                                             CONTRACTOR personnel.

                              3.3.9    In cases where CONTRACTOR claims the failure was caused by operating the
                                       equipment out of specification and Clause 3.3.8 of this Appendix 3 was complied
                                       with, then CONTRACTOR will comply with Appendix 2 Lost-in-Hole Charges.

                              3.3.10 Failures which occur at the end of long runs will not be subject to concession by
                                     CONTRACTOR unless COMPANY determines failure was preventable.
                                     Detenmination of the non-concession and all matters with regard to service non-
                                     compliance will be at the sole and final judgment of COMPANY.

                              3.3.11   In the event that primary equipment fails or malfunctions for any reason and there is
                                       no backup at the WORKSITE, CONTRACTOR shall advise COMPANY when a
                                       replacement can be ready for shipment to the WORKSITE. If CONTRACTOR can
                                       not provide the replacement equipment within twenty-four (24) hours at the
                                       WORKSITE and failed equipment are due to IADC failure then, Clause 2.6 of this
                                       Appendix 3 shall apply.

                              3.3.12 CONTRACTOR shall produce End of Well Datasets per Section 3, Scope of Work
                                     and shall be provided to COMPANY within thirty (30) days of completion of WORK.
                                     In the event that CONTRACTOR does not provide the required Datasets within thirty
                                     (30) days, COMPANY reserves the right to withhold payment on all payables owed to
                                     CONTRACTOR until the Datasets are provided.


                        3.4   Interruption of Service

                              3.4.1    For the avoidance of doubt, Clause 3.4 of this Appendix 3 to Section 4
                                       Remuneration replaces Clause 3.13 of Section 4 in its entirety.

                              3.4.2    In the event of a stuck BHA or Service Package, the Operating Rates shall terminate
                                       after one hour. After this time, the Standby Rate applies unless the incident is
                                       caused by CONTRACTOR negligence. If the event is due to CONTRACTOR
                                       negligence, the Operating Rate will terminate and a Zero Rate will be applicable until
                                       such time as the BHA is freed or is declared abandoned in the hole and cementing or
                                       free point occurs, whichever is later. CONTRACTOR Operating Rate will only
                                       resume when the new BHA is made up and is below the rotary table and the
                                       assembly returns to Normal Drilling Operations.

                              3.4.3    Maximum Lost-in-Hole/damage beyond repair costs and lost equipment protection
                                       fees shall be per Schedules of Rates and Charges.         If COMPANY retrieves
                                       CONTRACTOR equipment and it is damaged beyond repair and it was determined
                                       that the service interruption was not due to CONTRACTOR's fault or negligence,
                                       then COMPANY will reimburse CONTRACTOR as per Appendix 2 Clause 3 of
                                       Section 4 Remuneration, which shall not exceed the Lost-in-Hole costs in Schedule
                                       of Rates and Charges.




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                              3.4.4   Lost equipment protection charges are only payable when the Operating Rate
                                      applies. If COMPANY chooses to purchase lost equipment protection, then the
                                      documented Lost-in-Hole costs or net tax book value will be reduced by 50%,
                                      whichever is the least cost to COMPANY. Lost equipment protection is applicable in
                                      the case of lost equipment down-hole and for equipment damaged beyond repair,
                                      unless COMPANY decides to continue drilling operations when outside of equipment
                                      specifications.

                              3.4.5   If it is found that the minimum inspection criteria and technical standards have not
                                      been met by CONTRACTOR or that CONTRACTOR's own Procedures and
                                      Standards have not been met, then no Lost-in-Hole/damage beyond repair costs
                                      shall be paid for any BHA component.

                              3.4.6   In the event of severe inclement weather or other delays due to nature and Normal
                                      Drilling Operations have ceased for longer than twenty-four (24) hours, then all
                                      CONTRACTOR Standby Rates will be reduced to fifty per cent (50%) of the Standby
                                      Rate until the BHA or Service Package has commenced operations below the rotary
                                      table. Personnel Rates shall be unaffected.

                              3.4.7   In the event that CONTRACTOR has insufficient personnel and equipment to
                                      commence or complete any operation, CONTRACTOR shall be reimbursed at Zero
                                      Rate for equipment and personnel for the period of delay whilst the rig is waiting.
                                      The Zero Rate shall apply to each day when any part of that day has been lost due to
                                      such delay. CONTRACTOR shall be solely responsible for ensuring that sufficient
                                      equipment including backup is available at the WORKSITE and personnel at
                                      CONTRACTOR's onshore base in order to cover for such equipment malfunction or
                                      illness.


                 4.0    PROVISION OF PERSONNEL-APPLICATION OF RATES

                        4.1   The Schedule of Rates and Charges for WORK shall be deemed to be fully inclusive of but
                              not limited to all accommodation, subsistence, transportation, benefits, taxes, personnel
                              protective equipment including fire retardant clothing, employee compensation, unless
                              otherwise provided for herein. COMPANY will provide accommodations and subsistence for
                              individuals staying at the WORKSITE.

                        4.2   For marine operations, with prior COMPANY agreement to arrival schedule, the Operating
                              Rate for personnel shall commence from when they arrive at COMPANY's point of
                              mobilization/demobilization until the time of their arrival back at COMPANY's point of
                              mobilization/demobilization (or other mutually agreed location).

                        4.3   This Clause intentionally left blank.

                        4.4   In the event of redundant classes of personnel on location simultaneously then, COMPANY
                              shall only pay for primary personnel.

                        4.5   Personnel Standby Rates shall apply per day or part thereof for each calendar day when
                              CONTRACTOR's personnel are attending COMPANY directed onshore training sessions,
                              which are in addition to normal industry working practice and the general requirements that
                              are covered in the CONTRACT. For the avoidance of doubt, this excludes attendance at
                              training courses such as, Well Control/Pressure Control and Offshore Survival. It would
                              include attendance at COMPANY Away-Days and Stuck Pipe Courses, Incident and Injury
                              Free, Technical Limit, Drill the Well on Paper, Improve the Plan and Plan the Well in a Day




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                              workshops. With prior COMPANY approval in writing, transportation costs and per diem shall
                              only be reimbursed up to the limit of USD 1 SO at the time of service per overnight stay.

                        4.6   No additional payment shall be made for personnel held onshore or in between wells unless
                              COMPANY's specific written instructions to place personnel on standby pending utilization at
                              the WORKSITE. Such payment shall be at the personnel Standby Rates.

                        4.7   Personnel crew rotation schedule shall be determined by each SPU.

                        4.8   It is COMPANY's intention to pay Personnel Rates for all time when required crew members
                              are at the WORKSITE regardless of equipment performance or drilling rig activity.
                              COMPANY reserves the right to withhold payment for responsible personnel if it deems
                              CONTRACTOR's performance and or service non-compliance was directly caused by
                              individuals at the WORKSITE. Determination of the non-concession and all matters with
                              regard to service non-compliance will be at the sole and final judgment of COMPANY.

                        4.9   Personnel charges shall be supported by CONTRACTOR's timesheets or other recording
                              system agreed with COMPANY detailing the hours worked in providing support to
                              COMPANY. No dual time writing for anyone individual working on multiple projects is
                              acceptable. Timesheets shall be submitted for approval at the end of each calendar month.


                 5.0    SUPPORT SERVICES - DIRECTIONAL DRILLING ENGINEERING, WELL PLANNING,
                        OPERATIONS SUPPORT, COORDINATION AND SURVEY MANAGEMENT SERVICES

                        5.1   Charges for these services are deemed to be included in the Personnel Rates for engineers
                              and shall include the complete package of Directional Drilling Engineering, Well Planning and
                              Survey Data Management Services necessary to provide the full scope of directional drilling
                              service as specified in Section 3, Scope of Work. These charges also include all costs
                              associated with the provision of:

                              5.1.1   Software required during well operations and critical well support;

                              5.1.2   Plots and consumables required for the support of COMPANY's Directional Drilling
                                      operations.

                        5.2   CONTRACTOR shall optimize engineering activities and promote the efficient use of
                              personnel performing the services.

                        5.3   Ad hoc Engineering Studies may be requested by COMPANY during the performance of the
                              WORK. These studies shall include but not be limited to Drillstring Dynamics and Vibration
                              Studies, Failure Modes and Effects Analysis Studies and Well Design Feasibility Studies.
                              Charges for performing these studies shall be based upon a prescribed Scope of Work and
                              CONTRACTOR's Deliverables and Completion Date. The Scope Of Work, Deliverables,
                              Rates, and Completion Date shall be defined, agreed and approved by COMPANY in a duly
                              executed WORK ORDER prior to the commencement of any WORK by CONTRACTOR.




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                                                         D. Wireline Services


                 1.0    GENERAL

                        1.1   Unless specifically stated otherwise, the rates included herein are fully inclusive and shall
                              constitute full and complete compensation to CONTRACTOR in executing any WORK
                              ORDER or CHANGE ORDER.


                        1.2   CONTRACTOR agrees to suspend all charges, and goes on Zero Unit Rates for all
                              equipment and personnel following a CONTRACTOR tool failure that disrupts operation until
                              operations return to pre-failure operations or job cancellation.


                        1.3   "Operating Time" is the total time between wireline rig-up and rig-down after successfully
                              completing the WORK on a single trip to the WORKSITE, excluding, but not limited to:

                                  •   wiper trips
                                  •   rig repairs
                                  •   non-productive operating time not attributable to CONTRACTOR
                                  •   pre and post job tool calibrations and checks, and
                                  •   any other normal preparation and cleanup as required.


                        1.4   No Standby Unit Rates will apply to equipment. The exception being:

                              1.4.1   Equipment standby onshore where time exceeds one (1) day greater than Operating
                                      time. This one day shall be referred to as the Onshore Equipment Free Time
                                      Allowance.

                              1.4.2   Equipment standby offshore where time exceeds four (4) days greater than
                                      Operating time. These four days shall be referred to as the Offshore Equipment Free
                                      Time Allowance.


                        1.5   In the event that through the fault of CONTRACTOR, CONTRACTOR has insufficient
                              personnel and/or equipment to commence, or complete any operation, a zero rate shall apply
                              for eq uipment and personnel for the period of delay.


                        1.6   The rates and charges specified in Section 4, Appendix 4 shall remain firm and fixed as
                              specified in Section 4, General Terms and Conditions, Part D.


                        1.7   Should COMPANY exercise its option to extend the CONTRACT beyond the initial three (3)
                              year term, the PARTIES shall mutually agree rates and charges for the duration of the
                              Extension Period.


                        1.8   COMPANY may elect to pay a monthly minimum guaranteed rate per spread of surface
                              equipment and associated toolbox services for their exclusive use. All tools, services,
                              consumables and expendables, standby etc. contribute to the monthly minimum rate with no
                              exclusions. SPUs will gross up the monthly spend, and use the total against the monthly



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                               minimum charges for a mixture of callout, ad-hoc and exclusive wireline services from the
                               same CONTRACTOR. All Wireline operations will be charged in accordance with the
                               appropriate COMPANY Schedule of Rates and Charges. CONTRACTOR shall provide and
                               maintain a pool of toolbox equipment and services required to complete the WORK in
                               accordance with the CONTRACT.


                        1.9    The Base Service Charge Unit Rate may be applied once only for each job or WORK within
                               an agreed Scope of Work and covers any interruptions that include, but which are not limited
                               to:

                                       •   Well-bore conditioning trips
                                       •   Waiting on weather
                                       •   Rig repairs
                                       •   Other interruptions to the WORK

                               The Base Service Charge Unit Rate is applicable in the event of additional rig-up and
                               services following hole deepening.


                        1.10 Surface equipment spread shall contain all CONTRACTOR's surface equipment required to
                             perform the WORK, including but not limited to the following equipment as required, Logging
                             unit, Cables, Doghouse, Generators, Tool and transport racks, lifting equipment, adaptors,
                             storage racks, containers and magazines for dangerous goods, backup surface equipment
                             etc. All CONTRACTOR rates and charges associated with the surface equipment spread
                             shall be included in the down-hole tool and service Unit Rates for Open Hole, Cased Hole
                             and Perforating services.


                        1.11   CONTRACTOR shall provide and ensure all basic equipment design, manufacturing,
                               operations, maintenance, inspection and testing is appropriate, conforms to BP DWOP, API,
                               ISO, ASME, NACE and other industry best practices and is documented for the lifecycle of
                               the equipment. In particular CONTRACTOR shall provide the necessary and appropriate
                               cable, cable heads, rope sockets, weak points, release devices and swivels which are used
                               for logging and perforating applications, subjected to high shock, vibration and load
                               variations, environmental attack from including, but not limited to mud systems and well bore
                               fluids, and wide temperature variations.


                        1.12 CONTRACTOR shall provide and maintain a toolbox of all equipment, tools and services
                             (including but not limited to spares, backups and consumables) necessary to perform the
                             WORK in a safe and efficient manner for the duration of the CONTRACT. The quantity and
                             type of tools, equipment, and services available in the toolbox will vary by SPU WORK
                             program requirements. Toolbox equipment, tools, and services (including but not limited to
                             spares, back-ups and consumables) shall be available to COMPANY for both standard call-
                             out service and exclusive service options, with an appropriate quantity (by tool 1 service type).
                             A back-up is deemed to be one additional identical tool beyond the primary downhole tool.


                        1.13 Cancelled Operations: Should COMPANY request CONTRACTOR to provide services
                             covered within the Scope of Work, then cancel said request after CONTRACTOR has
                             prepared for the Job, having already mobilized the crew and required equipment and tools to
                             COMPANY's designated well site, CONTRACTOR shall be compensated, subject to
                             COMPANY's review and approval, at ten percent (10%) of the Operating Unit Rate that would
                             have applied to the Job per the Schedule of Rates and Charges. The Base Service Charge



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                             Unit Rate is not applicable to Cancelled Operations. No compensation is applicable if he
                             WORK is cancelled, or delayed prior to the Crew, tools and equipment arriving at
                             COMPANY's WORKSITE. No compensation is applicable if the cancelled operations are due
                             in whole or in part to CONTRACTOR.


                        1.14 Incomplete Operations (Multiple Logging Attempts): Should CONTRACTOR, regardless of
                             fault (EXCEPT IN THE EVENT THAT COMPANY FAILS TO FOLLOW EITHER INDUSTRY
                             OR BP STANDARD PRACTICES), fail to meet COMPANY logging or perforating objectives
                             as required by the WORK, then subject to COMPANY's review and approval, CONTRACTOR
                             shall be fully compensated at twenty-five percent (25%) of the Operating Unit Rate for the
                             specific service being run in addition to the Base Service Charge Unit Rate. Examples
                             include, but are not limited to well-bore logging and perforating WORK which cannot be
                             completed due to environmental factors beyond the control of CONTRACTOR such as
                             borehole conditions, adverse mud properties, bridging and unstable well bores, debris, scale,
                             damaged tubulars, washouts etc. This charge would apply only if there is a rig-up and rig-
                             down, and a maximum of once per twenty-four (24) hours even if multiple, unsuccessful
                             attempts in the well were made in this period. No compensation is applicable if the
                             Incomplete Operation is due in whole or in part to CONTRACTOR, and Zero Rate shall apply.


                        1.15 A "Crew" is defined as the team of trained and competent CONTRACTOR personnel (with
                             experienced supervision) necessary to perform the WORK in a safe and efficient manner.
                             Crew should always be based on twenty-four (24) hours availability, and twenty-four (24)
                             hour operations, and comply with COMPANY's sixteen (16) hour maximum work day rules.
                             Crew charges will be defined by unit rates independent of the number of personnel in the
                             Crew. CONTRACTOR shall ensure the Crew unit rate fully reflects the number of personnel
                             required to perform the WORK in a safe and efficient manner, and in full conformance with
                             the CONTRACT. The Crew Unit Rates only apply during standby, and only over and above
                             the Free Time Allowance which is twenty-four (24) hours onshore, and three (3) days
                             offshore.


                        1.16 Standby Unit Rates are applicable for non-exclusive call-out services only. Standby Unit
                             Rates are applicable only when WORKSITE operations are interrupted or delayed for a
                             period of time, and COMPANY's WORKSITE representative has requested in writing that
                             tools, equipment and crews remain on the WORKSITE (or assigned to COMPANY in
                             CONTRACTOR's operations base). The Free Time Allowance for equipment used in
                             onshore operations is twenty-four (24) hours, for offshore operations is four (4) days. The
                             Free Time Allowance for crews used in onshore operations is twenty-four (24) hours, offshore
                             operations is three (3) days. CONTRACTOR may be compensated for Standby time over
                             and above the free allowance after review and agreement by COMPANY, provided
                             CONTRACTOR is not responsible in whole or in part for the Standby.


                        1.17 Monthly rental charges for tools, equipment, and crews are not applicable. A single "all
                             inclusive" unit rate, hereafter called a "Monthly Minimum Unit Rate" shall be proposed by
                             CONTRACTOR in place of multiple individual rental rates for exclusive service. The Monthly
                             Minimum Unit Rate covers the Wireline surface equipment spread, Crews and toolbox of
                             services required by the SPU to perform the WORK.


                        1.18 In the event CONTRACTOR upgrades the technical specification or specifications of the
                             equipment EMPLOYED during the CONTRACT period to include additional features,
                             capabilities, or functionalities, CONTRACTOR shall supply such upgraded tools or equipment



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                               with originally requested features, capabilities, or functionalities at no additional cost to
                               COMPANY. Any additional features, capabilities, or functionalities so provided in new
                               equipment can be EMPLOYED by COMPANY at the rates placed by amendment into the
                               applicable schedule of rates and charges.


                        1.19 The Appendices hereto allocate in general terms the WORK against individual categories.
                             The total amount payable for the WORK against the rates and prices included in the
                             Appendices constitutes the CONTRACT PRICE. No claim or submission for additional
                             monies will be accepted by COMPANY for failure to price an item identifiable from the Scope
                             of Work. or other CONTRACT documents but not specifically identified herein, or for any item
                             which proves to be required for the safe and proper performance of the WORK.


                        1.20 CONTRACTOR's job tickets approved by COMPANY shall be used to define all events and
                             timings for the definition and application of the appropriate rates associated with this
                             CONTRACT. In event of disagreement, IADC drilling records, where available, and other
                             applicable documents will be reviewed to reach mutual agreement.


                        1.21   CONTRACTOR will have no minimum charges for equipment, crews or perforators etc other
                               than the unit rates requested. CONTRACTOR will have no minimum standby or rental
                               charges, crew or other charges except where requested by COMPANY.


                 2.0    PRICING BASIS AND PRICING TERMS

                        2.1    Unit Rate Basis (UR) - The pricing for all equipment, tools, labor, services and materials shall
                               be provided on a Unit Rate Basis that shall be all inclusive. CONTRACTOR's full
                               compensation for complete performance of activities to supply and QA I QC all materials,
                               provide all equipment and services and comply with all terms and conditions of this
                               CONTRACT shall be in accordance with the applicable Unit Rate(s).


                        2.2    The Unit Rates are deemed to be fully inclusive rates and shall include, without limitation, all
                               management and supervision of whatever nature, corporate administrative, direct and indirect
                               manufacturing services, QA I QC services (including testing), computer services,
                               administration and labor costs, travel costs, traveling time and expenses, fares and
                               transportation, allowances, housing and accommodations, wages, salaries, overheads,
                               profits, bonus and incentive payments, overtime costs, holidays with pay, vacation
                               allowances. sick pay. CONTRACTOR's portion of employee insurance and social security
                               benefits, payroll and income taxes, premium for public liability and property damage
                               insurance, employers' liability insurance, workers' compensation and all insurance premiums
                               measured by payroll costs, pensions and all other compensation and expenses which
                               CONTRACTOR may make under national or local agreements with trade unions. compliance
                               with government regulations, office facilities, safety requirements, protective clothing, all
                               consumables, tools, CONTRACTOR's and its SUBCONTRACTOR's equipment,
                               maintenance and repair of CONTRACTOR's and its SUBCONTRACTORS' equipment,
                               materials, establishment charges, communications, ordinary risks and services together with
                               all expenses and liabilities, obligations and risks which under this CONTRACT shall be borne
                               by CONTRACTOR and all other costs whatsoever incurred by CONTRACTOR in the
                               performance of this CONTRACT.




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                        2.3   Should COMPANY provide room and board for CONTRACTOR's personnel at or near the
                              onshore WORKSITEs, COMPANY may invoice CONTRACTOR at a mutually agreed rate per
                              day, per person.

                        2.4   As provided within the Schedule of Rates and Charges, CONTRACTOR shall provide data
                              acquisition and other services to meet the statement of requirements as specified by
                              COMPANY.



                 3.0    PRE-JOB PLANNING

                        CONTRACTOR will be required to provide some or all, but not limited to, the following pre-job
                        planning services, the cost of which will be included in the Base Service Charge Unit Rate outlined
                        in Clause 1.9 above. CONTRACTOR is expected to fully participate in the development of each
                        data acquisition program, by:

                              •   Assessing the combinability of individual tools in a string
                              •   Assessing the suitability of specific tool strings with respect to maximum working tool
                                  length, weight and optimal acquisition speed for each tool
                              •   Performing tension analysis of each run to ensure in hole risks are assessed and a
                                  mitigation put in place
                              •   Evaluating the maximum each tool string could be pulled to in the event of a tool string
                                  becoming stuck
                              •   Preparing a written document to outline the best practice to fish a stuck tool
                              •   Optimizing the technical set-up of a tool to acquire the data requested by COMPANY as
                                  outlined in COMPANY's technical objectives
                              •   Preparing a written document outlining specific risks and their mitigation in acquiring all
                                  data
                              •   Producing a written document outlining CONTRACTOR's best practice of operation
                                  planning, mobilization, rig up, execution, rig down and demobilization including clear
                                  presentation of all calibrations and tool checks performed prior to the operation, specific
                                  to that operation and the dates on which these calibrations and tool checks were
                                  performed.
                              •   Prior to any operation, should COMPANY require it, accommodating a wireline witness at
                                  CONTRACTOR's base to witness calibrations, tool checks and scrutinize tool histories as
                                  supplied by CONTRACTOR from their global tool history database
                              •   Making available the deSignated CONTRACTOR Representative and the senior logging
                                  engineer at a pre-determined pre-spud meeting for each well in COMPANY's specified
                                  location


                 4.0    DATA ACQUISITION AND SERVICE PROVISION

                        4.1   The Scope of Work requires delivery of data and samples to COMPANY and this will be
                              reflected in the Schedule of Rates and Charges.


                        4.2   Unless otherwise specified by COMPANY, all data acquired is expected to be transmitted
                              real time for access by designated COMPANY representatives from any location using the
                              world-wide web. The cost of providing this service should be included in the Base Service
                              Charge Unit Rate.




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                        4.3    The provIsion of the required data will also mean delivery of the raw curves that were
                               acquired from which the data required could be processed and re processed if necessary.
                               This should be delivered as a DUS file to COMPANY by a time specified in COMPANY's
                               data acquisition program following completion of the operation. Where the tool utilized to
                               deliver the data was of higher specification then there is no obligation to provide the extra
                               data that the higher specification tool provides as long as it does not compromise the integrity
                               of the data required or its possibility of reprocessing or quality controlling.


                        4.4    Where necessary, all raw data images, well site product images, and the quality control
                               presentations as required by COMPANY are to be provided at no extra cost.


                        4.5    Hard copy data (5 copies, not counting field prints), electronic data of the hard copy, digital
                               data of the raw and quality control data in DUS format and LAS data of the presentation
                               curves are to be provided at no extra cost to COMPANY. The cost of providing this data
                               should be included in the cost of the data required in COMPANY Schedule or Rates and
                               Costs. This applies to both well site data and final processed products.

                        4.6    CONTRACTOR will ensure best practice depth measurement techniques and calibrations are
                               employed and that subsequent runs are tied in to the preceding logging operations. The
                               activity of shifting wireline data to a common depth as indicated by COMPANY will be done
                               by CONTRACTOR at no additional cost.


                        4.7    COMPANY will outline the data interval required for each data type. High resolution data will
                               not carry a surcharge for this acquisition mode.


                        4.8    To ensure best data quality pOSSible, CONTRACTOR will utilize the latest vintage equipment
                               that meets the minimum specification outlined in COMPANY's Schedule of Rates and
                               Charges for that respective data requirement.


                        4.9    For Borehole Seismic Services, COMPANY's Schedule of Rates and Charges is constructed
                               to enable multi level tools to be charged at different rates depending on the arrays used.

                        4.10 When a logging operation requires acquisition to continue from the Open Hole into the Cased
                             Hole, e.g., sonic behind pipe or gamma ray to surface this will be considered acquiring of the
                             required data and the cost of which will be included in the price for the data as outlined in
                             COMPANY's Schedule of Rates and Charges.


                        4.11   In the offshore environment, if required, CONTRACTOR will provide all the necessary
                               hardware and adaptors for motion compensation that are essential to offshore operation and
                               the cost of this will be included as an item in COMPANY's Schedule of Rates and Charges.


                        4.12 All environmental corrections requested by COMPANY shall be applied by CONTRACTOR at
                             no extra cost.


                        4.13 In the event CONTRACTOR upgrades the technical specification or specifications of the
                             equipment EMPLOYED during the CONTRACT period to include additional features,
                             capabilities, or functionalities, CONTRACTOR shall supply such upgraded tools or equipment



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                             with originally requested features, capabilities, or functionalities at no additional cost to
                             COMPANY. Any additional features, capabilities, or functionalities so provided in new
                             equipment can be EMPLOYED by COMPANY at the rates placed by amendment into the
                             applicable schedule of rates and charges.

                        4.14 The charge for data shall also include a designated fully functional like for like same
                             generation and same revision level back-up tool. All tools shall have a back-up for each job
                             present at the WORKSITE at all times as required for the satisfactory performance of the
                             WORK, unless relief is otherwise granted by COMPANY.

                             CONTRACTOR will mobilize additional back-up equipment to the WORKSITE following any
                             CONTRACTOR non-productive time event or in any event of primary equipment failure. The
                             cost of mobilization of additional back-up equipment to cover COMPANY's minimum
                             operational requirements shall be for CONTRACTOR's account. CONTRACTOR will ensure
                             that tools and equipment are operated within published and accepted specifications, limits
                             and operating criteria at all times. In general, exceptions where tools I equipment are
                             damaged by environmental conditions should be minimal, in this instance COMPANY and
                             CONTRACTOR will agree on mobilization and costs of back-up equipment.


                        4.15 Fully functional back-up means that the back-up tool must be fully operable and capable of
                             performing the same tasks and provide the same scope and accuracy of measurement as the
                             primary equipment.


                        4.16 If a primary tool and its back-up are not available CONTRACTOR shall notify COMPANY.


                        4.17 No additional charge shall be applicable in the event that CONTRACTOR deems it necessary
                             to provide more than one set of functional back-up tools except unless otherwise previously
                             agreed in advance with COMPANY.


                        4.18 Where auxiliary systems, such as high tension wireline equipment are required, then
                             CONTRACTOR shall ensure the cost for this service is provided in the appropriate section in
                             COMPANY's Schedule of Rates and Charges.


                        4.19 COMPANY shall request and pay rates for services that meet the specific functional
                             requirement as defined in the CONTRACT, but shall not pay for additional or optional tool
                             functionality provided by CONTRACTOR's equipment or personnel which have not been
                             specifically requested. For example:

                              4.19.1   if CONTRACTOR uses any form of borehole imaging type logging tool to provide a
                                       multi-arm caliper, the rates charged by CONTRACTOR will only be for the multi-anm
                                       caliper log, or

                              4.19.2 if a multi-propagation resistivity tool is used in a well where only single frequency
                                     measurements were required then COMPANY shall only pay for what was specified
                                     on the call out and well plan.

                              4.19.3 If CONTRACTOR's tools have multi-functional capability it is incumbent upon
                                     CONTRACTOR to advise COMPANY of said capabilities and to optimize the use of
                                     tools to meet the minimum service requirement.




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                 5.0    OPEN HOLE

                        5.1   Cable tension conveyance modeling and operations optimization, weak point and release
                              system determination shall be included as part of the pre-planning Scope of Work and the
                              cost for this will be included in the Base Service Charge Unit Rate in COMPANY's Schedule
                              of Rates and Charges.


                        5.2   The Open Hole Base Service Charge Unit Rate shall apply to all Wireline Open Hole jobs and
                              as specified in COMPANY's Schedule of Rates and Charges.



                 6.0    CASED HOLE

                        6.1   As provided within the Schedule of Rates and Charges, all pressure control equipment for
                              live well wireline operations shall conform to DWOP and API, NACE, ISO and ASME best
                              practices. All equipment shall be fully certified by manufacturer with complete QA I QC
                              records, have traceability for all materials, manufacturing, maintenance, testing and
                              certification.


                        6.2   As provided within the Schedule of Rates and Charges, COMPANY requires appropriate
                              equipment packages for 5,000 psi, 10,000 psi, 15,000 psi, 20,000 psi pressure control
                              operations, H2 S and Arctic Temperature rated where applicable in each SPU or region.


                        6.3   As provided within the Schedule of Rates and Charges, CONTRACTOR shall ensure
                              operations are conducted in a safe, efficient and environmentally friendly manner with
                              minimal grease I seal loss. Grease type and viscosity to suit application, cable and
                              temperature range, and dual viscosity grease systems shall be used where appropriate for
                              large temperature ranges. Methanol I Taner fluid injection ports to be available on all
                              equipment for hydrate mitigation as required.


                        6.4   As provided within the Schedule of Rates and Charges, cable used with grease injection
                              pressure control equipment shall not be spliced.

                        6.5   The Cased Hole Base Service Charge Unit Rate shall apply to all Wireline Cased Hole jobs
                              as specified in COMPANY's Schedule of Rates and Charges.



                 7.0    PERFORATING

                        7.1   All perforating gun system unit rates shall include all normal and customary expendables and
                              other hardware necessary to complete the WORK. This includes but is not limited to:

                              •   Redress and use of adaptors
                              •   Firing systems
                              •   Cable heads
                              •   Release devices
                              •   Positioning devices
                              •   Ruggedized correlation device (SP, GR, CCl, neutron)



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                              •   Shock absorbers
                              •   Safety systems


                        7.2   Highly deviated wells and long gun strings may require low friction adaptors and additional
                              hardware. This should be included in COMPANY's Schedule of Rates and Charges for
                              perforating and used only as required.


                        7.3   The Perforating Base Service Charge Unit Rate shall apply to all Wireline Perforating jobs
                              and as specified in COMPANY's Schedule of Rates and Charges.


                        7.4   All prices will be on a shoot and pull basis unless otherwise noted.


                        7.5   Unless otherwise specified all firing systems will be intrinsically safe systems capable of
                              operating in non-radio silence environments.


                 8.0    POST WELL PROCESSING AND SERVICES

                        8.1   Data that requires post well processing in CONTRACTOR's Computer Processing Center will
                              be done by CONTRACTOR and the cost of this should be included in the particular tool or
                              service Unit Rate in COMPANY's Schedule of Rates and Charges for the respective data
                              request. The cost should also include provision of software tools to view and interpret data
                              and access to CONTRACTOR's workstation at CONTRACTOR's facilities to Q/C and
                              integrate CONTRACTOR's processing and interpretation. This includes, but is not restricted
                              to the following data:

                              •   Array Resistivity Imaging
                              •   Tensor Resistivity
                                         .,. Rv
                                         .,. Rh
                                         .,. Rsand
                                         .,. Formation dip and azimuth

                              •   NMR Data including but not restricted to
                                        .,. T1 data
                                        .,. T2 Data
                                        .,. Coates permeability
                                        .,. CONTRACTOR permeability
                                        .,. Bound water
                                        .,. Total NMR porosity
                                        .,. Intermediate volumes of various pore sizes
                                        ., Fluid typing (multiple depths of investigation)

                              •   Ultra Sonic Imaging Data
                                          .,. Image dynamic normalization
                                          .,. Image static normalization

                              •   Resistivity Imaging Data
                                           ., Image dynamic normalization
                                           .,. Image static normalization




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                              •   Array Sonic Data
                                          'r Monopole Dtc
                                          >- Monopole Dts
                                          'T Upper Dipole Dts
                                          >- Lower dipole Dts
                                          >- Xdipole Dts
                                          >- VpVs ratio

                        8.2   Where COMPANY requires specific interpretation services or re-processing of existing data,
                              then this should be charged at rates outlined in the Schedule of Rates and Charges,
                              examples of this are:

                              •   Detailed stratigraphic dip computation
                              •   Bore hole stability and rock mechanics


                 9.0    PERSONNEL

                        9.1   No personnel charges will apply. The exceptions being:

                              9.1.1   Crew standby onshore where time exceeds one (1) day greater than Operating time,
                                      and this one day shall be referred to as the Onshore Personnel Free Time
                                      Allowance.

                              9.1.2   Crew standby offshore where time exceeds three (3) days greater than Operating
                                      time, and these three days shall be referred to as the Offshore Personnel Free Time
                                      Allowance.


                              9.1.3   Operating time is defined as the time from rig up to rig down. The one (1) day of
                                      onshore time and three (3) days of offshore time are considered Free Time
                                      Allowance and should be covered in the cost of the job and will be used for, but not
                                      exclusively for:

                                          •    Pre and post job checks and calibrations
                                          •    Tool verifications
                                          •    Fluid and formation sampling transfers and sample tool preparation
                                          •    Successful delivery of all well site products


                        9.2   CONTRACTOR's personnel co-located at COMPANY's offices to provide dedicated
                              engineering support and pre job planning, where required, shall be for CONTRACTOR's
                              account


                        9.3   No additional payments shall be made for personnel held onshore unless COMPANY's
                              specific written instructions to place personnel on "Onshore Standby" status pending
                              utilization at the WORKSITE. Such payment shall be at the Crew Standby Rates if beyond
                              the Free Time Allowance per job.


                        9.4   Personnel Standby Rates shall apply at times beyond the Free Time Allowance in Clause 9.1
                              herein above, where COMPANY has requested personnel and such personnel are present at
                              COMPANY's base waiting on orders, waiting on aircraft; waiting on weather. Standby Rates



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                              shall not apply where personnel are not available for WORK for any reason including
                              unavailability for reasons resulting from CONTRACTOR's negligence.


                        9.5   Personnel Standby Rates shall not apply when CONTRACTOR's personnel are attending
                              training sessions, which are required for CONTRACTOR's personnel to complete normal
                              industry working practice and the general requirements that are covered in the CONTRACT.
                              Examples of such courses or events which are covered in the CONTRACT and that would
                              not attract Personnel Standby Rates are pre-spud meetings, pre-job meetings, Performance
                              Review Meetings, After Action Review meeting, FOCUS or STOP training and other such
                              events.


                        9.6   Charges for CONTRACTOR's personnel shall be supported by CONTRACTOR's timesheets
                              or other recording system agreed with COMPANY detailing the hours worked in providing
                              support to COMPANY. No dual time writing for anyone individual working on multiple
                              projects shall be permitted.


                        9.7   Mobilization time for personnel shall commence from the time personnel arrive at
                              COMPANY's WORKSITE or crew change location, until the time of their departure from the
                              worksite or arrival back at the said or alternative crew change location. CONTRACTOR will
                              be responsible for their own personnel costs of travel, accommodation and subsistence
                              expenses incurred traveling to and from and within the WORKSITE. In the case of offshore
                              WORK, CONTRACTOR will be responsible for personnel travel costs, subsistence and
                              accommodation costs in travel to and from the crew change location.


                 10.0 SPECIALIST SERVICES


                        10.1 As provided within the Schedule of Rates and Charges, CONTRACTOR shall provide all high
                             tension wireline equipment required to support high tension wireline operations safely and
                             efficiently in the Gulf of Mexico and other SPUs. Typically with surface cable tensions
                             exceeding the safe drum storage and insulation cold flow limits for logging cables, generally
                             used for WORK with expected cable surface tensions ranging from 12,000 - 25,000 Ibs using
                             current technology. The current upper limit will increase as cable armor, core and packaging
                             and torque control technology improves during the CONTRACT period.


                        10.2 As provided within the Schedule of Rates and Charges, CONTRACTOR shall provide
                             wireline logging while fishing continuation of planned logging I perforating operations after
                             cable or tool is stuck in the well. This service is similar to pipe conveyed logging, requires
                             minimal additional hardware and is undertaken while performing standard Wireline fishing
                             operations.


                        10.3 As provided within the Schedule of Rates and Charges, CONTRACTOR shall provide pipe
                             conveyance for high angle wells, large tool string combinations, high differential pressures
                             and sticking risk, or wells with washouts in key sections.




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                 11.0 THIRD PARTY

                        COMPANY may require Third Party services, including but not limited to conveyance equipment
                        such as wireline tractors, wireline jars, seismic down-hole and surface equipment and other devices
                        that would enable operations to continue efficiently.




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                                                             E. Completions


                 1.0    GENERAL


                        1.1   Prices for Permanently Installed Equipment shall be Ex-Factory and shall include all costs
                              associated with standard transportation markings, packaging, shipping paperwork, etc.


                        1.2   For Permanently Installed Equipment, CONTRACTOR shall be reimbursed for Third Party
                              charges for transportation, shipping, handling, duties, and VAT. These requests shall:

                              •   be made within sixty (60) days of their occurrence
                              •   be supported with a valid invoice or receipt, which may be audited by COMPANY
                              •   not be subject to surcharges and lor markups by CONTRACTOR, and
                              •   clearly identify the product or material for which reimbursement is being requested. Clear
                                  identification shall be constituted by reference to WORK ORDER Number (and
                                  associated line item), COMPANY Item Code, Well Name and a complete manifest of the
                                  relevant shipping container.


                        1.3   CONTRACTOR shall be reimbursed for transportation charges for equipment and materials
                              from CONTRACTOR's Base of Departure to COMPANY's embarkation point for transfer to
                              WORKSITE. CONTRACTOR shall present valid invoices from the transportation company in
                              order to receive reimbursement, and COMPANY reserves the right to be invoiced directly by
                              transportation companies (i.e., direct billing).


                        1.4   COMPANY may choose multiple suppliers, and their respective products and services in a
                              single well. Accordingly, COMPANY expects compatibility among all suppliers' tools and
                              equipment resulting in successful completion of the job.


                        1.5   Except for New Technology as addressed in Section 4, Clause 3.12 herein above, the
                              "Reasonable Facsimile" concept shall be the guiding principle for adding items to the
                              CONTRACT that are either a second or successive generation of existing materials and I or
                              equipment, or where there is existing materials and lor equipment of a similar nature already
                              in the CONTRACT. COMPANY and CONTRACTOR shall agree on the item in the Schedule
                              of Rates and Charges that is the closest "Reasonable Facsimile" to the new item.
                              CONTRACTOR shall provide written justification that establishes the basis for new price.


                        1.6   CONTRACTOR's "sustaining engineering activities" shall be undertaken at no charge to
                              COMPANY. Examples include amending engineering records, and preparation and hosting
                              of COMPANY requested design reviews. Engineering activities associated with design
                              reviews which may be chargeable to COMPANY are delineated in the QCP Memorandum of
                              Understanding (MOU) dated November 8,2007, as may be amended from time to time. This
                              MOU covers the development of global quality plans.


                        1.7   In the event COMPANY equipment is damaged while in the possession of CONTRACTOR
                              due to negligence of CONTRACTOR, CONTRACTOR shall be responsible for all costs
                              associated with returning the equipment to a state where it is fit for purpose and meets all the



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                               original technical requirements. This includes, but is not limited to transportation charges
                               associated with all movements of the equipment between the location and an authorized
                               repair and I or test facility, dis-assembly and re-assembly consistent with the original
                               technical specifications, re-testing of the equipment consistent with the original technical
                               specifications, or rework or replacement of parts due to damage.


                        1.8    In the event CONTRACTOR equipment arrives at the WORKSITE, is not fully functional and
                               operational in accordance with Section 3, Scope of Work through fault of CONTRACTOR,
                               CONTRACTOR shall be responsible for all equipment costs, parts costs, and labor costs
                               associated with returning equipment to a fully functional state.


                        1.9    In reference to Section 4, Clause 3.9, CONTRACTOR charges shall recommence following
                               conclusion of remedial actions required to return the well to the condition prior to a failure of
                               CONTRACTOR's equipment or service attributable to CONTRACTOR.


                        1 .10 The Delivery Date shall be specifically stated in the WORK ORDER


                        1.11   If CONTRACTOR fails to deliver the end of well report (EOWR) within the specified time
                               period and I or the EOWR is factually incorrect, CONTRACTOR's invoice shall be reduced at
                               a rate of $1 ,OOO/day until such time that the EOWR is delivered or corrected. The EOWR will
                               normally consist of an 'as-run' well schematic showing base dimensions, complete
                               descriptions (including, inter alia, serial numbers), depths, and associated notes. COMPANY
                               and CONTRACTOR shall agree as to the contents of the EOWR prior to the completion of
                               the well.


                 2.0    CHARGE RATES

                        2.1    Operating charge rate shall be inclusive of any pre-job analysis, job set-up activities, and any
                               post-job maintenance or refurbishment of any kind.


                        2.2    The Standby charge for equipment shall begin the day equipment arrives at COMPANY's
                               supply base or WORKSITE, whichever occurs first, and terminates upon return to
                               COMPANY's supply base or CONTRACTOR's base, whichever occurs first. Cumulative
                               standby charges shall not exceed 10 days total per well. Cumulative Standby charges for a
                               well shall not exceed fifty percent (50%) of the purchase price of the item being charged.
                               Once total charges (Standby plus Operating) reach the fair market value of the asset on a per
                               well baSiS, CONTRACTOR shall suspend charges for the item in question.


                        2.3    Flow wetted metallurgy listed is the minimum requirement. However, CONTRACTOR may
                               select higher metallurgies at no additional cost to COMPANY except in those cases where
                               COMPANY request an expedited delivery and a higher metallurgy is the only option to met
                               COMPANY's stated delivery time.


                        2.4    Subject to Clause 3.1 of Section 4 - Remuneration, General Terms and Conditions, should
                               COMPANY desire to exercise its option to extend the CONTRACT beyond the initial three (3)
                               year term, the PARTIES shall mutually agree upon rates and charges for the duration of the
                               extension. An example of an indexation formula is as follows:



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                                                                      MATERIALS                             LABOR

                                                      ----------------~----------------
                                                  r                                                   "




                                    Where:

                                     P   =New Rate                           Pi = Initial Contract Price

                                     <p}vlI   =Material and Labor Indexed Adjustments
                                     O.xx + O.yy + O.zz = 40%

                                     MATERIALS:

                             Ms = (Material - Steel) Twelve Month average (Jan-December) of the U.S. Department of
                                  Labor Producer Price Index Series, PCU3311113311113, Industry: Iron and Steel mills,
                                  Product: Steel Ingots and semi-finished products.

                             lvfs] = Index equivalent at CONTRACT execution


                             ;tfc = (Material - 13 Chrome) Twelve Month average (Jan-December) of the last year of the
                                     CONTRACT Primary Tenrn of a Chrome index to be agreed upon by the PARTIES.

                             Me] = Index equivalent at CONTRACT execution



                             Mn = (Material - Nickel 34.0%) Twelve Month average (Jan-December) of the last year of the
                                  CONTRACT Primary Tenrn of a Nickel index to be agreed upon by the PARTIES.

                             Afn]   =Index equivalent at CONTRACT execution

                             LABOR:

                             L   = Three month average (Jan-Mar) of the U.S. Department of Labor, Employment, Hours,
                                     and Earnings for the Current Employment Statistics survey (National), Series ID:
                                     CEU1 0211 00006, Natural resources and mining super sector, Oil and gas extraction
                                     Industry, NAICS code 211, Data Type: Average Hourly earnings of Production Workers




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                              L]   = Index equivalent at CONTRACT execution

                 3.0    Delivery

                        3.1   \MIere CONTRACTOR fails to deliver materials and I or equipment by the specified date
                              agreed upon between the PARTIES as set forth in the associated WORK ORDER,
                              CONTRACTOR shall be assessed the following reduction in the Gross Purchase Price for
                              each item delineated on the WORK ORDER that is delivered later than the specified date:

                                                                                  Percentage of Purchase Price
                               Delay (Deviation from WORKORDER)
                                                                                  Reduction
                               Zero to Fifteen (15) days                          No reduction

                               Sixteen (16) to Thirty (30) days                   Five percent (5%) reduction

                               Thirty One (31) to Sixty (60) days                 Ten percent (10%) reduction

                               Greater than Sixty (60) days                       Fifteen percent (15%) reduction

                              In the event CONTRACTOR's delivery is late by more than sixty (60) days, CONTRACTOR
                              shall be deemed to be in breach of the CONTRACT, and COMPANY shall be entitled, at their
                              sale discretion, to source the same materials that were delivered later than the specified date
                              from an alternate supplier at CONTRACTOR's cost and the respective WORK ORDER shall
                              be null and void.

                              The following conditions also apply to this Clause:
                                 •     Any changes to materials specifications or delivery dates shall be documented by a
                                       CHANGE ORDER, such that any modifications are mutually agreed by COMPANY
                                       and CONTRACTOR
                                 •     Lead time adjustments may be modified by CONTRACTOR during the course of
                                       annual price adjustments to the Schedule of Rates and Charges

                        3.2   \MIere COMPANY and CONTRACTOR have agreed to a delivery schedule and due to
                              CONTRACTOR's fault, a late delivery on the part of CONTRACTOR results in additional
                              transportation costs to COMPANY, any additional cost will be deducted from
                              CONTRACTOR's invoice, and shall be clearly noted on the applicable invoice.


                        3.3   Subject to Clause 3.2 immediately above, CONTRACTOR shall be responsible for all
                              expedited logistics (e.g., chartered air craft, hot shots, chartered boats, etc.) charges for or to
                              prevent a late delivery on the part of CONTRACTOR.


                        3.4   \MIere COMPANY requests for late delivery by CHANGE ORDER due to delay in plan, no
                              charges shall be incurred by COMPANY except for expediting charges already incurred by
                              CONTRACTOR at time of CHANGE ORDER.


                        3.5   \MIere CONTRACTOR delivers early, not at the request of COMPANY, payment shall not be
                              made until the actual requested delivery date on WORK ORDER or CHANGE ORDER. Any
                              applicable storage, re-dressing, and I or testing charges shall be at CONTRACTOR's
                              account.




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                        3.6   CONTRACTOR shall deliver all equipment to COMPANY's Point of Embarkation by the
                              agreed upon time as set forth in the WORK ORDER. In cases where equipment or personnel
                              arrive late to the Point of Embarkation due to fault of CONTRACTOR and said delay creates
                              Non-Productive Time at the WORKSITE, CONTRACTOR shall be liable to pay for the rental
                              charges of any supply boat and I or Third Party equipment and personnel waiting on said
                              supply boat for the period of the delay.


                 4.0    PERSONNEL

                        4.1   Unless otherwise agreed to by COMPANY, CONTRACTOR shall provide sufficient number of
                              people (crew) to allow for twenty-four (24) hour operations for the duration of the WORK.


                        4.2   All personnel rates per day refer to a day of twenty-four hours. For parts of a day, all such
                              day rates shall be prorated to the nearest 12 hours.


                        4.3   CONTRACTOR shall not charge for "Trainee" personnel who are not fully qualified to perfonm
                              the WORK for which they are assigned


                        4.4   Applicable Standby Rate for personnel shall be thirty-three percent (33%) of the applicable
                              Daily Rate.


                        4.5   In the event that CONTRACTOR has a concurrent alternative customer requirement for
                              personnel, CONTRACTOR shall advise COMPANY of said alternative requirements and
                              COMPANY's options to ensure personnel availability. COMPANY may elect to secure the
                              personnel in advance and compensate CONTRACTOR at the applicable Standby Rate to
                              secure the availability of the personnel. All such agreements shall be documented in the
                              WORK ORDER or CHANGE ORDER.


                 5.0    COMPANY COST RECOVERY

                        5.1   CONTRACTOR shall reimburse COMPANY for COMPANY engineering or technical support
                              and related costs which are agreed upon in advance in writing and shall cover the following:

                              5.1.1   Cost of conducting incident investigations when the result of the investigation reveals
                                      the incident was due to direct failure of CONTRACTOR supplied products or
                                      equipment.

                              5.1.2   Cost of conducting manufacturing audits when caused by a major QA/QC incident.

                              5.1.3   Cost of time spent in remediation I re-design of CONTRACTOR's equipment or
                                      products when necessitated by equipment or product failure in COMPANY well or
                                      significant COMPANY rig NPT.

                              5.1.4   The following Charges shall apply:

                               ITEM DESCRIPTION                                       RATE

                               COMPANY Drilling/Completion Engineer                   $200/Hour



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                               COMPANY Integrity Assurance Engineer                   $150/Hour
                               Third Party Inspection Personnel                       At Cost
                               Other Related Charges (Travel, Lab fees, etc.)         At Cost


                        5.2   CONTRACTOR shall reimburse COMPANY for COMPANY Third Party Inspector (TPI)
                              charges (Nominated Inspection Body) associated with QCPs and / or ITPs which are a result,
                              but not limited to the following:

                               5.2.1       Re-scheduling of surveillance activities due to CONTRACTOR or
                                           SUBCONTRACTOR not being prepared for said activities at agreed upon time;
                               5.2.2       Re-scheduling of surveillance activities in cases where activities have to have
                                           be repeated due to rejections associated with activity being surveilled (e.g., re-
                                           test, re-inspection, re-review of documentation, etc.); and,
                               5.2.3       TPI non-productive time (NPT) as a result of CONTRACTOR and I or
                                           SUBCONTRACTOR inefficiencies.




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                                                     Section 4 - Remuneration
                                             Appendix 4 - Schedule of Rates and Charges




                               Appendix 4 - Schedule of Rates and Charges




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                                                     Section 4 - Remuneration
                                             Appendix 4 - Schedule of Rates and Charges



                 Schedules of Rates and Charges (SORACs) referenced throughout this CONTRACT are found only
                   as electronic pdf (Portable Document Format) documents (one or more pdf documents for each
                  Sub-Sector). These pdf documents (SORACs) accompany the electronic copy of the CONTRACT
                    entitled "CONTRACT FOR GULF OF MEXICO STRATEGIC PERFORMANCE UNIT OFFSHORE
                    WELL SERVICES between BP EXPLORATION AND PRODUCTION, INC. and HALLIBURTON
                   ENERGY SERVICES, INC" and are an integral part of this CONTRACT. The file names for these
                                                   SORACs are provided below:

                             Cementing Services - "SORAC - HES - GOM - CEMENTING SERVICES"

                             Fluids Services - "SORAC - HES - GOM - FLUIDS SERVICES"

                             Well Placement - "SORAC - HES - GOM - WELL PLACEMENT"

                             Wireline Services - "SORAC - HES - GOM - WIRELINE SERVICES"

                             Completions, including separate SORACs for each of the following areas of Completions:
                                  o     "SORAC - HES - GOM - COMPLETIONS (TCP , DST)"
                                  o     "SORAC - HES - GOM - COMPLETIONS (OSFP)"
                                  o     "SORAC - HES - GOM - COMPLETIONS (LOWER COMP)"
                                  o     "SORAC - HES - GOM - COMPLETIONS (I WELLS)"
                                 o      "SORAC - HES - GOM - COMPLETIONS (UPPER COMP)"




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                                                   Section 5 - Integrity Management
                                               (Conformance Guidelines for Contractors)




                                     Section 5 - Integrity Management
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                                           Halliburton for GOM




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                                                   Section 5 - Integrity Management
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                 1.0    INTRODUCTION TO THE COMPANY INTEGRITY MANAGEMENT STANDARD

                        1.1   Overview

                              The COMPANY Integrity Management Standard (1M Standard) was first published in 2006
                              and is primarily aimed at management system integrity and specifically the mitigation or
                              elimination of major accident risk. The 1M Standard comprises ten fundamental elements
                              which are broadly aligned with "Getting HSE Right" (GHSER), ISO 9001 Quality Management
                              and OSHA 1910 process safety management. The COMPANY GROUP has set a global
                              conformance deadline for the new standard, effective Dec 31, 2008, or to have an approved
                              deviation in place. More detail on the 1M Standard and copies of the E&P Integrity
                              Management Implementation guide are available on request. It should be noted by all
                              CONTRACTORs that the 1M Standard and in particular the 36 minimum requirements
                              contained in the E&P Integrity Management Implementation Guide are internal obligations for
                              COMPANY only. However they can significantly impact the way CONTRACTORs provide
                              products and services (see the obligation for CONTRACTORs on Page 6).

                              The Ten 1M Standard elements include:

                                 Accountabilities
                                 Competence
                                 Hazard Evaluation and Risk Management
                                 Facilities and Process Integrity
                                 Protective Systems
                                 Practices and Procedures
                                 Management of Change
                                 Emergency Response
                                 Incident Investigation and Learning
                                 Performance Management and Learning


                        1.2   Purpose of the Group Integrity Management Standard

                              1.2.1   Sets out the 1M Standard requirements necessary to comply with the Group values,
                                      particularly those relating to Risk, Health and Safety and Environmentally Sound
                                      Operations.

                              1.2.2   Requires the controlled application of hazard evaluation including major accident risk
                                      assessment, process safety and engineering management, combined with
                                      internationally recognized industry standards and engineering, maintenance and
                                      operating practices developed by COMPANY.

                              1.2.3   Aims to reduce the number and severity of uncontrolled releases of hydrocarbons,
                                      chemicals, hazardous materials and other high-energy sources (including
                                      catastrophiC and chronic releases) to the atmosphere, water, or ground, and to help
                                      prevent the failure of equipment and infrastructure in order to avoid serious harm to
                                      people, the environment and COMPANY assets.

                              1.2.4   Will help COMPANY to benefit from greater operational integrity; better Health,
                                      Safety, Security, and Environment (HSSE) performance; increased lifecycle value of
                                      COMPANY assets; and greater engineering standardization and productivity.




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                              1.2.5   Will help sustain COMPANY's license to operate, improve its operational reputation,
                                      reduce future environmental liabilities, and achieve internal targets as defined in
                                      COMPANY's management framework.

                              1.2.6   The 1M Standard and Control of Work Standards are complementary. Control of
                                      Work focuses on the safe execution of workplace activities while integrity
                                      management concerns the total lifecycle integrity of COMPANY operations through
                                      design, construction, operation, maintenance, and decommissioning.


                        1.3   Scope and Applicability of the COMPANY 1M Standard

                              The 1M Standard applies to all COMPANY operations globally. The standard contains 10
                              elements and 36 minimum requirements. Each element has an intent statement, which can
                              be referenced in the E&P Integrity Management Implementation Guide. All the elements
                              require both systematic and well documented management system processes to be both in
                              place and effective for the operations lifecycle. Specifically this ensures that for all
                              COMPANY operations, the equipment used in each operation, the people performing the
                              operation, the practices and procedures being used for the operation are ALL fit for service -
                              the aim being to avoid loss of containment events, to maintain structural integrity throughout
                              the lifecycle of the facility and equipment in question, and most importantly to prevent major
                              incidents.


                        1.4   Commitment and Implementation timetable

                              COMPANY's global implementation of the 1M Standard by December 31, 2008 is a key
                              priority commitment made by COMPANY's then CEO, Lord John Browne, and latterly CEO
                              Tony Hayward.


                        1.5   Accountability for delivery of Integrity Management

                              For every product and/or service that is purchased by COMPANY, the 1M Standard
                              requirements involved in the Scope of Work are covered by a "the Single Point of
                              Accountability" (SPA) that is responsible for delivery of integrity management for COMPANY.
                              If the name of the Integrity Management SPA is not provided by COMPANY at the
                              appropriate time, CONTRACTORs should inquire as of her/his contact information.


                        1.6   The COMPANY Integrity Management Process

                              The definition of "Integrity Management" is a continuous assessment process applied
                              throughout Design, Construction, Operations, Maintenance, and Decommissioning to assure
                              that wells, facilities, and structures are managed safely.




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                                   1M Process                               Activities                              Elements

                                                                      ,A.3Siqn accountabilities for IIv1
                                                                      S)l::.t~maticallv identify ITlaiol' hazards
                                                                      CtJllduct risk assessment                       1, :~
                                                                      Asse::.,;:; equipment criticality·
                                                                      D",tine safe operating envelope


                                                                       Detine pl'aeric,;:; and procedures
                                                                       Identify required Irvl competencie.s
                                                                                                                     2,4,5,
                                                                       BUild equiplnent risk - ba8ed 1f1l1 plan
                                                                                                                      6, 8
                                                                       De\ielop corrosion manaoarnent plan
                                                                       Build Emergency responcie plan




                                                                       I rnplement equipment I M plan
                                                                       Test emergency re!:<ponse plan
                                                                       Managernent of change




                                                                       Incident investiClation
                                                                       Peltormarlce rnanaqement
                                                                       Assessment a,]airl{.rt KPls
                                                                       Audit and peer review




                        1.7   Safety Critical Equipment

                              The Exploration and Production Segment requires the identification of Safety Critical
                              Equipment (SCE) for the purposes of assuring availability and functionality of equipment that
                              provides the greatest relative contribution to risk reduction for major accident hazards. The
                              identification of SCE facilitates the prioritization of inspection, testing and maintenance tasks
                              and the associated performance management.


                        1.8   Integrity Management Assurance

                              COMPANY Business Units and Functions are accountable for implementing the 1M Standard
                              with CONTRACTORs and suppliers and for providing auditable evidence of conformance.


                        1.9   Regulatory Requirements

                              The 1M Standard is intended to complement regulations and defines a process to provide
                              assurance that COMPANY's minimum requirements for the 1M Standard are being met,
                              including conformance with the Engineering Technical Practices (ETP) and with appropriate
                              industry codes and standards. In the event of a conflict between the 1M Standard and a
                              relevant law or regulation, the relevant law or regulation shall be followed. Any such conflict
                              shall be reported to the relevant SPU engineering authority. If the standard creates a higher
                              obligation, it should be followed as long as this also achieves compliance with the law or
                              regulation.




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                           1.10 The intent of the 1M Standard with respect to CONTRACTORs is to promote the adoption of
                                the 1M Standard by companies working on behalf of COMPANY. COMPANY shall seek to
                                hire CONTRACTORs with integrity management programs that are just as encompassing as
                                this 1M Standard - if not more so - and to encourage those who do not have such a program
                                to adopt one."


                           1.11 The applicability of the 1M Standard with respect to CONTRACTORs:

                                  "Where COMPANY relies on a CONTRACTOR to carry out work that would be subject to this
                                  Standard if performed by COMPANY employees, COMPANY shall, after an appropriate risk
                                  assessment, endeavor to ensure that the CONTRACTOR adopts this 1M Standard. It will
                                  also seek to amend relevant contracts, immediately or on renewal, to reflect this 1M
                                  Standard."

                                  The term CONTRACTOR also covers SUBCONTRACTORs and includes the suppliers of
                                  goods and services.


                 2.0       1M CONFORMANCE PLAN FOR CONTRACTORS

                           This section sets out the 1M Standard conformance requirements for key CONTRACTORs. Key
                           CONTRACTORs are considered on the basis of Major Accident Risk (MAR) potential of their
                           respective COMPANY operations.        The list of CONTRACTORs selected for 1M Standard
                           conformance assessment is reviewed and approved by the Technical Authority (TA), the Integrity
                           Management SPA (Single Point of Accountability), the Integrity Assurance representatives (IA), the
                           PSCM representatives (Procurement & Supply Chain Management), and the EA (Engineering
                           Authority) for the application.


                           2.1    Each selected CONTRACTOR shall perform the following steps.




                                 Complete the 1M Standard self assessment checklist (Appendix 1)

                       2         Report any 1M Standard self assessment gaps

                       3         Develop and implement a plan to close any gaps before commencement of the WORK
                                 Identify all safety critical equipment and report SCE preventative maintenance programs (total
                       4
                                 SCE work orders, SCE failures, overdue SCE work orders


                           2.2    Use of the COMPANY Global CONTRACTOR 1M Standard conformance checklist

                                  The assessment of the CONTRACTOR's management system will be conducted using the
                                  Global COMPANY checklist contained in Appendix 1. The checklist is designed to highlight
                                  management system gaps, relative to the ten 1M Standard elements of the COMPANY 1M
                                  Standard. Ideally the CONTRACTOR will have broadly equivalent systems in place that align
                                  with the intent for each element in the standard, such as for instance IS09001 or API
                                  equivalent IS029001.




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                              Deviations will be managed and reviewed as part of the Supplier Performance Management
                              (SPM) process. The methodology used in this document is consistent with and based on the
                              global COMPANY PSCM team's model. The key objective is a globally consistent 1M
                              Standard conformance message to all CONTRACTORs engaged by COMPANY irrespective
                              of geographical location, business segment, and I or SPU.


                        2.3   CONTRACTOR 1M Standard requirements

                              CONTRACTORs shall conform to the minimum 1M Standard requirements as specified in
                              Appendix2.


                        2.4   Identification of CONTRACTOR Safety Critical Equipment (SCE)

                              The objective of SCE is to identify the subset of equipment that is most critical to the
                              management of major accident hazards. These are the equipment items that prevent, control
                              and mitigate major hazards, and therefore are required to have a high reliability and
                              availability before and during an incident. Much of this SCE will require planned inspection,
                              testing, and maintenance to confirm the reliability and calibration to function on demand in
                              accordance with applicable performance standards.

                              The designation of SCE allows management to optimize inspection, testing, and maintenance
                              resources to mitigate major accident risks. As such, the SCE should typically represent
                              approximately 20% of the equipment items on the Master Equipment List. Although this
                              percentage is not mandated, significantly higher percentages will likely result in a lack of
                              focus on those items that require preferential attention.

                              In general, SCE equipment should be identified as part of a risk assessment or hazard
                              evaluation study. A generic Land rig SCE table and SCE decision tree have been provided
                              as examples, which may help CONTRACTORs identify SCE in their operations.


                              2.4.1   Appendix 4 contains - as an example - a generic land rig SCE register which can be
                                      modified by the CONTRACTOR to suit their specific operations.

                              2.4.2   Appendix 5 contains an SCE decision tree which should be used or adapted by the
                                      CONTRACTOR to help identify their SCE.

                                      For Wells related operations, SCE is broadly characterized by any lifting/hoisting or
                                      pressure containing equipment, fuel systems, and protective systems.

                              2.4.3   The aim of identifying SCE in CONTRACTOR operations is to ensure equipment
                                      integrity through rigorous and appropriate application of equipment selection criteria,
                                      operating practices and procedures, and lifecycle management including
                                      maintenance, Inspection and testing frequencies.

                              2.4.4   The SCE register is a communication tool that contains equipment that is absolutely
                                      "critical" to the safe Rig or Non-rig operations on COMPANY leases. A higher
                                      degree of vigilance and rigor is expected of this equipment and its use by
                                      COMPANY and CONTRACTOR staff.

                              2.4.5   Planned preventative maintenance events and overdue events reporting will be
                                      required by COMPANY.




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                                                   Section 5 - Integrity Management
                                               (Conformance Guidelines for Contractors)

                             2.4.6    Likewise any SeE incident or related failures will require rigorous investigation to
                                      ensure root causality is identified and appropriate actions are taken to restore the
                                      SCEs integrity. COMPANY will require written notification of any SCE failure event.




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                                           Appendix 1 - COMPANY Global CONTRACTOR Integrity Management Conformance Checklist

                                CONTRACTOR:

                                SERVICE/SEGMENT:

                                NORMAL FONT - MANDATORY FOR 2008

                                ITALICISED FONT - CONTINUOUS IMPROVEMENT 2008+

                                                                                                                                                                                RelevanUo
                                      Integrity                                                                                                                             •

                                                                                                                                                                                                          I
                                                                              What. role do CONTRACTORs. play in helping                                                            this
                                     Management                                                                                                                                              Conf9rmance? I·' Gap?
                                                                                                                                                                            •




                                                                                                      COMPANY comply?                                                           Contract? .'
                                      Element
                                                                                                                                                                            •




                                                                                                                                                                            ·
                                                                                                                                                                                   (YIN) .                   .'

                                                                      Identify responsibilities and accountabilities of personnel who make
                                 1. Accountability
                                                                      decisions affecting technical integrity and service/product quality.
                                                                      Identify for each ContracVService line single point contacts for
                                                                      technical integrity and service/product quality
                                                                       Establish how technical! risk management decisions are controlled
                                                                       and how they are verified.
                               i.:...• ··.....       ....        .....             c. ,,':               ....                       .:.:..:::.:...•. :..: : ...                           ....
                                                                                                                                                                                          .

                                                                                    that competency processes exist and are being
                                                                      UOIIIUII;:'U ell'"
                                2. Competency
                                                                      followed for all staff.
                                                                      Confirm that staff impacting integrity management has been
                                                                      identified and have suitable job descriptions that identify competency
                                                                      requirements.
                                                                      Supplier / CONTRACTOR retain documented employee competency
                                                                      assessments and traininQ records.
                                                                      Confirm that staff is assessed versus their competency requirements
                                                                      and that training programs exist and are implemented to close
                                                                      competency gaps.
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                                3. Hazard                             Confirm Operations Planning and Procedures address risk
                        co                Evaluation                  management, in particular:
                        ""'0
                         I
                                          and Risk                    Demonstrate that hazards within the CONTRACTOR organization
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